Case 22-11068-JTD   Doc 25686-2   Filed 09/25/24   Page 1 of 19




                        EXHIBIT A

                      Proposed Order
            Case 22-11068-JTD              Doc 25686-2         Filed 09/25/24        Page 2 of 19




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                              Ref. No. __


         ORDER SUSTAINING DEBTORS’ EIGHTY-NINTH (NON-SUBSTANTIVE)
                      OMNIBUS OBJECTION TO CERTAIN
                  SUPERSEDED CLAIMS (CUSTOMER CLAIMS)

                 Upon the eighty-ninth omnibus objection (the “Objection”) 2 of FTX Trading Ltd.

and its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), for entry of an

order (this “Order”) sustaining the Objection and disallowing and expunging in their entirety the

Superseded Claims set forth in Schedule 1 attached hereto; and this Court having jurisdiction to

consider the Objection pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order

of Reference from the United States District Court for the District of Delaware, dated February

29, 2012; and this Court being able to issue a final order consistent with Article III of the United

States Constitution; and venue of these Chapter 11 Cases and the Objection in this district being

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant

to 28 U.S.C. § 157(b); and this Court having found that proper and adequate notice of the

Objection and the relief requested therein has been provided in accordance with the Bankruptcy

Rules and the Local Rules, and that, except as otherwise ordered herein, no other or further


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Objection.
             Case 22-11068-JTD         Doc 25686-2      Filed 09/25/24      Page 3 of 19




notice is necessary; and responses (if any) to the Objection having been withdrawn, resolved or

overruled on the merits; and a hearing having been held to consider the relief requested in the

Objection and upon the record of the hearing and all of the proceedings had before this Court;

and this Court having found and determined that the relief set forth in this Order is in the best

interests of the Debtors and their estates; and that the legal and factual bases set forth in the

Objection establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor;

               IT IS HEREBY ORDERED THAT:

               1.      The Objection is SUSTAINED as set forth herein.

               2.      Each Superseded Claim set forth in Schedule 1 attached hereto is

disallowed and expunged in its entirety. The claims listed in the column titled

“Surviving Claims” identified on Schedule 1 attached hereto shall remain on the claims register,

subject to the Debtors’ further objections on any substantive or non-substantive grounds.

               3.      Should one or more of the grounds of objection stated in the Objection be

dismissed, the Debtors’ right to object on any other grounds that the Debtors discover is

preserved.

               4.      This Order has no res judicata, estoppel, or other effect on the validity,

allowance, or disallowance of, and all rights to object to or defend on any basis are expressly

reserved with respect to any Superseded Claims referenced or identified in the Objection that is

not listed on Schedule 1 attached hereto.

               5.      To the extent a response is filed regarding any Superseded Claim, each

such Superseded Claim, and the Objection as it pertains to such Superseded Claim, will

constitute a separate contested matter as contemplated by Bankruptcy Rule 9014. This Order




                                                  -2-
             Case 22-11068-JTD         Doc 25686-2      Filed 09/25/24      Page 4 of 19




will be deemed a separate order with respect to each Superseded Claim. Any stay of this Order

pending appeal by any claimants whose claims are subject to this Order shall only apply to the

contested matter which involves such claimant and shall not act to stay the applicability and/or

finality of this Order with respect to the other contested matters listed in the Objection or this

Order.

               6.        The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

               7.        Nothing in this Order or the Objection is intended or shall be construed as

a waiver of any of the rights the Debtor may have to enforce rights of setoff against the

claimants.

               8.        Nothing in the Objection or this Order, nor any actions or payments made

by the Debtor pursuant to this Order, shall be construed as: (a) an admission as to the amount of,

basis for, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any other party-in-interest’s right

to dispute any claim; (c) a promise or requirement to pay any particular claim; (d) an implication

or admission that any particular claim is of a type specified or defined in this Order; (e) an

admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

in, or other encumbrance on property of the Debtors’ estates; or (f) a waiver of any claims or

causes of action which may exist against any entity under the Bankruptcy Code or any other

applicable law.

               9.        This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.




                                                  -3-
           Case 22-11068-JTD         Doc 25686-2       Filed 09/25/24     Page 5 of 19




               10.     This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Objection or the implementation of this Order.



Dated: ___________________
       Wilmington, Delaware                           The Honorable John T. Dorsey
                                                      Chief United States Bankruptcy Judge




                                                -4-
Case 22-11068-JTD   Doc 25686-2   Filed 09/25/24   Page 6 of 19




                       SCHEDULE 1

                     Superseded Claims
                                                                   Case 22-11068-JTD                                                                        Doc 25686-2                                                  Filed 09/25/24                     Page 7 of 19
                                                                                                                                                                                     FTX Trading Ltd. 22-11068 (JTD)
                                                                                                                                                                                 Eighty-Ninth Omnibus Claims Objection
                                                                                                                                                                                     Schedule 1 - Superseded Claims

                                                                                    Claims to be Disallowed                                                                                                                                                 Surviving Claims

 Claim                                                                                                                                                                                                Claim
                              Name                                      Debtor                                  Tickers                                      Ticker Quantity                                                 Name                  Debtor                        Tickers                  Ticker Quantity
Number                                                                                                                                                                                               Number

56516    Name on file                                    FTX Trading Ltd.                     FTT                                                                           25.000000000000000 91758          Name on file          FTX Trading Ltd.              FTT                                                    25.000000000000000
                                                                                              USDT                                                                      30,342.591548780000000                                                                    USDT                                               15,171.295774390000000
25805    Name on file                                    FTX Trading Ltd.                     BNB                                                                            0.309633770000000 42824          Name on file          FTX Trading Ltd.              BNB                                                     0.309633770000000
                                                                                              BTC                                                                            0.002449901722400                                                                    BTC                                                     0.002449901722400
                                                                                              DYDX                                                                          15.510396120000000                                                                    BTC-PERP                                                0.000000000000000
                                                                                              ETH                                                                            0.181987579000000                                                                    COMP                                                    0.692448400000000
                                                                                              ETHW                                                                           0.181987579000000                                                                    DYDX                                                   15.510396120000000
                                                                                              EUR                                                                            0.000188405718240                                                                    ETH                                                     0.181987579000000
                                                                                              FTT                                                                            6.420703420000000                                                                    ETH-PERP                                                0.000000000000000
                                                                                              GBP                                                                          264.022098485797045                                                                    ETHW                                                    0.181987579000000
                                                                                              LINK                                                                          15.749529780000000                                                                    EUR                                                     0.000188405718240
                                                                                              LTC                                                                            0.380393360000000                                                                    EXCH-PERP                                               0.000000000000000
                                                                                              LUNA2                                                                          0.000849865491200                                                                    FTT                                                     6.420703420000000
                                                                                              SNX                                                                           24.902093840000000                                                                    GBP                                                   264.022098485797100
                                                                                              TRX                                                                        7,773.805755660000000                                                                    LINK                                                   15.749529780000000
                                                                                              USD                                                                          572.331102965205580                                                                    LINK-PERP                                               0.000000000000000
                                                                                              USDT                                                                           0.000000013464691                                                                    LTC                                                     0.380393360000000
                                                                                              XRP                                                                        2,728.203006530000000                                                                    LTC-PERP                                                0.000000000000000
                                                                                              ZRX                                                                          167.252380780000000                                                                    LUNA2                                                   0.000849865491200
                                                                                                                                                                                                                                                                  LUNA2_LOCKED                                            0.001983019479000
                                                                                                                                                                                                                                                                  LUNC                                                  185.060000000000000
                                                                                                                                                                                                                                                                  SNX                                                    24.902093840000000
                                                                                                                                                                                                                                                                  TRX                                                 7,773.805755660000000
                                                                                                                                                                                                                                                                  TRX-PERP                                                0.000000000000000
                                                                                                                                                                                                                                                                  USD                                                   572.331102965206000
                                                                                                                                                                                                                                                                  USDT                                                    0.000000013464691
                                                                                                                                                                                                                                                                  XRP                                                 2,728.203006530000000
                                                                                                                                                                                                                                                                  XRP-PERP                                                0.000000000000000
                                                                                                                                                                                                                                                                  ZRX                                                   167.252380780000000
91962    Name on file                                    FTX EU Ltd.                          ETH                                                                            0.978823780000000       91963    Name on file          FTX Trading Ltd.              ETH                                                     0.978823780000000
                                                                                              EUR                                                                        2,700.000000000000000                                                                    EUR                                                 2,700.000000000000000
                                                                                              EUROC                                                                        101.674900000000000                                                                    EUROC                                                 101.674900000000000
                                                                                              USDC                                                                          27.538218000000000                                                                    USDC                                                   27.538218000000000
91974    Name on file                                    FTX Trading Ltd.                     ETH                                                                            0.978823780000000       91963    Name on file          FTX Trading Ltd.              ETH                                                     0.978823780000000
                                                                                              EUR                                                                        2,700.000000000000000                                                                    EUR                                                 2,700.000000000000000
                                                                                              EUROC                                                                        101.674900000000000                                                                    EUROC                                                 101.674900000000000
                                                                                              USDC                                                                          27.538218000000000                                                                    USDC                                                   27.538218000000000
26091    Name on file                                    FTX Trading Ltd.                     BTC                                                                            0.000000008141647       95369    Name on file          FTX Trading Ltd.              BTC                                                     0.000000008141647
                                                                                              ETH                                                                            0.000000002142540                                                                    ETH                                                     0.000000002142540
                                                                                              ETHW                                                                           0.000000003296777                                                                    ETHW                                                    0.000000003296777
                                                                                              EUR                                                                            0.000000009554355                                                                    EUR                                                     0.000000009554355
                                                                                              FTT                                                                           25.143779420690330                                                                    FTT                                                    25.143779420690330
                                                                                              SHIB-PERP                                                                      0.000000000000000                                                                    SHIB-PERP                                               0.000000000000000
                                                                                              SOL                                                                            0.000000005984930                                                                    SOL                                                     0.000000005984930
                                                                                              USD                                                                            0.000000013316216                                                                    USD                                                     0.000000013316216
                                                                                              USDT                                                                       8,252.474015776200000                                                                    USDT                                                8,252.474015776200000
                                                                                              WAXL                                                                         495.962884093100000                                                                    WAXL                                                  495.962884093100000
                                                                                              WBTC                                                                           0.000000007247328                                                                    WBTC                                                    0.000000007247328
29978    Name on file                                    FTX Trading Ltd.                     BTC                                                                            0.202261380000000       85542    Name on file          FTX Trading Ltd.              BTC                                                     0.202261388503100
                                                                                              EUR                                                                           41.000000000000000                                                                    ETH                                                     0.000906290000000
                                                                                              FTT                                                                            0.590000000000000                                                                    EUR                                                     0.405615926043438
                                                                                              HT                                                                            34.100000000000000                                                                    FTT                                                     0.592047304863967
                                                                                              USD                                                                            1.640000000000000                                                                    HT                                                     34.100000000000000
                                                                                                                                                                                                                                                                  LUNA2                                                   0.244882401600000
                                                                                                                                                                                                                                                                  LUNA2_LOCKED                                            0.571392270500000
                                                                                                                                                                                                                                                                  USD                                                     1.635424159987487
                                                                                                                                                                                                                                                                  USDT                                                    0.000000005547813
8905     Name on file                                    FTX EU Ltd.                          BTC                                                                            0.025961530000000 60898*         Name on file          FTX EU Ltd.                   APE                                                    36.900047000000000
                                                                                              ETH                                                                           12.499392380000000                                                                    ATOM                                                    0.000034500000000
                                                                                              FTT                                                                          151.699115500000000                                                                    AVAX                                                    0.049582000000000
                                                                                              SOL                                                                           19.337147140000000                                                                    BNB                                                     0.140000000000000
                                                                                              USD                                                                            0.010352109325730                                                                    BTC                                                     0.025961537730000
                                                                                                                                                                                                                                                                  CRO                                                     8.375500000000000
                                                                                                                                                                                                                                                                  DOT                                                     0.071437910000000
                                                                                                                                                                                                                                                                  ETH                                                    12.499392380000000
                                                                                                                                                                                                                                                                  ETH-PERP                                                0.000000000000009
                                                                                                                                                                                                                                                                  ETHW                                                    0.000368115000000
                                                                                                                                                                                                                                                                  FTM                                                   409.586442030000000
                                                                                                                                                                                                                                                                  FTT                                                   151.699115500000000
                                                                                                                                                                                                                                                                  LTC                                                     0.005736210000000
                                                                                                                                                                                                                                                                  SHIB                                           31,500,157.500000000000000
                                                                                                                                                                                                                                                                  SHIB-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                  SOL                                                    19.337147140000000
                                                                                                                                                                                                                                                                  TRX                                                     0.000023000000000
                                                                                                                                                                                                                                                                  USD                                                     0.010352109325730
                                                                                                                                                                                                                                                                  USDT                                                    2.630036675203627
25111    Name on file                                    FTX Trading Ltd.                     ETH                                                                            0.000000007719830 95112*         Name on file          FTX Trading Ltd.              ETH                                                     0.000000007719830
                                                                                              ETHW                                                                           0.000000007719830                                                                    ETHW                                                    0.000000007719830
                                                                                              TRX                                                                            0.000012000000000                                                                    TRX                                                     0.000012000000000
                                                                                              USD                                                                        3,132.000000000000000                                                                    USD                                                     0.008472791819610
                                                                                              USDT                                                                       3,132.451249809931600                                                                    USDT                                                3,132.451249809931600
40299    Name on file                                    FTX EU Ltd.                          BTC                                                                            0.250001743000000 40311*         Name on file          FTX EU Ltd.                   BTC                                                     0.250001743000000
                                                                                              BUSD                                                                           1.000000000000000                                                                    BUSD                                                    1.000000000000000
                                                                                              USD                                                                          305.957670700000000                                                                    USD                                                   305.957670700000000
                                                                                              USDC                                                                           1.000000000000000                                                                    USDC                                                    1.000000000000000
76389    Name on file                                    FTX Trading Ltd.                     BNB                                                                            0.493537610000000 95303          Name on file          FTX Trading Ltd.              1INCH                                                   0.000000008131460
                                                                                                                                                                                                                                                                  290261640539156907/FTX EU - WE ARE
                                                                                              ETH                                                                               1.912451630000000                                                                 HERE! #71025                                              1.000000000000000
                                                                                                                                                                                                                                                                  296969505857012863/THE HILL BY FTX
                                                                                              ETHW                                                                              1.371057550000000                                                                 #10518                                                    1.000000000000000
                                                                                                                                                                                                                                                                  311021451330023552/FTX CRYPTO CUP
                                                                                              FTT                                                                          437.517696960000000                                                                    2022 KEY #4154                                            1.000000000000000
                                                                                                                                                                                                                                                                  522827281528711929/FRANCE TICKET STUB
                                                                                              USD                                                                       36,933.630000000000000                                                                    #1230                                                     1.000000000000000
                                                                                                                                                                                                                                                                  542830374533566903/FTX EU - WE ARE
                                                                                              USDT                                                                             10.520000000000000                                                                 HERE! #91246                                              1.000000000000000
                                                                                                                                                                                                                                                                  552560263939462901/FTX AU - WE ARE
                                                                                                                                                                                                                                                                  HERE! #54402                                            1.000000000000000
                                                                                                                                                                                                                                                                  AAVE                                                    0.000000007094070
                                                                                                                                                                                                                                                                  APE-PERP                                                0.000000000000000
                                                                                                                                                                                                                                                                  BNB                                                     0.493537619710821
                                                                                                                                                                                                                                                                  BNB-PERP                                                0.000000000000000
                                                                                                                                                                                                                                                                  BTC                                                     0.000000011933018
                                                                                                                                                                                                                                                                  BTC-PERP                                                0.000000000000000
                                                                                                                                                                                                                                                                  C98                                                     0.990000000000000
                                                                                                                                                                                                                                                                  DAI                                                     0.000000018058900
                                                                                                                                                                                                                                                                  DOGE                                                    0.000000005047846
                                                                                                                                                                                                                                                                  DOGE-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                  DOT-PERP                                                0.000000000000000
                                                                                                                                                                                                                                                                  ETH                                                     1.912451632567873
                                                                                                                                                                                                                                                                  ETH-PERP                                                0.000000000000027
                                                                                                                                                                                                                                                                  ETHW                                                    1.371057550452300
                                                                                                                                                                                                                                                                  FTT                                                   437.517696968501800
                                                                                                                                                                                                                                                                  FTT-PERP                                                0.000000000000007
                                                                                                                                                                                                                                                                  GMT-PERP                                                0.000000000000000
                                                                                                                                                                                                                                                                  LOOKS-PERP                                              0.000000000000000
                                                                                                                                                                                                                                                                  LUNC-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                  MATIC                                                   0.000000002184480
                                                                                                                                                                                                                                                                  MKR                                                     0.000000015663955
                                                                                                                                                                                                                                                                  PERP-PERP                                               0.000000000000000
                                                                                                                                                                                                                                                                  ROOK                                                    0.000000008500000
                                                                                                                                                                                                                                                                  RUNE                                                    0.000000006592000
                                                                                                                                                                                                                                                                  SOL                                                     0.000000007311402
                                                                                                                                                                                                                                                                  SOL-PERP                                                0.000000000000000
                                                                                                                                                                                                                                                                  SRM                                                     0.453649140000000
                                                                                                                                                                                                                                                                  SRM_LOCKED                                             72.254164660000000
                                                                                                                                                                                                                                                                  STEP                                                    0.000000010000000
                                                                                                                                                                                                                                                                  SUSHI                                                   0.000000003530920
                                                                                                                                                                                                                                                                  SXP                                                     0.000000009584810
                                                                                                                                                                                                                                                                  TONCOIN-PERP                                            0.000000000000000
                                                                                                                                                                                                                                                                  TRUMPFEBWIN                                         4,039.643560000000000
                                                                                                                                                                                                                                                                  UNI                                                     0.000000003717720
                                                                                                                                                                                                                                                                  USD                                                36,933.632626776794000
                                                                                                                                                                                                                                                                  USDT                                                   10.521182651154950
                                                                                                                                                                                                                                                                  YFI                                                     0.000000007161770
47330    Name on file                                    FTX Trading Ltd.                     ANC-PERP                                                                       0.000000000000000       50440    Name on file          FTX Trading Ltd.              BTC                                                     0.078531710000000
                                                                                              BTC                                                                            0.078531710000000                                                                    ETH                                                     0.788508400000000
                                                                                              ETH                                                                            0.788508400000000                                                                    ETHW                                                    0.788246240000000
                                                                                              ETHW                                                                           0.788246240000000                                                                    LUNA2                                                  12.334400000000000
                                                                                              GMT-PERP                                                                       0.000000000000000                                                                    LUNA2_LOCKED                                           28.476700000000000
                                                                                              LUNA2                                                                         12.334358590000000                                                                    USD                                                12,998.676587700000000
                                                                                              LUNA2_LOCKED                                                                  28.476745290000000                                                                    USDT                                               14,585.401600100000000
                                                                                              LUNC                                                                   2,685,832.510431180000000
                                                                                              LUNC-PERP                                                                      0.000000000000000
                                                                                              PEOPLE-PERP                                                                    0.000000000000000
                                                                                              USD                                                                       12,998.676587702266000
                                                                                              USDT                                                                      14,585.401600102221000
50376    Name on file                                    FTX Trading Ltd.                     BTC                                                                            0.078531710000000       50440    Name on file          FTX Trading Ltd.              BTC                                                     0.078531710000000
                                                                                              ETH                                                                            0.788508400000000                                                                    ETH                                                     0.788508400000000
                                                                                              ETHW                                                                           0.788246240000000                                                                    ETHW                                                    0.788246240000000
                                                                                              LUNA2                                                                         12.334400000000000                                                                    LUNA2                                                  12.334400000000000
                                                                                              LUNA2_LOCKED                                                                  28.476700000000000                                                                    LUNA2_LOCKED                                           28.476700000000000
                                                                                              USD                                                                       12,998.676587700000000                                                                    USD                                                12,998.676587700000000
                                                                                              USDT                                                                      14,585.401600100000000                                                                    USDT                                               14,585.401600100000000
84775    Name on file                                    FTX Trading Ltd.                     BTC                                                                            0.014132290000000       84789    Name on file          FTX Trading Ltd.              BTC                                                     0.014132290000000
                                                                                              DENT                                                                           1.000000000000000                                                                    ETH                                                     2.614353510000000
                                                                                              ETH                                                                            2.614353510000000                                                                    ETHW                                                    2.613852230000000
                                                                                              ETHW                                                                           2.613852230000000                                                                    KIN                                                     3.000000000000000
                                                                                              FIDA                                                                           1.034064520000000                                                                    TRX                                                     2.000000000000000
                                                                                              GBP                                                                            1.000000000000000                                                                    UBXT                                                    2.000000000000000
                                                                                              KIN                                                                            3.000000000000000                                                                    USDT                                                3,796.991249416090523
25401    Name on file                                    FTX Trading Ltd.                     ALGOBULL                                                              23,478,486.928850000000000       55866    Name on file          FTX Trading Ltd.              ALGOBULL                                       23,478,486.928850000000000
                                                                                              AURY                                                                           0.311296980000000                                                                    AURY                                                    0.311296980000000
                                                                                              BCHBULL                                                                      800.712862600000000                                                                    BCHBULL                                               800.712862600000000
                                                                                              BNB                                                                            0.000000010000000                                                                    BNB                                                     0.000000010000000
                                                                                              BNBBULL                                                                        0.000000005000000                                                                    BNBBULL                                                 0.000000005000000
                                                                                              BSVBULL                                                                  103,670.397714500000000                                                                    BSVBULL                                           103,670.397714500000000
                                                                                              BTC                                                                            0.000094408000000                                                                    BTC                                                     0.000094408000000
                                                                                              DAI                                                                           -0.000000000505168                                                                    DAI                                                    -0.000000000505168
                                                                                              DOGE                                                                           1.000000000000000                                                                    DOGE                                                    1.000000000000000
                                                                                              EOSBULL                                                                    8,011.130107000000000                                                                    EOSBULL                                             8,011.130107000000000
                                                                                              ETH                                                                            0.000000005000000                                                                    ETH                                                     0.000000005000000
                                                                                              ETHBULL                                                                      129.750000001000000                                                                    ETHBULL                                               129.750000001000000

60898*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
95112*: Surviving Claim is pending modification on the Debtors· Seventy-Fourth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
40311*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Sixteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
                                                                   Case 22-11068-JTD                                                                        Doc 25686-2                                                 Filed 09/25/24                     Page 8 of 19
                                                                                     Claims to be Disallowed                                                                                                                                               Surviving Claims

 Claim                                                                                                                                                                                               Claim
                              Name                                       Debtor                                 Tickers                                       Ticker Quantity                                               Name                  Debtor                        Tickers                  Ticker Quantity
Number                                                                                                                                                                                              Number
                                                                                               FIDA                                                                           0.803641580000000                                                                  FIDA                                                    0.803641580000000
                                                                                               FIDA_LOCKED                                                                    1.175277560000000                                                                  FIDA_LOCKED                                             1.175277560000000
                                                                                               FTT                                                                        1,530.095767326920000                                                                  FTT                                                 1,530.095767326920000
                                                                                               LTCBULL                                                                      600.004250300000000                                                                  LTCBULL                                               600.004250300000000
                                                                                               NEAR-PERP                                                                      0.000000000000000                                                                  NEAR-PERP                                               0.000000000000000
                                                                                               NFT (310018286758550533/FTX EU - WE                                                                                                                               NFT (310018286758550533/FTX EU - WE
                                                                                               ARE HERE! #140777)                                                               1.000000000000000                                                                ARE HERE! #140777)                                        1.000000000000000
                                                                                               NFT (318289973177245723/FTX AU - WE                                                                                                                               NFT (318289973177245723/FTX AU - WE
                                                                                               ARE HERE! #27028)                                                                1.000000000000000                                                                ARE HERE! #27028)                                         1.000000000000000
                                                                                               NFT (331009103088939016/FTX EU - WE                                                                                                                               NFT (331009103088939016/FTX EU - WE
                                                                                               ARE HERE! #140660)                                                               1.000000000000000                                                                ARE HERE! #140660)                                        1.000000000000000
                                                                                               NFT (404912435164879329/FTX EU - WE                                                                                                                               NFT (404912435164879329/FTX EU - WE
                                                                                               ARE HERE! #140576)                                                               1.000000000000000                                                                ARE HERE! #140576)                                        1.000000000000000
                                                                                               NFT (414843474645801765/FRANCE TICKET                                                                                                                             NFT (414843474645801765/FRANCE TICKET
                                                                                               STUB #1612)                                                                      1.000000000000000                                                                STUB #1612)                                               1.000000000000000
                                                                                               NFT (453885488947506394/FTX AU - WE                                                                                                                               NFT (453885488947506394/FTX AU - WE
                                                                                               ARE HERE! #27043)                                                              1.000000000000000                                                                  ARE HERE! #27043)                                      1.000000000000000
                                                                                               OXY                                                                            0.070978000000000                                                                  OXY                                                    0.070978000000000
                                                                                               RAY                                                                          227.070594780000000                                                                  RAY                                                  227.070594780000000
                                                                                               SOL                                                                          103.053479870000000                                                                  SOL                                                  103.053479870000000
                                                                                               SRM                                                                       10,179.178980560000000                                                                  SRM                                               10,179.178980560000000
                                                                                               SRM_LOCKED                                                                 1,588.879739940000000                                                                  SRM_LOCKED                                         1,588.879739940000000
                                                                                               SUSHIBULL                                                                423,226.157365103000000                                                                  SUSHIBULL                                        423,226.157365103000000
                                                                                               SXPBULL                                                                    2,904.040820085000000                                                                  SXPBULL                                            2,904.040820085000000
                                                                                               TRX                                                                            0.000290000000000                                                                  TRX                                                    0.000290000000000
                                                                                               UNI-PERP                                                                       0.000000000000000                                                                  UNI-PERP                                               0.000000000000000
                                                                                               USD                                                                            0.552744036871414                                                                  USD                                                    0.552744036871414
                                                                                               USDT                                                                           2.166535326842874                                                                  USDT                                                   2.166535326842874
                                                                                               XTZBULL                                                                      300.987976510000000                                                                  XTZBULL                                              300.987976510000000
43084    Name on file                                     FTX Trading Ltd.                     BAT-PERP                                                                       0.000000000000000 91909        Name on file          FTX Trading Ltd.              BAT-PERP                                               0.000000000000000
                                                                                               BNB-PERP                                                                       0.000000000000000                                                                  BNB-PERP                                               0.000000000000000
                                                                                               BTC                                                                            0.000076543134840                                                                  BTC                                                    0.000076543134840
                                                                                               BTC-PERP                                                                      -0.000000000000003                                                                  BTC-PERP                                              -0.000000000000003
                                                                                               DAI                                                                            0.000000006907435                                                                  DAI                                                    0.000000006907435
                                                                                               DOGE                                                                           0.000000002743398                                                                  DOGE                                                   0.000000002743398
                                                                                               ETH                                                                            0.216444056921299                                                                  ETH                                                    0.225514056921299
                                                                                               ETH-PERP                                                                       0.000000000000000                                                                  ETH-PERP                                               0.000000000000000
                                                                                               ETHW                                                                           0.000000006319113                                                                  ETHW                                                   0.000000006319113
                                                                                               FTT                                                                          150.000000006103000                                                                  FRAX                                                   0.000000740000000
                                                                                               GAL-PERP                                                                       0.000000000000000                                                                  FTT                                                  150.000000006103000
                                                                                               LDO-PERP                                                                       0.000000000000000                                                                  GAL-PERP                                               0.000000000000000
                                                                                               LUNA2                                                                          0.002702403663000                                                                  LDO-PERP                                               0.000000000000000
                                                                                               LUNA2_LOCKED                                                                   0.006305608547000                                                                  LUNA2                                                  0.002702403663000
                                                                                               LUNC                                                                           0.000000003375246                                                                  LUNA2_LOCKED                                           0.006305608547000
                                                                                               MATIC                                                                          0.000000005920937                                                                  LUNC                                                   0.000000003375246
                                                                                               NFT (429155537302068588/FTX SWAG PACK
                                                                                               #269)                                                                            1.000000000000000                                                                MATIC                                                     0.000000005920937
                                                                                                                                                                                                                                                                 NFT (429155537302068588/FTX SWAG PACK
                                                                                               RAY-PERP                                                                      0.000000000000000                                                                   #269)                                                  1.000000000000000
                                                                                               ROSE-PERP                                                                     0.000000000000000                                                                   RAY-PERP                                               0.000000000000000
                                                                                               SAND-PERP                                                                     0.000000000000000                                                                   ROSE-PERP                                              0.000000000000000
                                                                                               SHIB                                                                975,867,455.920000000000000                                                                   SAND-PERP                                              0.000000000000000
                                                                                               SOL                                                                           1.600000002972810                                                                   SHIB                                         975,867,455.920000000000000
                                                                                               SRM                                                                       3,094.663588690000000                                                                   SOL                                                    1.600000002972810
                                                                                               SRM_LOCKED                                                                    8.016979310000000                                                                   SRM                                                3,094.663588690000000
                                                                                               SUSHI                                                                         0.000000010000000                                                                   SRM_LOCKED                                             8.016979310000000
                                                                                               TRX                                                                           0.018229000000000                                                                   SUSHI                                                  0.000000010000000
                                                                                               UNI                                                                           0.000000000990858                                                                   TRX                                                    0.018229000000000
                                                                                               USD                                                                          -0.000000011345113                                                                   UNI                                                    0.000000000990858
                                                                                               USDT                                                                     11,821.029999990309000                                                                   USD                                                   -0.000000011345113
                                                                                               USTC                                                                          0.382538296379968                                                                   USDT                                              11,821.038591209923100
                                                                                               YFI                                                                           0.000000005000000                                                                   USTC                                                   0.382538296379968
                                                                                                                                                                                                                                                                 YFI                                                    0.000000005000000
43300    Name on file                                     FTX Trading Ltd.                     BAT-PERP                                                                       0.000000000000000 91909        Name on file          FTX Trading Ltd.              BAT-PERP                                               0.000000000000000
                                                                                               BNB-PERP                                                                       0.000000000000000                                                                  BNB-PERP                                               0.000000000000000
                                                                                               BTC                                                                            0.000076543134840                                                                  BTC                                                    0.000076543134840
                                                                                               BTC-PERP                                                                      -0.000000000000003                                                                  BTC-PERP                                              -0.000000000000003
                                                                                               DAI                                                                            0.000000006907435                                                                  DAI                                                    0.000000006907435
                                                                                               DOGE                                                                           0.000000002743398                                                                  DOGE                                                   0.000000002743398
                                                                                               ETH                                                                            0.216444056921299                                                                  ETH                                                    0.225514056921299
                                                                                               ETH-PERP                                                                       0.000000000000000                                                                  ETH-PERP                                               0.000000000000000
                                                                                               ETHW                                                                           0.000000006319113                                                                  ETHW                                                   0.000000006319113
                                                                                               FTT                                                                          150.000000006103000                                                                  FRAX                                                   0.000000740000000
                                                                                               GAL-PERP                                                                       0.000000000000000                                                                  FTT                                                  150.000000006103000
                                                                                               LDO-PERP                                                                       0.000000000000000                                                                  GAL-PERP                                               0.000000000000000
                                                                                               LUNA2                                                                          0.002702403663000                                                                  LDO-PERP                                               0.000000000000000
                                                                                               LUNA2_LOCKED                                                                   0.006305608547000                                                                  LUNA2                                                  0.002702403663000
                                                                                               LUNC                                                                           0.000000003375246                                                                  LUNA2_LOCKED                                           0.006305608547000
                                                                                               MATIC                                                                          0.000000005920937                                                                  LUNC                                                   0.000000003375246
                                                                                               NFT (429155537302068588/FTX SWAG PACK
                                                                                               #269)                                                                            1.000000000000000                                                                MATIC                                                     0.000000005920937
                                                                                                                                                                                                                                                                 NFT (429155537302068588/FTX SWAG PACK
                                                                                               RAY-PERP                                                                      0.000000000000000                                                                   #269)                                                  1.000000000000000
                                                                                               ROSE-PERP                                                                     0.000000000000000                                                                   RAY-PERP                                               0.000000000000000
                                                                                               SAND-PERP                                                                     0.000000000000000                                                                   ROSE-PERP                                              0.000000000000000
                                                                                               SHIB                                                                975,867,455.920000000000000                                                                   SAND-PERP                                              0.000000000000000
                                                                                               SOL                                                                           1.600000002972810                                                                   SHIB                                         975,867,455.920000000000000
                                                                                               SRM                                                                       3,094.663588690000000                                                                   SOL                                                    1.600000002972810
                                                                                               SRM_LOCKED                                                                    8.016979310000000                                                                   SRM                                                3,094.663588690000000
                                                                                               SUSHI                                                                         0.000000010000000                                                                   SRM_LOCKED                                             8.016979310000000
                                                                                               TRX                                                                           0.018229000000000                                                                   SUSHI                                                  0.000000010000000
                                                                                               UNI                                                                           0.000000000990858                                                                   TRX                                                    0.018229000000000
                                                                                               USD                                                                          -0.000000011345113                                                                   UNI                                                    0.000000000990858
                                                                                               USDT                                                                     11,821.029999990309000                                                                   USD                                                   -0.000000011345113
                                                                                               USTC                                                                          0.382538296379968                                                                   USDT                                              11,821.038591209923100
                                                                                               YFI                                                                           0.000000005000000                                                                   USTC                                                   0.382538296379968
                                                                                                                                                                                                                                                                 YFI                                                    0.000000005000000
15264    Name on file                                     FTX Trading Ltd.                     1INCH                                                                           0.744364300000000 93542*      Name on file          FTX Trading Ltd.              1INCH                                                  0.744364300000000
                                                                                               1INCH-PERP                                                                      0.000000000000000                                                                 1INCH-PERP                                             0.000000000000000
                                                                                               AAVE-20210326                                                                   0.000000000000000                                                                 AAVE-20210326                                          0.000000000000000
                                                                                               AAVE-PERP                                                                      -0.000000000000028                                                                 AAVE-PERP                                             -0.000000000000028
                                                                                               ADA-PERP                                                                        0.000000000000000                                                                 ADA-PERP                                               0.000000000000000
                                                                                               ALGO-20210625                                                                   0.000000000000000                                                                 ALGO-20210625                                          0.000000000000000
                                                                                               ALGO-PERP                                                                       0.000000000000000                                                                 ALGO-PERP                                              0.000000000000000
                                                                                               ALPHA                                                                           0.826642290000000                                                                 ALPHA                                              4,731.210000000000000
                                                                                               ALPHA-PERP                                                                      0.000000000000000                                                                 ALPHA-PERP                                             0.000000000000000
                                                                                               ALT-PERP                                                                        0.000000000000000                                                                 ALT-PERP                                               0.000000000000000
                                                                                               AMPL-PERP                                                                       0.000000000000000                                                                 AMPL-PERP                                              0.000000000000000
                                                                                               ASD-PERP                                                                        0.000000000000000                                                                 ASD-PERP                                               0.000000000000000
                                                                                               ATOM-PERP                                                                       0.000000000000071                                                                 ATOM-PERP                                              0.000000000000071
                                                                                               AVAX-PERP                                                                       0.000000000000000                                                                 AVAX-PERP                                              0.000000000000000
                                                                                               BADGER                                                                          0.000000009000000                                                                 BADGER                                                 0.000000009000000
                                                                                               BADGER-PERP                                                                     0.000000000000326                                                                 BADGER-PERP                                            0.000000000000326
                                                                                               BAL-PERP                                                                        0.000000000000046                                                                 BAL-PERP                                               0.000000000000046
                                                                                               BAND-PERP                                                                       0.000000000000000                                                                 BAND-PERP                                              0.000000000000000
                                                                                               BAO                                                                     2,769,451.232640000000000                                                                 BAO                                            2,769,451.232640000000000
                                                                                               BAO-PERP                                                                        0.000000000000000                                                                 BAO-PERP                                               0.000000000000000
                                                                                               BAT-PERP                                                                        0.000000000000000                                                                 BAT-PERP                                               0.000000000000000
                                                                                               BCH-PERP                                                                        0.000000000000000                                                                 BCH-PERP                                               0.000000000000000
                                                                                               BNB                                                                             0.000015000000000                                                                 BNB                                                    0.000015000000000
                                                                                               BNB-PERP                                                                        0.000000000000014                                                                 BNB-PERP                                               0.000000000000014
                                                                                               BNT-PERP                                                                        0.000000000000000                                                                 BNT-PERP                                               0.000000000000000
                                                                                               BTC                                                                             0.000061619175475                                                                 BTC                                                    0.454590000000000
                                                                                               BTC-PERP                                                                        0.000000000000000                                                                 BTC-PERP                                               0.000000000000000
                                                                                               BTTPRE-PERP                                                                     0.000000000000000                                                                 BTTPRE-PERP                                            0.000000000000000
                                                                                               CAKE-PERP                                                                      -0.000000000000028                                                                 CAKE-PERP                                             -0.000000000000028
                                                                                               CHZ                                                                             0.105350000000000                                                                 CHZ                                                    0.105350000000000
                                                                                               CHZ-PERP                                                                        0.000000000000000                                                                 CHZ-PERP                                               0.000000000000000
                                                                                               COMP-PERP                                                                      -0.000000000000007                                                                 COMP-PERP                                             -0.000000000000007
                                                                                               COPE                                                                            0.046675080000000                                                                 COPE                                                   0.046675080000000
                                                                                               CREAM                                                                           0.004183578000000                                                                 CREAM                                                  0.004183578000000
                                                                                               CREAM-PERP                                                                     -0.000000000000028                                                                 CREAM-PERP                                            -0.000000000000028
                                                                                               CRV-PERP                                                                        0.000000000000000                                                                 CRV-PERP                                               0.000000000000000
                                                                                               DEFI-20210625                                                                   0.000000000000000                                                                 DEFI-20210625                                          0.000000000000000
                                                                                               DEFI-PERP                                                                       0.000000000000000                                                                 DEFI-PERP                                              0.000000000000000
                                                                                               DENT-PERP                                                                       0.000000000000000                                                                 DENT-PERP                                              0.000000000000000
                                                                                               DOGE                                                                           10.000000000000000                                                                 DOGE                                                  10.000000000000000
                                                                                               DOGE-PERP                                                                       0.000000000000000                                                                 DOGE-PERP                                              0.000000000000000
                                                                                               DOT-PERP                                                                        0.000000000000000                                                                 DOT-PERP                                               0.000000000000000
                                                                                               EGLD-PERP                                                                       0.000000000000000                                                                 EGLD-PERP                                              0.000000000000000
                                                                                               ENJ-PERP                                                                        0.000000000000000                                                                 ENJ-PERP                                               0.000000000000000
                                                                                               EOS-PERP                                                                       -0.000000000000056                                                                 EOS-PERP                                               0.000000000000000
                                                                                               ETC-PERP                                                                        0.000000000000000                                                                 ETC-PERP                                               0.000000000000000
                                                                                               ETH                                                                             0.000485730000000                                                                 ETH                                                    0.000485730000000
                                                                                               ETH-PERP                                                                        0.000000000000047                                                                 ETH-PERP                                               0.000000000000047
                                                                                               ETHW                                                                            0.000485730000000                                                                 ETHW                                                   0.000485730000000
                                                                                               FIDA                                                                            0.405257890000000                                                                 FIDA                                                   0.405257890000000
                                                                                               FIL-20210326                                                                    0.000000000000000                                                                 FIL-20210326                                           0.000000000000000
                                                                                               FIL-PERP                                                                        0.000000000000085                                                                 FIL-PERP                                               0.000000000000085
                                                                                               FTT                                                                           168.925499786000000                                                                 FTT                                                  168.925499786000000
                                                                                               FTT-PERP                                                                        0.000000000000000                                                                 FTT-PERP                                               0.000000000000000
                                                                                               GRT                                                                             0.799305600000000                                                                 GRT                                                    0.799305600000000
                                                                                               GRT-20210625                                                                    0.000000000000000                                                                 GRT-20210625                                           0.000000000000000
                                                                                               GRT-PERP                                                                        0.000000000000000                                                                 GRT-PERP                                               0.000000000000000
                                                                                               HBAR-PERP                                                                       0.000000000000000                                                                 HBAR-PERP                                              0.000000000000000
                                                                                               HNT-PERP                                                                        0.000000000000000                                                                 HNT-PERP                                               0.000000000000000
                                                                                               HXRO                                                                            0.869961940000000                                                                 HXRO                                                   0.869961940000000
                                                                                               IOTA-PERP                                                                       0.000000000000000                                                                 IOTA-PERP                                              0.000000000000000
                                                                                               KIN-PERP                                                                        0.000000000000000                                                                 KIN-PERP                                               0.000000000000000
                                                                                               KSM-PERP                                                                       -0.000000000000023                                                                 KSM-PERP                                               0.000000000000000
                                                                                               LINA-PERP                                                                       0.000000000000000                                                                 LINA-PERP                                              0.000000000000000
                                                                                               LINK                                                                          204.996376375000000                                                                 LINK                                                 204.996376375000000
                                                                                               LINK-PERP                                                                      -0.000000000000454                                                                 LINK-PERP                                             -0.000000000000454
                                                                                               LTC                                                                             0.000750000000000                                                                 LTC                                                    0.000750000000000
                                                                                               LTC-PERP                                                                        0.000000000000170                                                                 LTC-PERP                                               0.000000000000170
                                                                                               LUA                                                                             0.094613627000000                                                                 LUA                                                    0.094613627000000
                                                                                               LUNC-PERP                                                                       0.000000000000085                                                                 LUNC-PERP                                              0.000000000000085
                                                                                               MATIC-PERP                                                                      0.000000000000000                                                                 MATIC-PERP                                             0.000000000000000
                                                                                               MID-PERP                                                                        0.000000000000000                                                                 MID-PERP                                               0.000000000000000
                                                                                               MKR-PERP                                                                        0.000000000000000                                                                 MKR-PERP                                               0.000000000000000
                                                                                               MTA-PERP                                                                        0.000000000000000                                                                 MTA-PERP                                               0.000000000000000
                                                                                               NEO-PERP                                                                        0.000000000000014                                                                 NEO-PERP                                               0.000000000000014
                                                                                               OKB-PERP                                                                        0.000000000000000                                                                 OKB-PERP                                               0.000000000000000
                                                                                               OMG-PERP                                                                        0.000000000000056                                                                 OMG-PERP                                               0.000000000000056
                                                                                               OXY-PERP                                                                       -0.000000000000227                                                                 OXY-PERP                                               0.000000000000000
                                                                                               PUNDIX-PERP                                                                     0.000000000000000                                                                 PUNDIX-PERP                                            0.000000000000000
                                                                                               RAY                                                                         1,221.011200000000000                                                                 RAY                                                1,221.011200000000000

93542*: Surviving Claim is pending modification on the Debtors· Forty-Eighth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
                                                                    Case 22-11068-JTD                                                                         Doc 25686-2                                                Filed 09/25/24                     Page 9 of 19
                                                                                      Claims to be Disallowed                                                                                                                                               Surviving Claims

 Claim                                                                                                                                                                                                Claim
                              Name                                       Debtor                                  Tickers                                       Ticker Quantity                                               Name                  Debtor                         Tickers   Ticker Quantity
Number                                                                                                                                                                                               Number
                                                                                                RAY-PERP                                                                         0.000000000000000                                                                RAY-PERP                                  0.000000000000000
                                                                                                REEF-PERP                                                                        0.000000000000000                                                                REEF-PERP                                 0.000000000000000
                                                                                                REN                                                                              0.310230380000000                                                                REN                                       0.310230380000000
                                                                                                REN-PERP                                                                         0.000000000000000                                                                REN-PERP                                  0.000000000000000
                                                                                                ROOK                                                                             0.000000000100000                                                                ROOK                                      0.000000000100000
                                                                                                ROOK-PERP                                                                        0.000000000000000                                                                ROOK-PERP                                 0.000000000000000
                                                                                                RSR                                                                              0.332000000000000                                                                RSR                                       0.332000000000000
                                                                                                RSR-PERP                                                                         0.000000000000000                                                                RSR-PERP                                  0.000000000000000
                                                                                                RUNE                                                                           577.700000000000000                                                                RUNE                                    577.700000000000000
                                                                                                RUNE-PERP                                                                       -0.000000000000341                                                                RUNE-PERP                                 0.000000000000000
                                                                                                SC-PERP                                                                          0.000000000000000                                                                SC-PERP                                   0.000000000000000
                                                                                                SECO-PERP                                                                        0.000000000000000                                                                SECO-PERP                                 0.000000000000000
                                                                                                SHIB-PERP                                                                        0.000000000000000                                                                SHIB-PERP                                 0.000000000000000
                                                                                                SNX-PERP                                                                        -0.000000000000170                                                                SNX-PERP                                  0.000000000000000
                                                                                                SOL                                                                              0.001863500000000                                                                SOL                                       0.001863500000000
                                                                                                SOL-20210625                                                                     0.000000000000000                                                                SOL-20210625                              0.000000000000000
                                                                                                SOL-PERP                                                                         0.399999999998727                                                                SOL-PERP                                  0.399999999998727
                                                                                                SRM                                                                          2,070.212746930000000                                                                SRM                                   2,070.212746930000000
                                                                                                SRM_LOCKED                                                                      46.932624710000000                                                                SRM_LOCKED                               46.932624710000000
                                                                                                SRM-PERP                                                                         0.000000000000000                                                                SRM-PERP                                  0.000000000000000
                                                                                                STEP-PERP                                                                        0.000000000000000                                                                STEP-PERP                                 0.000000000000000
                                                                                                STORJ-PERP                                                                       0.000000000000000                                                                STORJ-PERP                                0.000000000000000
                                                                                                SUSHI-PERP                                                                       0.000000000000000                                                                SUSHI-PERP                                0.000000000000000
                                                                                                SXP-PERP                                                                        -0.000000000003637                                                                SXP-PERP                                  0.000000000000000
                                                                                                TOMO-PERP                                                                        0.000000000000000                                                                TOMO-PERP                                 0.000000000000000
                                                                                                TRX-20210625                                                                     0.000000000000000                                                                TRX-20210625                              0.000000000000000
                                                                                                TRX-PERP                                                                         0.000000000000000                                                                TRX-PERP                                  0.000000000000000
                                                                                                UNI-PERP                                                                         0.000000000000170                                                                UNI-PERP                                  0.000000000000170
                                                                                                UNISWAP-PERP                                                                     0.000000000000000                                                                UNISWAP-PERP                              0.000000000000000
                                                                                                USD                                                                            160.454955293988040                                                                USD                                     160.454955293988040
                                                                                                USDT                                                                             0.000000006107209                                                                USDC                                344,905.000000000000000
                                                                                                WAVES-PERP                                                                       0.000000000000000                                                                USDT                                      0.004100000000000
                                                                                                WBTC                                                                             0.000000752500000                                                                WAVES-PERP                                0.000000000000000
                                                                                                XLM-PERP                                                                         0.000000000000000                                                                WBTC                                      0.000000752500000
                                                                                                XMR-PERP                                                                         0.000000000000000                                                                XLM-PERP                                  0.000000000000000
                                                                                                XRP-PERP                                                                         0.000000000000000                                                                XMR-PERP                                  0.000000000000000
                                                                                                XTZ-PERP                                                                         0.000000000001250                                                                XRP-PERP                                  0.000000000000000
                                                                                                YFI-PERP                                                                         0.000000000000000                                                                XTZ-PERP                                  0.000000000001250
                                                                                                ZEC-PERP                                                                         0.000000000000000                                                                YFI-PERP                                  0.000000000000000
                                                                                                ZRX-PERP                                                                         0.000000000000000                                                                ZEC-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                  ZRX-PERP                                  0.000000000000000
93423    Name on file                                     FTX Trading Ltd.                      1INCH                                                                          0.744364300000000 93542*       Name on file          FTX Trading Ltd.              1INCH                                     0.744364300000000
                                                                                                1INCH-PERP                                                                     0.000000000000000                                                                  1INCH-PERP                                0.000000000000000
                                                                                                AAVE-20210326                                                                  0.000000000000000                                                                  AAVE-20210326                             0.000000000000000
                                                                                                AAVE-PERP                                                                      0.000000000000000                                                                  AAVE-PERP                                -0.000000000000028
                                                                                                ADA-PERP                                                                       0.000000000000000                                                                  ADA-PERP                                  0.000000000000000
                                                                                                ALGO-20210625                                                                  0.000000000000000                                                                  ALGO-20210625                             0.000000000000000
                                                                                                ALGO-PERP                                                                      0.000000000000000                                                                  ALGO-PERP                                 0.000000000000000
                                                                                                ALPHA                                                                          0.826642290000000                                                                  ALPHA                                 4,731.210000000000000
                                                                                                ALPHA-PERP                                                                     0.000000000000000                                                                  ALPHA-PERP                                0.000000000000000
                                                                                                ALT-PERP                                                                       0.000000000000000                                                                  ALT-PERP                                  0.000000000000000
                                                                                                AMPL-PERP                                                                      0.000000000000000                                                                  AMPL-PERP                                 0.000000000000000
                                                                                                ASD-PERP                                                                       0.000000000000000                                                                  ASD-PERP                                  0.000000000000000
                                                                                                ATOM-PERP                                                                      0.000000000000071                                                                  ATOM-PERP                                 0.000000000000071
                                                                                                AVAX-PERP                                                                      0.000000000000000                                                                  AVAX-PERP                                 0.000000000000000
                                                                                                BADGER                                                                         0.000000009000000                                                                  BADGER                                    0.000000009000000
                                                                                                BADGER-PERP                                                                    0.000000000000326                                                                  BADGER-PERP                               0.000000000000326
                                                                                                BAL-PERP                                                                       0.000000000000046                                                                  BAL-PERP                                  0.000000000000046
                                                                                                BAND-PERP                                                                      0.000000000000000                                                                  BAND-PERP                                 0.000000000000000
                                                                                                BAO                                                                    2,769,451.232640000000000                                                                  BAO                               2,769,451.232640000000000
                                                                                                BAO-PERP                                                                       0.000000000000000                                                                  BAO-PERP                                  0.000000000000000
                                                                                                BAT-PERP                                                                       0.000000000000000                                                                  BAT-PERP                                  0.000000000000000
                                                                                                BCH-PERP                                                                       0.000000000000000                                                                  BCH-PERP                                  0.000000000000000
                                                                                                BNB                                                                            0.000015000000000                                                                  BNB                                       0.000015000000000
                                                                                                BNB-PERP                                                                       0.000000000000014                                                                  BNB-PERP                                  0.000000000000014
                                                                                                BNT-PERP                                                                       0.000000000000000                                                                  BNT-PERP                                  0.000000000000000
                                                                                                BTC                                                                            0.000061619175475                                                                  BTC                                       0.454590000000000
                                                                                                BTC-PERP                                                                       0.000000000000000                                                                  BTC-PERP                                  0.000000000000000
                                                                                                BTTPRE-PERP                                                                    0.000000000000000                                                                  BTTPRE-PERP                               0.000000000000000
                                                                                                CAKE-PERP                                                                      0.000000000000000                                                                  CAKE-PERP                                -0.000000000000028
                                                                                                CHZ                                                                            0.105350000000000                                                                  CHZ                                       0.105350000000000
                                                                                                CHZ-PERP                                                                       0.000000000000000                                                                  CHZ-PERP                                  0.000000000000000
                                                                                                COMP-PERP                                                                      0.000000000000000                                                                  COMP-PERP                                -0.000000000000007
                                                                                                COPE                                                                           0.046675080000000                                                                  COPE                                      0.046675080000000
                                                                                                CREAM                                                                          0.004183578000000                                                                  CREAM                                     0.004183578000000
                                                                                                CREAM-PERP                                                                     0.000000000000000                                                                  CREAM-PERP                               -0.000000000000028
                                                                                                CRV-PERP                                                                       0.000000000000000                                                                  CRV-PERP                                  0.000000000000000
                                                                                                DEFI-20210625                                                                  0.000000000000000                                                                  DEFI-20210625                             0.000000000000000
                                                                                                DEFI-PERP                                                                      0.000000000000000                                                                  DEFI-PERP                                 0.000000000000000
                                                                                                DENT-PERP                                                                      0.000000000000000                                                                  DENT-PERP                                 0.000000000000000
                                                                                                DOGE                                                                          10.000000000000000                                                                  DOGE                                     10.000000000000000
                                                                                                DOGE-PERP                                                                      0.000000000000000                                                                  DOGE-PERP                                 0.000000000000000
                                                                                                DOT-PERP                                                                       0.000000000000000                                                                  DOT-PERP                                  0.000000000000000
                                                                                                EGLD-PERP                                                                      0.000000000000000                                                                  EGLD-PERP                                 0.000000000000000
                                                                                                ENJ-PERP                                                                       0.000000000000000                                                                  ENJ-PERP                                  0.000000000000000
                                                                                                EOS-PERP                                                                       0.000000000000000                                                                  EOS-PERP                                  0.000000000000000
                                                                                                ETC-PERP                                                                       0.000000000000000                                                                  ETC-PERP                                  0.000000000000000
                                                                                                ETH                                                                            0.000485730000000                                                                  ETH                                       0.000485730000000
                                                                                                ETH-PERP                                                                       0.000000000000047                                                                  ETH-PERP                                  0.000000000000047
                                                                                                ETHW                                                                           0.000485730000000                                                                  ETHW                                      0.000485730000000
                                                                                                FIDA                                                                           0.405257890000000                                                                  FIDA                                      0.405257890000000
                                                                                                FIL-20210326                                                                   0.000000000000000                                                                  FIL-20210326                              0.000000000000000
                                                                                                FIL-PERP                                                                       0.000000000000085                                                                  FIL-PERP                                  0.000000000000085
                                                                                                FTT                                                                          168.925499786000000                                                                  FTT                                     168.925499786000000
                                                                                                FTT-PERP                                                                       0.000000000000000                                                                  FTT-PERP                                  0.000000000000000
                                                                                                GRT                                                                            0.799305600000000                                                                  GRT                                       0.799305600000000
                                                                                                GRT-20210625                                                                   0.000000000000000                                                                  GRT-20210625                              0.000000000000000
                                                                                                GRT-PERP                                                                       0.000000000000000                                                                  GRT-PERP                                  0.000000000000000
                                                                                                HBAR-PERP                                                                      0.000000000000000                                                                  HBAR-PERP                                 0.000000000000000
                                                                                                HNT-PERP                                                                       0.000000000000000                                                                  HNT-PERP                                  0.000000000000000
                                                                                                HXRO                                                                           0.869961940000000                                                                  HXRO                                      0.869961940000000
                                                                                                IOTA-PERP                                                                      0.000000000000000                                                                  IOTA-PERP                                 0.000000000000000
                                                                                                KIN-PERP                                                                       0.000000000000000                                                                  KIN-PERP                                  0.000000000000000
                                                                                                KSM-PERP                                                                       0.000000000000000                                                                  KSM-PERP                                  0.000000000000000
                                                                                                LINA-PERP                                                                      0.000000000000000                                                                  LINA-PERP                                 0.000000000000000
                                                                                                LINK                                                                         204.996376375000000                                                                  LINK                                    204.996376375000000
                                                                                                LINK-PERP                                                                      0.000000000000000                                                                  LINK-PERP                                -0.000000000000454
                                                                                                LTC                                                                            0.000750000000000                                                                  LTC                                       0.000750000000000
                                                                                                LTC-PERP                                                                       0.000000000000170                                                                  LTC-PERP                                  0.000000000000170
                                                                                                LUA                                                                            0.094613627000000                                                                  LUA                                       0.094613627000000
                                                                                                LUNC-PERP                                                                      0.000000000000085                                                                  LUNC-PERP                                 0.000000000000085
                                                                                                MATIC-PERP                                                                     0.000000000000000                                                                  MATIC-PERP                                0.000000000000000
                                                                                                MID-PERP                                                                       0.000000000000000                                                                  MID-PERP                                  0.000000000000000
                                                                                                MKR-PERP                                                                       0.000000000000000                                                                  MKR-PERP                                  0.000000000000000
                                                                                                MTA-PERP                                                                       0.000000000000000                                                                  MTA-PERP                                  0.000000000000000
                                                                                                NEO-PERP                                                                       0.000000000000014                                                                  NEO-PERP                                  0.000000000000014
                                                                                                OKB-PERP                                                                       0.000000000000000                                                                  OKB-PERP                                  0.000000000000000
                                                                                                OMG-PERP                                                                       0.000000000000056                                                                  OMG-PERP                                  0.000000000000056
                                                                                                OXY-PERP                                                                       0.000000000000000                                                                  OXY-PERP                                  0.000000000000000
                                                                                                PUNDIX-PERP                                                                    0.000000000000000                                                                  PUNDIX-PERP                               0.000000000000000
                                                                                                RAY                                                                        1,221.011200000000000                                                                  RAY                                   1,221.011200000000000
                                                                                                RAY-PERP                                                                       0.000000000000000                                                                  RAY-PERP                                  0.000000000000000
                                                                                                REEF-PERP                                                                      0.000000000000000                                                                  REEF-PERP                                 0.000000000000000
                                                                                                REN                                                                            0.310230380000000                                                                  REN                                       0.310230380000000
                                                                                                REN-PERP                                                                       0.000000000000000                                                                  REN-PERP                                  0.000000000000000
                                                                                                ROOK                                                                           0.000000000100000                                                                  ROOK                                      0.000000000100000
                                                                                                ROOK-PERP                                                                      0.000000000000000                                                                  ROOK-PERP                                 0.000000000000000
                                                                                                RSR                                                                            0.332000000000000                                                                  RSR                                       0.332000000000000
                                                                                                RSR-PERP                                                                       0.000000000000000                                                                  RSR-PERP                                  0.000000000000000
                                                                                                RUNE                                                                         577.700000000000000                                                                  RUNE                                    577.700000000000000
                                                                                                RUNE-PERP                                                                      0.000000000000000                                                                  RUNE-PERP                                 0.000000000000000
                                                                                                SC-PERP                                                                        0.000000000000000                                                                  SC-PERP                                   0.000000000000000
                                                                                                SECO-PERP                                                                      0.000000000000000                                                                  SECO-PERP                                 0.000000000000000
                                                                                                SHIB-PERP                                                                      0.000000000000000                                                                  SHIB-PERP                                 0.000000000000000
                                                                                                SNX-PERP                                                                       0.000000000000000                                                                  SNX-PERP                                  0.000000000000000
                                                                                                SOL                                                                            0.001863500000000                                                                  SOL                                       0.001863500000000
                                                                                                SOL-20210625                                                                   0.000000000000000                                                                  SOL-20210625                              0.000000000000000
                                                                                                SOL-PERP                                                                       0.399999999998727                                                                  SOL-PERP                                  0.399999999998727
                                                                                                SRM                                                                        2,070.212746930000000                                                                  SRM                                   2,070.212746930000000
                                                                                                SRM_LOCKED                                                                    46.932624710000000                                                                  SRM_LOCKED                               46.932624710000000
                                                                                                SRM-PERP                                                                       0.000000000000000                                                                  SRM-PERP                                  0.000000000000000
                                                                                                STEP-PERP                                                                      0.000000000000000                                                                  STEP-PERP                                 0.000000000000000
                                                                                                STORJ-PERP                                                                     0.000000000000000                                                                  STORJ-PERP                                0.000000000000000
                                                                                                SUSHI-PERP                                                                     0.000000000000000                                                                  SUSHI-PERP                                0.000000000000000
                                                                                                SXP-PERP                                                                       0.000000000000000                                                                  SXP-PERP                                  0.000000000000000
                                                                                                TOMO-PERP                                                                      0.000000000000000                                                                  TOMO-PERP                                 0.000000000000000
                                                                                                TRX-20210625                                                                   0.000000000000000                                                                  TRX-20210625                              0.000000000000000
                                                                                                TRX-PERP                                                                       0.000000000000000                                                                  TRX-PERP                                  0.000000000000000
                                                                                                UNI-PERP                                                                       0.000000000000170                                                                  UNI-PERP                                  0.000000000000170
                                                                                                UNISWAP-PERP                                                                   0.000000000000000                                                                  UNISWAP-PERP                              0.000000000000000
                                                                                                USD                                                                          160.454955293988040                                                                  USD                                     160.454955293988040
                                                                                                USDT                                                                           0.000000006107209                                                                  USDC                                344,905.000000000000000
                                                                                                WAVES-PERP                                                                     0.000000000000000                                                                  USDT                                      0.004100000000000
                                                                                                WBTC                                                                           0.000000752500000                                                                  WAVES-PERP                                0.000000000000000
                                                                                                XLM-PERP                                                                       0.000000000000000                                                                  WBTC                                      0.000000752500000
                                                                                                XMR-PERP                                                                       0.000000000000000                                                                  XLM-PERP                                  0.000000000000000
                                                                                                XRP-PERP                                                                       0.000000000000000                                                                  XMR-PERP                                  0.000000000000000
                                                                                                XTZ-PERP                                                                       0.000000000001250                                                                  XRP-PERP                                  0.000000000000000
                                                                                                YFI-PERP                                                                       0.000000000000000                                                                  XTZ-PERP                                  0.000000000001250
                                                                                                ZEC-PERP                                                                       0.000000000000000                                                                  YFI-PERP                                  0.000000000000000
                                                                                                ZRX-PERP                                                                       0.000000000000000                                                                  ZEC-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                  ZRX-PERP                                  0.000000000000000
13227    Name on file                                     FTX EU Ltd.                           APE                                                                               0.000000008000000 60430*    Name on file          FTX EU Ltd.                   APE                                       0.000000008000000
                                                                                                BTC                                                                               0.451311446171166                                                               BTC                                       0.451311446171166
                                                                                                DFL                                                                               0.000000013000000                                                               DFL                                       0.000000013000000
                                                                                                ETH                                                                               8.001902786883120                                                               ETH                                       8.001902786883120
                                                                                                ETHW                                                                             10.001902786883120                                                               ETHW                                     10.001902786883120
                                                                                                GALA                                                                              0.000000007000000                                                               GALA                                      0.000000007000000
                                                                                                POC Other Crypto Assertions:
                                                                                                HTTPS://########################                                             1,500.000000000000000                                                                MATIC                                     0.000000002416000
                                                                                                MATIC                                                                            0.000000002416000                                                                MBS                                       0.000000008000000
                                                                                                MBS                                                                              0.000000008000000                                                                SOL                                     211.117588337610000
                                                                                                SOL                                                                            211.117588337610000                                                                USD                                       0.000000146855547
                                                                                                USD                                                                              0.000000146855547                                                                USDC                                  1,500.000000000000000
                                                                                                USDT                                                                             0.000000130557585                                                                USDT                                      0.000000130557585
55061    Name on file                                     FTX Trading Ltd.                      BTC                                                                              0.124800006328475 91942*     Name on file          FTX Trading Ltd.              BTC                                       0.735470196328475
                                                                                                CAKE-PERP                                                                        0.000000000000000                                                                CAKE-PERP                                 0.000000000000000

93542*: Surviving Claim is pending modification on the Debtors· Forty-Eighth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
60430*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
91942*: Surviving Claim is pending modification on the Debtors· Thirty-Fourth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
                                                                 Case 22-11068-JTD                                                                       Doc 25686-2                                                   Filed 09/25/24                         Page 10 of 19
                                                                                    Claims to be Disallowed                                                                                                                                                   Surviving Claims

 Claim                                                                                                                                                                                                Claim
                              Name                                         Debtor                               Tickers                                      Ticker Quantity                                                 Name                    Debtor                           Tickers            Ticker Quantity
Number                                                                                                                                                                                               Number
                                                                                              ETH                                                                            0.000000002860758                                                                      ETH                                                 0.000000002860758
                                                                                              FTT                                                                           25.145080336151803                                                                      FTT                                                25.145080336151803
                                                                                              LUNA2                                                                          0.000000001693000                                                                      LUNA2                                               0.000000001693000
                                                                                              LUNA2_LOCKED                                                                   0.008620877283000                                                                      LUNA2_LOCKED                                        0.008620877283000
                                                                                              LUNC                                                                           0.000000008433569                                                                      LUNC                                                0.000000008433569
                                                                                              MATIC                                                                          9.000000000000000                                                                      MATIC                                               9.000000000000000
                                                                                              STETH                                                                          0.000000005295400                                                                      STETH                                               0.000000005295400
                                                                                              USD                                                                        1,051.912591721377000                                                                      USD                                             1,051.912591721377000
                                                                                              USDT                                                                           0.004346074280733                                                                      USDT                                                0.004346074280733
                                                                                              USTC                                                                           0.000000002065745                                                                      USTC                                                0.000000002065745
29752    Name on file                                     FTX Trading Ltd.                    AVAX                                                                           0.001831340000000 84476          Name on file          FTX Trading Ltd.                AAVE-PERP                                           0.000000000000000
                                                                                              BNB                                                                            0.006507500000000                                                                      AVAX                                                0.001831340000000
                                                                                              BRZ                                                                            0.300000000000000                                                                      AVAX-PERP                                           0.000000000000000
                                                                                              BTC                                                                            0.098512590000000                                                                      BNB                                                 0.006507500000000
                                                                                              FTT                                                                            0.099930000000000                                                                      BNB-PERP                                            0.000000000000000
                                                                                              TRX                                                                            0.001881980000000                                                                      BRZ                                                 0.304224862284483
                                                                                              TRXBULL                                                                      480.000000000000000                                                                      BTC                                                 0.098512590000000
                                                                                              USD                                                                        6,746.920000000000000                                                                      BTC-PERP                                            0.000000000000000
                                                                                              USDT                                                                         205.600000000000000                                                                      DOGE-PERP                                           0.000000000000000
                                                                                                                                                                                                                                                                    ENJ                                                 0.000000004220000
                                                                                                                                                                                                                                                                    FTM-PERP                                            0.000000000000000
                                                                                                                                                                                                                                                                    FTT                                                 0.099930004616155
                                                                                                                                                                                                                                                                    GRT                                                 0.000000000567100
                                                                                                                                                                                                                                                                    LINK                                                0.000000005895000
                                                                                                                                                                                                                                                                    MATIC-PERP                                          0.000000000000000
                                                                                                                                                                                                                                                                    TRX                                                 0.000000000000000
                                                                                                                                                                                                                                                                    TRXBULL                                           480.000000000000000
                                                                                                                                                                                                                                                                    TRX-PERP                                            0.000000000000000
                                                                                                                                                                                                                                                                    USD                                             6,746.923594315032500
                                                                                                                                                                                                                                                                    USDT                                              205.600000000000000
80567    Name on file                                     FTX Trading Ltd.                    AAVE-PERP                                                                      0.000000000000000 84476          Name on file          FTX Trading Ltd.                AAVE-PERP                                           0.000000000000000
                                                                                              AVAX                                                                           0.001831340000000                                                                      AVAX                                                0.001831340000000
                                                                                              AVAX-PERP                                                                      0.000000000000000                                                                      AVAX-PERP                                           0.000000000000000
                                                                                              BNB                                                                            0.006507500000000                                                                      BNB                                                 0.006507500000000
                                                                                              BNB-PERP                                                                       0.000000000000000                                                                      BNB-PERP                                            0.000000000000000
                                                                                              BRZ                                                                            0.304224862284483                                                                      BRZ                                                 0.304224862284483
                                                                                              BTC                                                                            0.098512590000000                                                                      BTC                                                 0.098512590000000
                                                                                              BTC-PERP                                                                       0.000000000000000                                                                      BTC-PERP                                            0.000000000000000
                                                                                              DOGE-PERP                                                                      0.000000000000000                                                                      DOGE-PERP                                           0.000000000000000
                                                                                              ENJ                                                                            0.000000004220000                                                                      ENJ                                                 0.000000004220000
                                                                                              FTM-PERP                                                                       0.000000000000000                                                                      FTM-PERP                                            0.000000000000000
                                                                                              FTT                                                                            0.099930004616155                                                                      FTT                                                 0.099930004616155
                                                                                              GRT                                                                            0.000000000567100                                                                      GRT                                                 0.000000000567100
                                                                                              LINK                                                                           0.000000005895000                                                                      LINK                                                0.000000005895000
                                                                                              MATIC-PERP                                                                     0.000000000000000                                                                      MATIC-PERP                                          0.000000000000000
                                                                                              TRX                                                                            0.001813000000000                                                                      TRX                                                 0.000000000000000
                                                                                              TRXBULL                                                                      480.000000000000000                                                                      TRXBULL                                           480.000000000000000
                                                                                              TRX-PERP                                                                       0.000000000000000                                                                      TRX-PERP                                            0.000000000000000
                                                                                              USD                                                                        6,746.923594315032500                                                                      USD                                             6,746.923594315032500
                                                                                              USDT                                                                         205.600000000000000                                                                      USDT                                              205.600000000000000
82459    Name on file                                     FTX Trading Ltd.                    AAVE-PERP                                                                      0.000000000000000 84476          Name on file          FTX Trading Ltd.                AAVE-PERP                                           0.000000000000000
                                                                                              AVAX                                                                           0.001831340000000                                                                      AVAX                                                0.001831340000000
                                                                                              AVAX-PERP                                                                      0.000000000000000                                                                      AVAX-PERP                                           0.000000000000000
                                                                                              BNB                                                                            0.006507500000000                                                                      BNB                                                 0.006507500000000
                                                                                              BNB-PERP                                                                       0.000000000000000                                                                      BNB-PERP                                            0.000000000000000
                                                                                              BRZ                                                                            0.304224862284483                                                                      BRZ                                                 0.304224862284483
                                                                                              BTC                                                                            0.098512590000000                                                                      BTC                                                 0.098512590000000
                                                                                              BTC-PERP                                                                       0.000000000000000                                                                      BTC-PERP                                            0.000000000000000
                                                                                              DOGE-PERP                                                                      0.000000000000000                                                                      DOGE-PERP                                           0.000000000000000
                                                                                              ENJ                                                                            0.000000004220000                                                                      ENJ                                                 0.000000004220000
                                                                                              FTM-PERP                                                                       0.000000000000000                                                                      FTM-PERP                                            0.000000000000000
                                                                                              FTT                                                                            0.099930004616155                                                                      FTT                                                 0.099930004616155
                                                                                              GRT                                                                            0.000000000567100                                                                      GRT                                                 0.000000000567100
                                                                                              LINK                                                                           0.000000005895000                                                                      LINK                                                0.000000005895000
                                                                                              MATIC-PERP                                                                     0.000000000000000                                                                      MATIC-PERP                                          0.000000000000000
                                                                                              TRX                                                                                                                                                                   TRX                                                 0.000000000000000
                                                                                              TRXBULL                                                                      480.000000000000000                                                                      TRXBULL                                           480.000000000000000
                                                                                              TRX-PERP                                                                       0.000000000000000                                                                      TRX-PERP                                            0.000000000000000
                                                                                              USD                                                                        6,746.923594315032500                                                                      USD                                             6,746.923594315032500
                                                                                              USDT                                                                         205.600000000000000                                                                      USDT                                              205.600000000000000
29696    Name on file                                     Quoine Pte Ltd                      BTC                                                                            0.000027820000000 67685          Name on file          Quoine Pte Ltd                  BTC                                                 0.000027820000000
                                                                                              FANZ                                                                         160.000000000000000                                                                      FANZ                                              160.000000000000000
                                                                                              QASH                                                                           0.254473350000000                                                                      QASH                                                0.254473350000000
                                                                                              SGD                                                                        1,875.550000000000000                                                                      SGD                                             1,875.549870000000000
                                                                                              XRP                                                                        5,203.000000000000000                                                                      XRP                                             5,203.000000000000000
64898    Name on file                                     FTX Trading Ltd.                    BTC                                                                            0.151171500000000 93106          Name on file          FTX Trading Ltd.                POC Other Fiat Assertions: 1000.00                  0.000000000000000
                                                                                              ETH                                                                            0.334000000000000                                                                      BTC                                                 0.151171500000000
                                                                                              ETHW                                                                           0.334000000000000                                                                      ETH                                                 0.334000000000000
                                                                                              MATIC                                                                         99.900000000000000                                                                      ETHW                                                0.334000000000000
                                                                                              SOL                                                                           27.560000000000000                                                                      MATIC                                              99.900000000000000
                                                                                              USD                                                                           28.370000000000000                                                                      SOL                                                27.560000000000000
                                                                                                                                                                                                                                                                    USD                                                28.367257400000000
53546    Name on file                                     FTX Trading Ltd.                    APE                                                                          350.000000000000000       91311*   Name on file          FTX Trading Ltd.                APE                                               350.000000000000000
                                                                                              BTC                                                                            0.166760000000000                                                                      BTC                                                 0.166760000000000
                                                                                              BUSD                                                                         200.000000000000000                                                                      BUSD                                              200.000000000000000
                                                                                              COPE                                                                          73.974098250000000                                                                      COPE                                               73.974098250000000
                                                                                              ETH                                                                            6.500000000000000                                                                      ETH                                                19.060000000000000
                                                                                              ETH-PERP                                                                       0.000000000000000                                                                      ETH-PERP                                            0.000000000000000
                                                                                              ETHW                                                                          12.560000000000000                                                                      ETHW                                               12.560000000000000
                                                                                              EUR                                                                           50.376670726206040                                                                      EUR                                               100.380000000000000
                                                                                              FTT                                                                           45.087872680000000                                                                      FTT                                                45.087872680000000
                                                                                              FTT-PERP                                                                       0.000000000000000                                                                      FTT-PERP                                            0.000000000000000
                                                                                              LTC                                                                            0.001892040000000                                                                      LTC                                                 0.001892040000000
                                                                                              LTC-PERP                                                                       0.000000000000000                                                                      LTC-PERP                                            0.000000000000000
                                                                                              LUA                                                                          416.740054000000000                                                                      LUA                                               416.740054000000000
                                                                                              LUNA2                                                                          0.854730748400000                                                                      LUNA2                                               0.854730748400000
                                                                                              LUNA2_LOCKED                                                                   1.994371746000000                                                                      LUNA2_LOCKED                                        1.994371746000000
                                                                                              LUNC                                                                     186,119.420000000000000                                                                      LUNC                                          186,119.420000000000000
                                                                                              LUNC-PERP                                                                      0.000000000000000                                                                      LUNC-PERP                                           0.000000000000000
                                                                                              MER                                                                          322.990324250000000                                                                      MER                                               322.990324250000000
                                                                                              RAY                                                                            0.983228700000000                                                                      RAY                                                 0.983228700000000
                                                                                              RAY-PERP                                                                       0.000000000000000                                                                      RAY-PERP                                            0.000000000000000
                                                                                              SOL                                                                           33.271590400000000                                                                      SOL                                                33.271590400000000
                                                                                              SRM                                                                           52.734521840000000                                                                      SRM                                                52.734521840000000
                                                                                              SRM_LOCKED                                                                     1.353415340000000                                                                      SRM_LOCKED                                          1.353415340000000
                                                                                              SRM-PERP                                                                       0.000000000000000                                                                      SRM-PERP                                            0.000000000000000
                                                                                              STEP                                                                       1,050.000000000000000                                                                      STEP                                            1,050.000000000000000
                                                                                              STEP-PERP                                                                      0.000000000000000                                                                      STEP-PERP                                           0.000000000000000
                                                                                              TRX                                                                           82.000001000000000                                                                      TRX                                                82.000001000000000
                                                                                              USD                                                                       10,413.239032114037000                                                                      USD                                            10,413.239032114037000
                                                                                              USDT                                                                         525.000000000000000                                                                      USDT                                            1,525.000000000000000
52185    Name on file                                     FTX Trading Ltd.                    EUR                                                                        4,145.591450000000000       52193*   Name on file          FTX Trading Ltd.                EUR                                             8,282.900000000000000
                                                                                              KIN                                                                            1.000000000000000                                                                      KIN                                                 1.000000000000000
                                                                                              USDT                                                                           0.000000001182906                                                                      USDT                                                0.000000001182906
42893    Name on file                                     FTX Trading Ltd.                    ADA-PERP                                                                       0.000000000000000       66245*   Name on file          FTX Trading Ltd.                APE                                               715.104780000000000
                                                                                              APE                                                                          715.104780000000000                                                                      ATLAS                                               0.020000000000000
                                                                                              APE-PERP                                                                       0.000000000000000                                                                      BNB                                                 3.010000000000000
                                                                                              ATLAS                                                                          0.020000000000000                                                                      BTC                                                 0.244711284227380
                                                                                              ATLAS-PERP                                                                     0.000000000000000                                                                      BUSD                                           11,455.405265600000000
                                                                                              BNB                                                                            3.010000000000000                                                                      ETH                                                11.685765062579301
                                                                                              BTC                                                                            0.244711284227380                                                                      ETHW                                               16.816498576579301
                                                                                              BTC-PERP                                                                      -0.000000000000001                                                                      FTM                                               691.277940000000000
                                                                                              CRV-PERP                                                                       0.000000000000000                                                                      FTT                                                 0.058478000000000
                                                                                              DOGE                                                                      37,223.496255120000000                                                                      GALA                                                8.706350000000000
                                                                                              DOGE-PERP                                                                      0.000000000000000                                                                      GARI                                                0.895510000000000
                                                                                              ETH                                                                           11.685765062579302                                                                      LUNA2                                               0.000144078469300
                                                                                              ETH-PERP                                                                       0.000000000000000                                                                      LUNC                                                0.001743958351597
                                                                                              ETHW                                                                          16.816498576579303                                                                      RUNE                                                0.000415000000000
                                                                                              FTM                                                                          691.277940000000000                                                                      SOL                                                 0.007135043160655
                                                                                              FTM-PERP                                                                       0.000000000000000                                                                      SRM                                                 8.814100100000000
                                                                                              FTT                                                                            0.058478000000000                                                                      SRM_LOCKED                                         60.153985240000000
                                                                                              FTT-PERP                                                                       0.000000000000000                                                                      STG                                                 0.443740000000000
                                                                                              GALA                                                                           8.706350000000000                                                                      TRX                                                 0.000012000000000
                                                                                              GARI                                                                           0.895510000000000                                                                      USD                                                -0.001078294489588
                                                                                              LINK                                                                           0.041350629075809                                                                      USDC                                                0.020393879070735
                                                                                              LUNA2                                                                          0.000144078469300                                                                      USDT                                               -0.594214922015152
                                                                                              LUNA2_LOCKED                                                                   0.000336183095000
                                                                                              LUNC                                                                           0.001743958351597
                                                                                              LUNC-PERP                                                                      0.000000000000000
                                                                                              MBS                                                                            0.011380000000000
                                                                                              NEAR                                                                         403.369747250000000
                                                                                              RAY-PERP                                                                       0.000000000000000
                                                                                              RNDR                                                                       3,076.696068000000000
                                                                                              RUNE                                                                           0.000415000000000
                                                                                              SHIB-PERP                                                                      0.000000000000000
                                                                                              SOL                                                                            0.007135043160655
                                                                                              SOL-PERP                                                                       0.000000000000000
                                                                                              SRM                                                                            8.814100100000000
                                                                                              SRM_LOCKED                                                                    60.153985240000000
                                                                                              STG                                                                            0.443740000000000
                                                                                              TRX                                                                            0.000012000000000
                                                                                              TRX-PERP                                                                       0.000000000000000
                                                                                              USD                                                                       11,455.404187305541000
                                                                                              USDT                                                                          -0.594214922015152
                                                                                              USTC                                                                           0.020393879070735
                                                                                              USTC-PERP                                                                      0.000000000000000
66089    Name on file                                     FTX Trading Ltd.                    APE                                                                          715.104780000000000       66245*   Name on file          FTX Trading Ltd.                APE                                                715.104780000000000
                                                                                              ATLAS                                                                          0.020000000000000                                                                      ATLAS                                                0.020000000000000
                                                                                              BNB                                                                            3.010000000000000                                                                      BNB                                                  3.010000000000000
                                                                                              BTC                                                                            0.244711284227380                                                                      BTC                                                  0.244711284227380
                                                                                              BUSD                                                                      11,455.405265600000000                                                                      BUSD                                            11,455.405265600000000
                                                                                              ETH                                                                           11.685765062579301                                                                      ETH                                                 11.685765062579301
                                                                                              ETHW                                                                          16.816498576579301                                                                      ETHW                                                16.816498576579301
                                                                                              FTM                                                                          691.277940000000000                                                                      FTM                                                691.277940000000000
                                                                                              FTT                                                                            0.058478000000000                                                                      FTT                                                  0.058478000000000
                                                                                              GALA                                                                           8.706350000000000                                                                      GALA                                                 8.706350000000000
                                                                                              GARI                                                                           0.895510000000000                                                                      GARI                                                 0.895510000000000
                                                                                              LUNA2                                                                          0.000144078469300                                                                      LUNA2                                                0.000144078469300
                                                                                              LUNC                                                                           0.001743958351597                                                                      LUNC                                                 0.001743958351597
                                                                                              RUNE                                                                           0.000415000000000                                                                      RUNE                                                 0.000415000000000
                                                                                              SOL                                                                            0.007135043160655                                                                      SOL                                                  0.007135043160655
                                                                                              SRM                                                                            8.814100100000000                                                                      SRM                                                  8.814100100000000
                                                                                              SRM_LOCKED                                                                    60.153985240000000                                                                      SRM_LOCKED                                          60.153985240000000
                                                                                              STG                                                                            0.443740000000000                                                                      STG                                                  0.443740000000000
                                                                                              TRX                                                                            0.000012000000000                                                                      TRX                                                  0.000012000000000
                                                                                              USD                                                                           -0.001078294489588                                                                      USD                                                 -0.001078294489588
                                                                                              USDC                                                                           0.020393879070735                                                                      USDC                                                 0.020393879070735

91311*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred First (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
52193*: Surviving Claim included as a claim to be modified subject to the Debtors· One Hundredth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
66245*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Second (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
                                                                 Case 22-11068-JTD                                                                         Doc 25686-2                                                  Filed 09/25/24                       Page 11 of 19
                                                                                      Claims to be Disallowed                                                                                                                                                Surviving Claims

 Claim                                                                                                                                                                                                 Claim
                              Name                                       Debtor                                   Tickers                                      Ticker Quantity                                                Name                  Debtor                           Tickers             Ticker Quantity
Number                                                                                                                                                                                                Number
                                                                                                USDT                                                                             -0.594214922015152                                                                USDT                                                 -0.594214922015152
37226    Name on file                                     FTX Trading Ltd.                      AMC                                                                               0.001226103229920 85472      Name on file          FTX Trading Ltd.              AMC                                                   0.001226103229920
                                                                                                APE-PERP                                                                          0.000000000000000                                                                APE-PERP                                              0.000000000000000
                                                                                                AVAX                                                                                                                                                               AVAX                                                  0.011853696495630
                                                                                                BNB                                                                                                                                                                BNB                                                   0.010132579177660
                                                                                                BTC                                                                              0.151019424606640                                                                 BTC                                                   0.151019424606640
                                                                                                DAI                                                                            700.127124721677236                                                                 DAI                                                 700.127124721677200
                                                                                                DOGE                                                                                                                                                               DOGE                                                  0.129904796715590
                                                                                                DOGEBEAR2021                                                                      0.000293830577610                                                                DOGEBEAR2021                                          0.000293830577610
                                                                                                DOGEBULL                                                                          0.000007480000000                                                                DOGEBULL                                              0.000007480000000
                                                                                                DOGE-PERP                                                                         0.000000000000000                                                                DOGE-PERP                                             0.000000000000000
                                                                                                ETC-PERP                                                                          0.000000000000000                                                                ETC-PERP                                              0.000000000000000
                                                                                                ETH                                                                               0.011306925080320                                                                ETH                                                   0.011306925080320
                                                                                                ETHW                                                                              0.011245517449290                                                                ETHW                                                  0.011245517449290
                                                                                                FLOW-PERP                                                                         0.000000000000000                                                                FLOW-PERP                                             0.000000000000000
                                                                                                FTT                                                                              25.000000000000000                                                                FTT                                                  25.000000000000000
                                                                                                FTT-PERP                                                                          0.000000000000000                                                                FTT-PERP                                              0.000000000000000
                                                                                                GME                                                                                                                                                                GME                                                   0.000615592299880
                                                                                                GMEPRE                                                                            0.000000002646367                                                                GMEPRE                                                0.000000002646367
                                                                                                GRT                                                                               0.000000003650300                                                                GRT                                                   0.000000003650300
                                                                                                GST                                                                               0.500000000000000                                                                GST                                                   0.500000000000000
                                                                                                INDI                                                                              1.000000000000000                                                                INDI                                                  1.000000000000000
                                                                                                INDI_IEO_TICKET                                                                   2.000000000000000                                                                INDI_IEO_TICKET                                       2.000000000000000
                                                                                                LUNA2                                                                             2.200011991000000                                                                LUNA2                                                 2.200011991000000
                                                                                                LUNA2_LOCKED                                                                      5.133361313000000                                                                LUNA2_LOCKED                                          5.133361313000000
                                                                                                LUNC                                                                             57.242933839589990                                                                LUNC                                                 57.242933839589990
                                                                                                MATIC                                                                                                                                                              MATIC                                                 0.314852094338515
                                                                                                SOL                                                                               7.653160445817600                                                                SOL                                                   7.653160445817600
                                                                                                SRM                                                                               0.764167040000000                                                                SRM                                                   0.764167040000000
                                                                                                SRM_LOCKED                                                                        5.415832960000000                                                                SRM_LOCKED                                            5.415832960000000
                                                                                                SUSHI                                                                             0.000000002359980                                                                SUSHI                                                 0.000000002359980
                                                                                                TRX                                                                                                                                                                TRX                                                   0.000002246374915
                                                                                                UNI                                                                            0.013464533833800                                                                   UNI                                                   0.013464533833800
                                                                                                USD                                                                            0.141827274585885                                                                   USD                                                   0.141827274585885
                                                                                                USDT                                                                           0.000652274673204                                                                   USDT                                                  0.000652274673204
12824    Name on file                                     FTX Trading Ltd.                      1INCH-PERP                                                                     0.000000000000000 13270         Name on file          FTX Trading Ltd.              1INCH-PERP                                            0.000000000000000
                                                                                                AAVE-PERP                                                                      0.000000000000000                                                                   AAVE-PERP                                             0.000000000000000
                                                                                                ALCX-PERP                                                                      0.000000000000000                                                                   ALCX-PERP                                             0.000000000000000
                                                                                                ALGO-PERP                                                                      0.000000000000000                                                                   ALGO-PERP                                             0.000000000000000
                                                                                                ALICE-PERP                                                                     0.000000000000000                                                                   ALICE-PERP                                            0.000000000000000
                                                                                                ALPHA-PERP                                                                     0.000000000000000                                                                   ALPHA-PERP                                            0.000000000000000
                                                                                                APE-PERP                                                                       0.000000000000000                                                                   APE-PERP                                              0.000000000000000
                                                                                                ATLAS-PERP                                                                     0.000000000000000                                                                   ATLAS-PERP                                            0.000000000000000
                                                                                                ATOM-PERP                                                                      0.000000000000000                                                                   ATOM-PERP                                             0.000000000000000
                                                                                                AVAX-PERP                                                                      0.000000000000000                                                                   AVAX-PERP                                             0.000000000000000
                                                                                                AXS-PERP                                                                       0.000000000000001                                                                   AXS-PERP                                              0.000000000000001
                                                                                                BADGER-PERP                                                                    0.000000000000000                                                                   BADGER-PERP                                           0.000000000000000
                                                                                                BAL-PERP                                                                       0.000000000000000                                                                   BAL-PERP                                              0.000000000000000
                                                                                                BAT-PERP                                                                       0.000000000000000                                                                   BAT-PERP                                              0.000000000000000
                                                                                                BNB-PERP                                                                       0.000000000000000                                                                   BNB-PERP                                              0.000000000000000
                                                                                                BTC-PERP                                                                       0.000000000000000                                                                   BTC-PERP                                              0.000000000000000
                                                                                                C98-PERP                                                                       0.000000000000000                                                                   C98-PERP                                              0.000000000000000
                                                                                                CAKE-PERP                                                                      0.000000000000000                                                                   CAKE-PERP                                             0.000000000000000
                                                                                                CHZ-PERP                                                                       0.000000000000000                                                                   CHZ-PERP                                              0.000000000000000
                                                                                                COMP-PERP                                                                      0.000000000000000                                                                   COMP-PERP                                             0.000000000000000
                                                                                                CRV-PERP                                                                       0.000000000000000                                                                   CRV-PERP                                              0.000000000000000
                                                                                                DASH-PERP                                                                      0.000000000000000                                                                   DASH-PERP                                             0.000000000000000
                                                                                                DOGE-PERP                                                                      0.000000000000000                                                                   DOGE-PERP                                             0.000000000000000
                                                                                                DOT-PERP                                                                      -0.000000000000007                                                                   DOT-PERP                                             -0.000000000000007
                                                                                                ENJ-PERP                                                                       0.000000000000000                                                                   ENJ-PERP                                              0.000000000000000
                                                                                                ETC-PERP                                                                       0.000000000000000                                                                   ETC-PERP                                              0.000000000000000
                                                                                                ETH-PERP                                                                       0.000000000000000                                                                   ETH-PERP                                              0.000000000000000
                                                                                                FIL-PERP                                                                       0.000000000000000                                                                   FIL-PERP                                              0.000000000000000
                                                                                                FTM-PERP                                                                       0.000000000000000                                                                   FTM-PERP                                              0.000000000000000
                                                                                                FTT-PERP                                                                       0.000000000000000                                                                   FTT-PERP                                              0.000000000000000
                                                                                                GRT-PERP                                                                       0.000000000000000                                                                   GRT-PERP                                              0.000000000000000
                                                                                                HOT-PERP                                                                       0.000000000000000                                                                   HOT-PERP                                              0.000000000000000
                                                                                                HT-PERP                                                                        0.000000000000000                                                                   HT-PERP                                               0.000000000000000
                                                                                                ICP-PERP                                                                       0.000000000000000                                                                   ICP-PERP                                              0.000000000000000
                                                                                                ICX-PERP                                                                       0.000000000000000                                                                   ICX-PERP                                              0.000000000000000
                                                                                                IOTA-PERP                                                                      0.000000000000000                                                                   IOTA-PERP                                             0.000000000000000
                                                                                                KAVA-PERP                                                                      0.000000000000000                                                                   KAVA-PERP                                             0.000000000000000
                                                                                                LEO-PERP                                                                       0.000000000000000                                                                   LEO-PERP                                              0.000000000000000
                                                                                                LINA-PERP                                                                      0.000000000000000                                                                   LINA-PERP                                             0.000000000000000
                                                                                                LINK-PERP                                                                      0.000000000000000                                                                   LINK-PERP                                             0.000000000000000
                                                                                                LRC-PERP                                                                       0.000000000000000                                                                   LRC-PERP                                              0.000000000000000
                                                                                                LTC                                                                            0.000507696613705                                                                   LTC                                                   0.000507696613705
                                                                                                LTC-PERP                                                                       0.000000000000000                                                                   LTC-PERP                                              0.000000000000000
                                                                                                LUNC-PERP                                                                     -0.000000000000007                                                                   LUNC-PERP                                            -0.000000000000007
                                                                                                MANA-PERP                                                                      0.000000000000000                                                                   MANA-PERP                                             0.000000000000000
                                                                                                MATIC-PERP                                                                     0.000000000000000                                                                   MATIC-PERP                                            0.000000000000000
                                                                                                MNGO-PERP                                                                      0.000000000000000                                                                   MNGO-PERP                                             0.000000000000000
                                                                                                MTA-PERP                                                                       0.000000000000000                                                                   MTA-PERP                                              0.000000000000000
                                                                                                NEAR-PERP                                                                      0.000000000000000                                                                   NEAR-PERP                                             0.000000000000000
                                                                                                NEO-PERP                                                                       0.000000000000000                                                                   NEO-PERP                                              0.000000000000000
                                                                                                OMG-PERP                                                                       0.000000000000000                                                                   OMG-PERP                                              0.000000000000000
                                                                                                ONT-PERP                                                                       0.000000000000000                                                                   ONT-PERP                                              0.000000000000000
                                                                                                QTUM-PERP                                                                      0.000000000000000                                                                   QTUM-PERP                                             0.000000000000000
                                                                                                RAY-PERP                                                                       0.000000000000000                                                                   RAY-PERP                                              0.000000000000000
                                                                                                REN-PERP                                                                       0.000000000000000                                                                   REN-PERP                                              0.000000000000000
                                                                                                RUNE-PERP                                                                     -0.000000000000014                                                                   RUNE-PERP                                            -0.000000000000014
                                                                                                SAND-PERP                                                                      0.000000000000000                                                                   SAND-PERP                                             0.000000000000000
                                                                                                SHIB-PERP                                                                      0.000000000000000                                                                   SHIB-PERP                                             0.000000000000000
                                                                                                SLP                                                                          570.000000000000000                                                                   SLP                                                 570.000000000000000
                                                                                                SNX-PERP                                                                       0.000000000000000                                                                   SNX-PERP                                              0.000000000000000
                                                                                                SOL-PERP                                                                      -0.000000000000002                                                                   SOL-PERP                                             -0.000000000000002
                                                                                                SRM-PERP                                                                       0.000000000000000                                                                   SRM-PERP                                              0.000000000000000
                                                                                                STMX-PERP                                                                      0.000000000000000                                                                   STMX-PERP                                             0.000000000000000
                                                                                                SUSHI-PERP                                                                     0.000000000000000                                                                   SUSHI-PERP                                            0.000000000000000
                                                                                                SXP-PERP                                                                       0.000000000000000                                                                   SXP-PERP                                              0.000000000000000
                                                                                                THETA-PERP                                                                    -0.000000000000021                                                                   THETA-PERP                                           -0.000000000000021
                                                                                                TRU-PERP                                                                       0.000000000000000                                                                   TRU-PERP                                              0.000000000000000
                                                                                                TRX                                                                            0.000003000000000                                                                   TRX                                                   0.000003000000000
                                                                                                TRX-PERP                                                                       0.000000000000000                                                                   TRX-PERP                                              0.000000000000000
                                                                                                UNI-PERP                                                                       0.000000000000000                                                                   UNI-PERP                                              0.000000000000000
                                                                                                USD                                                                            0.623769170917238                                                                   USD                                                   0.623769170917238
                                                                                                USDT                                                                       3,118.148386879542000                                                                   USDT                                              6,230.063356879542000
                                                                                                XLM-PERP                                                                       0.000000000000000                                                                   XLM-PERP                                              0.000000000000000
                                                                                                XTZ-PERP                                                                       0.000000000000000                                                                   XTZ-PERP                                              0.000000000000000
                                                                                                ZIL-PERP                                                                       0.000000000000000                                                                   ZIL-PERP                                              0.000000000000000
44524    Name on file                                     FTX EU Ltd.                           BTC                                                                            0.101800000000000 46859         Name on file          FTX Trading Ltd.              BTC                                                   0.101800000000000
                                                                                                ETH                                                                            4.587000000000000                                                                   ETH                                                   4.582000000000000
                                                                                                EUR                                                                            0.540000000000000                                                                   EUR                                                   0.540000000000000
                                                                                                SOL                                                                           67.184133560000000                                                                   SOL                                                  67.184130000000000
                                                                                                USDT                                                                          12.780000000000000
34318    Name on file                                     FTX Trading Ltd.                      ALGOBULL                                                           1,087,000,000.000000000000000 65521         Name on file          FTX Trading Ltd.              ADA-PERP                                              0.000000000000000
                                                                                                AVAX                                                                       1,087.000000000000000                                                                   ALGOBULL                                  1,087,000,000.000000000000000
                                                                                                BCHBULL                                                               10,730,000.000000000000000                                                                   AVAX                                                  0.000000000525640
                                                                                                BSVBULL                                                              203,000,000.000000000000000                                                                   AVAX-PERP                                             0.000000000000010
                                                                                                EOSBULL                                                              414,170,000.000000000000000                                                                   BCHBULL                                      10,730,000.000000000000000
                                                                                                ETH                                                                           -0.000000000401561                                                                   BSVBULL                                     203,000,000.000000000000000
                                                                                                ETHBULL                                                                      142.990000000000000                                                                   BTC-PERP                                              0.000000000000000
                                                                                                ETHW                                                                           0.000000001612016                                                                   CAKE-PERP                                             0.000000000000000
                                                                                                FTT                                                                            0.015126080302281                                                                   EOSBULL                                     414,170,000.000000000000000
                                                                                                GRTBULL                                                               29,500,000.000000000000000                                                                   ETH                                                  -0.000000000401561
                                                                                                LINKBULL                                                               1,671,200.000000000000000                                                                   ETHBULL                                             142.990000000000000
                                                                                                LUNA2_LOCKED                                                                 107.327429300000000                                                                   ETHW                                                  0.000000001612016
                                                                                                MATICBULL                                                              2,511,550.029677500000000                                                                   FTM-PERP                                              0.000000000000000
                                                                                                SUSHIBULL                                                          6,291,253,855.499000000000000                                                                   FTT                                                   0.015126080302281
                                                                                                THETABULL                                                                      0.000000005000000                                                                   GRTBULL                                      29,500,000.000000000000000
                                                                                                USD                                                                           70.630525764212600                                                                   LINKBULL                                      1,671,200.000000000000000
                                                                                                XRPBULL                                                                1,440,000.000000000000000                                                                   LUNA2_LOCKED                                        107.327429300000000
                                                                                                                                                                                                                                                                   MATICBULL                                     2,511,550.029677500000000
                                                                                                                                                                                                                                                                   SOL-PERP                                              0.000000000000014
                                                                                                                                                                                                                                                                   SUSHIBULL                                 6,291,253,855.499000000000000
                                                                                                                                                                                                                                                                   THETABULL                                             0.000000005000000
                                                                                                                                                                                                                                                                   USD                                                  70.630525764212220
                                                                                                                                                                                                                                                                   XRPBULL                                       1,440,000.000000000000000
14682    Name on file                                     FTX EU Ltd.                           APE                                                                              26.762122510000000 43867*     Name on file          FTX EU Ltd.                   APE                                                  26.762122510000000
                                                                                                ATLAS                                                                        27,979.092660870000000                                                                ATLAS                                            27,979.092660870000000
                                                                                                AXS                                                                               5.727873350000000                                                                AXS                                                   5.727873350000000
                                                                                                EUR                                                                           7,500.000000000000000                                                                EUR                                               7,500.000000007367000
                                                                                                FTM                                                                             223.465670620000000                                                                FTM                                                 223.465670620000000
                                                                                                FTT                                                                             110.500292630000000                                                                FTT                                                 110.500292630000000
                                                                                                GALA                                                                          1,879.162061980000000                                                                GALA                                              1,879.162061980000000
                                                                                                LRC                                                                             452.155026010000000                                                                LRC                                                 452.155026010000000
                                                                                                MANA                                                                            418.142358670000000                                                                MANA                                                418.142358670000000
                                                                                                NEAR                                                                             66.865590010000000                                                                NEAR                                                 66.865590010000000
                                                                                                RUNE                                                                             39.435575980000000                                                                RUNE                                                 39.435575980000000
                                                                                                SUSHI                                                                            44.943856700000000                                                                SUSHI                                                44.943856700000000
                                                                                                USDT                                                                          1,509.616447654411408                                                                USDT                                              1,509.616447654411300
31682    Name on file                                     FTX Trading Ltd.                      BTC                                                                               0.059678840000000 54617      Name on file          FTX Trading Ltd.              APE-PERP                                              0.000000000000000
                                                                                                ETHW                                                                             38.383751660000000                                                                BNB                                                   0.000000008975000
                                                                                                FTT                                                                              25.000000120000000                                                                BTC                                                   0.059678840516180
                                                                                                GAL                                                                             100.000000000000000                                                                ETH                                                   0.000000007239950
                                                                                                SOL                                                                              54.998365120000000                                                                ETHW                                                 38.383751664270910
                                                                                                SRM                                                                           5,198.006509090000000                                                                FTT                                                  25.000000125786070
                                                                                                SRM_LOCKED                                                                       33.790388210000000                                                                GAL                                                 100.000000000000000
                                                                                                                                                                                                                                                                   NFT (404611015296900449/FTX AU - WE
                                                                                                USD                                                                               0.060000000000000                                                                ARE HERE! #32502)                                       1.000000000000000
                                                                                                                                                                                                                                                                   NFT (562633257726164777/FTX AU - WE
                                                                                                                                                                                                                                                                   ARE HERE! #32917)                                     1.000000000000000
                                                                                                                                                                                                                                                                   RAY                                                   0.000000000761760
                                                                                                                                                                                                                                                                   SOL                                                   0.000000000000000
                                                                                                                                                                                                                                                                   SRM                                               5,198.006509090000000
                                                                                                                                                                                                                                                                   SRM_LOCKED                                           33.790388210000000
                                                                                                                                                                                                                                                                   USD                                                   0.057336510883717
                                                                                                                                                                                                                                                                   USDT                                                  0.000000003914473
                                                                                                                                                                                                                                                                   USTC                                                  0.000000006966950
                                                                                                                                                                                                                                                                   XRP                                                   0.000000000805140
7770     Name on file                                     FTX EU Ltd.                           BTC                                                                               0.729800010000000 55955*     Name on file          FTX EU Ltd.                   BTC                                                   0.729800011480299
                                                                                                ETH                                                                               9.550344490000000                                                                BTC-PERP                                             -0.000000000000001
                                                                                                EUR                                                                               0.000000008833192                                                                BULL                                                  0.000000003149000
                                                                                                FTT                                                                              25.049033760000000                                                                ETH                                                   9.550344492000000
                                                                                                USD                                                                               0.000000020575183                                                                ETH-PERP                                              0.000000000000031
                                                                                                USDT                                                                             50.000000000000000                                                                EUR                                                   0.000000008833192
                                                                                                                                                                                                                                                                   FTT                                                  25.049033760322732

43867*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
55955*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
                                                                 Case 22-11068-JTD                                                                       Doc 25686-2                                                    Filed 09/25/24                           Page 12 of 19
                                                                                      Claims to be Disallowed                                                                                                                                                          Surviving Claims

 Claim                                                                                                                                                                                                 Claim
                              Name                                         Debtor                               Tickers                                      Ticker Quantity                                                  Name                    Debtor                               Tickers   Ticker Quantity
Number                                                                                                                                                                                                Number
                                                                                                                                                                                                                                                                             FTT-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             LINK-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                             LTC                                     0.000000007000000
                                                                                                                                                                                                                                                                             LTC-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             LUNA2                                   0.229618905000000
                                                                                                                                                                                                                                                                             LUNA2_LOCKED                            0.535777445000000
                                                                                                                                                                                                                                                                             OMG                                     0.000000002117999
                                                                                                                                                                                                                                                                             RAY-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             SOL-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             SRM-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             TRX                                 1,960.000000000000000
                                                                                                                                                                                                                                                                             USD                                     0.000000020575183
                                                                                                                                                                                                                                                                             USDT                                   50.000003512123330
31560    Name on file                                     FTX EU Ltd.                           ATOM                                                                        37.592278400000000 65362*          Name on file          FTX Trading Ltd.                        ADA-0325                                0.000000000000000
                                                                                                AVAX                                                                         5.999096930000000                                                                               ADA-PERP                                0.000000000000000
                                                                                                BADGER                                                                       9.006649420000000                                                                               ALICE-PERP                              0.000000000000000
                                                                                                BTC                                                                          0.031841240000000                                                                               ALPHA-PERP                              0.000000000000000
                                                                                                CHZ                                                                        339.854935000000000                                                                               ATOM                                   37.592278400000000
                                                                                                CRO                                                                        909.959454000000000                                                                               ATOM-0325                               0.000000000000000
                                                                                                DOT                                                                         35.298721490000000                                                                               ATOM-0624                               0.000000000000000
                                                                                                ETH                                                                          0.560379350000000                                                                               ATOM-PERP                               0.000000000000000
                                                                                                ETHW                                                                         0.245436500000000                                                                               AVAX                                    5.999096938774180
                                                                                                FTM                                                                        578.904716900000000                                                                               AVAX-PERP                               0.000000000000000
                                                                                                FTT                                                                         12.398295660000000                                                                               BADGER                                  9.006649426000000
                                                                                                MATIC                                                                      208.844710000000000                                                                               BAL-20211231                            0.000000000000000
                                                                                                MOB                                                                        145.986085350000000                                                                               BAND-PERP                               0.000000000000000
                                                                                                RAY                                                                         80.992996600000000                                                                               BTC                                     0.031841241826157
                                                                                                SLP                                                                          9.955768000000000                                                                               BTC-0624                                0.000000000000000
                                                                                                SOL                                                                          3.228534810000000                                                                               BTC-20211231                            0.000000000000000
                                                                                                USD                                                                        801.520000000000000                                                                               BTC-MOVE-0104                           0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-0105                           0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-0106                           0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-0107                           0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-0108                           0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-0109                           0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-0110                           0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-0111                           0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-0113                           0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-0114                           0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-0115                           0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-0207                           0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-20211203                       0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-20211228                       0.000000000000000
                                                                                                                                                                                                                                                                             BTC-MOVE-20211229                       0.000000000000000
                                                                                                                                                                                                                                                                             BTC-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             CHZ                                   339.854935000000000
                                                                                                                                                                                                                                                                             CRO                                   909.959454000000000
                                                                                                                                                                                                                                                                             DOGE-20211231                           0.000000000000000
                                                                                                                                                                                                                                                                             DOGE-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                             DOT                                    35.298721490000000
                                                                                                                                                                                                                                                                             DOT-20211231                            0.000000000000000
                                                                                                                                                                                                                                                                             DOT-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             DYDX-PERP                              -0.000000000000028
                                                                                                                                                                                                                                                                             ENJ-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             ENS-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             EOS-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             ETH                                     0.560379358019282
                                                                                                                                                                                                                                                                             ETH-0325                                0.000000000000000
                                                                                                                                                                                                                                                                             ETH-0624                                0.000000000000000
                                                                                                                                                                                                                                                                             ETH-20211231                            0.000000000000000
                                                                                                                                                                                                                                                                             ETH-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             ETHW                                    0.245436508482255
                                                                                                                                                                                                                                                                             EUR                                     0.000000005145000
                                                                                                                                                                                                                                                                             FTM                                   578.904716900000000
                                                                                                                                                                                                                                                                             FTM-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             FTT                                    12.398295663130900
                                                                                                                                                                                                                                                                             FTT-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             FXS                                     0.099410240000000
                                                                                                                                                                                                                                                                             GALA-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                             ICP-PERP                               -0.000000000000014
                                                                                                                                                                                                                                                                             KBTT-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                             LINA-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                             LINK-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                             LRC-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             LUNA2                                   0.172282819300000
                                                                                                                                                                                                                                                                             LUNA2_LOCKED                            0.401993245100000
                                                                                                                                                                                                                                                                             LUNC-PERP                               0.000000000000017
                                                                                                                                                                                                                                                                             MANA-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                             MATIC                                 208.844710000000000
                                                                                                                                                                                                                                                                             MATIC-PERP                              0.000000000000000
                                                                                                                                                                                                                                                                             MKR-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             MOB                                   145.986085350000000
                                                                                                                                                                                                                                                                             NEAR-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                             ONE-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             RAY                                    80.992996609915400
                                                                                                                                                                                                                                                                             SAND-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                             SLP                                     9.955768000000000
                                                                                                                                                                                                                                                                             SOL                                     3.228534817250240
                                                                                                                                                                                                                                                                             SOL-0325                                0.000000000000000
                                                                                                                                                                                                                                                                             SOL-20211231                            0.000000000000000
                                                                                                                                                                                                                                                                             SOL-PERP                               -0.000000000000002
                                                                                                                                                                                                                                                                             SPELL-PERP                              0.000000000000000
                                                                                                                                                                                                                                                                             USD                                   801.519968818235000
                                                                                                                                                                                                                                                                             USDT                                    0.000000004785785
                                                                                                                                                                                                                                                                             USTC-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                             WAVES-PERP                              0.000000000000000
                                                                                                                                                                                                                                                                             XTZ-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             YFI-PERP                                0.000000000000000
21905    Name on file                                     West Realm Shires Services Inc.       BTC                                                                          0.033400000000000 94931           Name on file          West Realm Shires Services Inc.         BTC                                     0.033405590000000
                                                                                                DOGE                                                                    41,676.726700000000000                                                                               DOGE                               41,676.726650520000000
87691    Name on file                                     FTX Trading Ltd.                      BTC                                                                          0.210200000000000 88659           Name on file          FTX Trading Ltd.                        ALT-PERP                                0.000000000000000
                                                                                                DOT                                                                        143.400000000000000                                                                               BNB-PERP                                0.000000000000000
                                                                                                ETH                                                                          0.321935600000000                                                                               BTC                                     0.210200000000000
                                                                                                ETHW                                                                         0.115935600000000                                                                               BTC-PERP                                0.000000000000000
                                                                                                LUNA2                                                                        5.728902798802000                                                                               CRV-PERP                                0.000000000000000
                                                                                                LUNA2_LOCKED                                                                13.367439861855000                                                                               DOT                                   143.400000000000000
                                                                                                SAND                                                                     1,865.000000000000000                                                                               DOT-PERP                                0.000000000000000
                                                                                                SOL                                                                         66.540000000000000                                                                               ETH                                     0.321935600000000
                                                                                                USD                                                                          6.175332152030490                                                                               ETH-PERP                                0.000000000000000
                                                                                                USDT                                                                         0.222565045000000                                                                               ETHW                                    0.115935600000000
                                                                                                XRP                                                                          2.047859000000000                                                                               EXCH-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                             FTT-PERP                               -0.000000000000007
                                                                                                                                                                                                                                                                             LINK-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                             LUNA2                                   5.728902798802000
                                                                                                                                                                                                                                                                             LUNA2_LOCKED                           13.367439861855000
                                                                                                                                                                                                                                                                             MATIC-PERP                              0.000000000000000
                                                                                                                                                                                                                                                                             SAND                                1,865.000000000000000
                                                                                                                                                                                                                                                                             SAND-PERP                               0.000000000000000
                                                                                                                                                                                                                                                                             SOL                                    66.540000000000000
                                                                                                                                                                                                                                                                             SOL-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             UNI-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             USD                                     6.175332152029664
                                                                                                                                                                                                                                                                             USDT                                    0.222565045000000
                                                                                                                                                                                                                                                                             VET-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             XRP                                     2.047859000000000
                                                                                                                                                                                                                                                                             XRP-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                             XTZ-PERP                                0.000000000000000
9320     Name on file                                     FTX Trading Ltd.                      BTC                                                                          0.500108260000000    95435*       Name on file          FTX Trading Ltd.                        BTC                                     0.500108260000000
                                                                                                ETH                                                                         15.003355850000000                                                                               ETH                                    15.003355850000000
19451    Name on file                                     Quoine Pte Ltd                        XRP                                                                     11,648.304024510000000    95526        Name on file          Quoine Pte Ltd                          XRP                                11,648.304024510000000
51102    Name on file                                     FTX EU Ltd.                           AURY                                                                         0.389094330000000    94481*       Name on file          FTX EU Ltd.                             AURY                                    0.389094330000000
                                                                                                BTC                                                                          0.001323640000000                                                                               BTC                                     0.001323640000000
                                                                                                CEL-PERP                                                                     0.000000000000000                                                                               CEL-PERP                                0.000000000000000
                                                                                                COPE                                                                         0.907200000000000                                                                               COPE                                    0.907200000000000
                                                                                                DOGE                                                                    80,369.550000000000000                                                                               DOGE                               80,369.550000000000000
                                                                                                ETH                                                                         10.166429220000000                                                                               ETH                                    10.166429220000000
                                                                                                ETH-PERP                                                                     0.000000000000000                                                                               ETH-PERP                                0.000000000000000
                                                                                                ETHW                                                                        10.013950364566604                                                                               ETHW                                   10.013950364566604
                                                                                                FTM-PERP                                                                     0.000000000000000                                                                               FTM-PERP                                0.000000000000000
                                                                                                SOL-PERP                                                                     0.000000000000000                                                                               SOL-PERP                                0.000000000000000
                                                                                                USD                                                                     44,997.276681583004000                                                                               USD                                44,997.276681583004000
51622    Name on file                                     FTX EU Ltd.                           AURY                                                                         0.389094330000000    94481*       Name on file          FTX EU Ltd.                             AURY                                    0.389094330000000
                                                                                                BTC                                                                          0.001323640000000                                                                               BTC                                     0.001323640000000
                                                                                                CEL-PERP                                                                     0.000000000000000                                                                               CEL-PERP                                0.000000000000000
                                                                                                COPE                                                                         0.907200000000000                                                                               COPE                                    0.907200000000000
                                                                                                DOGE                                                                    80,369.550000000000000                                                                               DOGE                               80,369.550000000000000
                                                                                                ETH                                                                         10.166429220000000                                                                               ETH                                    10.166429220000000
                                                                                                ETH-PERP                                                                     0.000000000000000                                                                               ETH-PERP                                0.000000000000000
                                                                                                ETHW                                                                        10.013950364566604                                                                               ETHW                                   10.013950364566604
                                                                                                FTM-PERP                                                                     0.000000000000000                                                                               FTM-PERP                                0.000000000000000
                                                                                                SOL-PERP                                                                     0.000000000000000                                                                               SOL-PERP                                0.000000000000000
                                                                                                USD                                                                     44,997.276681583004000                                                                               USD                                44,997.276681583004000
40602    Name on file                                     FTX EU Ltd.                           BUSD                                                                     5,000.000000000000000    55779*       Name on file          FTX EU Ltd.                             BUSD                                5,000.000000000000000
                                                                                                EUR                                                                      5,221.610000000000000                                                                               EUR                                 5,221.610000000000000
                                                                                                TRX                                                                          0.000000000000000                                                                               TRX                                     0.000000000000000
                                                                                                USDC                                                                     5,595.000000000000000                                                                               USDC                                5,595.000000000000000
40604    Name on file                                     FTX Trading Ltd.                      BUSD                                                                     5,000.000000000000000    55779*       Name on file          FTX EU Ltd.                             BUSD                                5,000.000000000000000
                                                                                                EUR                                                                      5,221.610000000000000                                                                               EUR                                 5,221.610000000000000
                                                                                                TRX                                                                          0.000000000000000                                                                               TRX                                     0.000000000000000
                                                                                                USDC                                                                     5,595.000000000000000                                                                               USDC                                5,595.000000000000000
55766    Name on file                                     FTX EU Ltd.                           BUSD                                                                     5,000.000000000000000    55779*       Name on file          FTX EU Ltd.                             BUSD                                5,000.000000000000000
                                                                                                EUR                                                                      5,221.610000000000000                                                                               EUR                                 5,221.610000000000000
                                                                                                TRX                                                                          0.000000000000000                                                                               TRX                                     0.000000000000000
                                                                                                USDC                                                                     5,595.000000000000000                                                                               USDC                                5,595.000000000000000
70685    Name on file                                     FTX Trading Ltd.                      AAVE                                                                         0.000000004591676    94891*       Name on file          FTX Trading Ltd.                        AAVE                                    0.000000004591676
                                                                                                AAVE-PERP                                                                    0.000000000000028                                                                               AAVE-PERP                               0.000000000000028
                                                                                                ALPHA                                                                        0.000000003875812                                                                               ALPHA                                   0.000000003875812
                                                                                                ALPHA-PERP                                                                   0.000000000000000                                                                               ALPHA-PERP                              0.000000000000000
                                                                                                ASD                                                                          0.000000011737025                                                                               ASD                                     0.000000011737025
                                                                                                ASD-PERP                                                                     0.000000000000454                                                                               ASD-PERP                                0.000000000000454
                                                                                                BIT-PERP                                                                     0.000000000000000                                                                               BIT-PERP                                0.000000000000000
                                                                                                BNB                                                                          0.031959137923140                                                                               BNB                                     0.031959137923140
                                                                                                BTC                                                                          1.018650847000000                                                                               BTC                                     1.018650847000000
                                                                                                BTC-PERP                                                                     0.000000000000000                                                                               BTC-PERP                                0.000000000000000
                                                                                                CRO                                                                     21,730.108650000000000                                                                               CRO                                21,730.108650000000000
                                                                                                DAI                                                                         32.325847500000000                                                                               DAI                                    32.325847500000000
                                                                                                EDEN                                                                     4,000.020000000000000                                                                               EDEN                                4,000.020000000000000

65362*: Surviving Claim was ordered modified on the Debtors· Twenty-Sixth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
95435*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Thirteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
94481*: Surviving Claim is pending modification on the Debtors· Seventy-Third (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
55779*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Sixteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
94891*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Thirteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
                                                                Case 22-11068-JTD                                                                        Doc 25686-2                                                Filed 09/25/24                         Page 13 of 19
                                                                                    Claims to be Disallowed                                                                                                                                                Surviving Claims

 Claim                                                                                                                                                                                             Claim
                              Name                                        Debtor                                Tickers                                      Ticker Quantity                                              Name                    Debtor                        Tickers   Ticker Quantity
Number                                                                                                                                                                                            Number
                                                                                              ETH                                                                            4.367888190654705                                                                   ETH                                      4.367888190654705
                                                                                              ETH-PERP                                                                       0.000000000000014                                                                   ETH-PERP                                 0.000000000000014
                                                                                              ETHW                                                                           5.397424960654705                                                                   ETHW                                     5.397424960654705
                                                                                              FIDA                                                                           0.004000000000000                                                                   FIDA                                     0.004000000000000
                                                                                              FTM                                                                        1,016.005080000000000                                                                   FTM                                  1,016.005080000000000
                                                                                              FTT                                                                        1,304.746086560970500                                                                   FTT                                  1,304.746086560970500
                                                                                              GME-20210326                                                                   0.000000000000000                                                                   GME-20210326                             0.000000000000000
                                                                                              GMT                                                                            0.002500000000000                                                                   GMT                                      0.002500000000000
                                                                                              GST                                                                            0.001500000000000                                                                   GST                                      0.001500000000000
                                                                                              KNC-PERP                                                                       0.000000000000000                                                                   KNC-PERP                                 0.000000000000000
                                                                                              LUNA2                                                                         22.418676680000000                                                                   LUNA2                                   22.418676680000000
                                                                                              LUNA2_LOCKED                                                                  52.310245580000000                                                                   LUNA2_LOCKED                            52.310245580000000
                                                                                              LUNC-PERP                                                                      0.000000000000000                                                                   LUNC-PERP                                0.000000000000000
                                                                                              MAPS                                                                         600.003000000000000                                                                   MAPS                                   600.003000000000000
                                                                                              MATIC                                                                      2,700.096150000000000                                                                   MATIC                                2,700.096150000000000
                                                                                              MER                                                                        4,000.000000000000000                                                                   MER                                  4,000.000000000000000
                                                                                              OXY                                                                        2,000.002650000000000                                                                   OXY                                  2,000.002650000000000
                                                                                              OXY-PERP                                                                       0.000000000003637                                                                   OXY-PERP                                 0.000000000003637
                                                                                              RAY                                                                           96.231731970000000                                                                   RAY                                     96.231731970000000
                                                                                              SLP                                                                            0.839450000000000                                                                   SLP                                      0.839450000000000
                                                                                              SOL                                                                          326.925274540000000                                                                   SOL                                    326.925274540000000
                                                                                              SOL-PERP                                                                       0.000000000000000                                                                   SOL-PERP                                 0.000000000000000
                                                                                              SRM                                                                          196.784703360000000                                                                   SRM                                    196.784703360000000
                                                                                              SRM_LOCKED                                                                   120.256226640000000                                                                   SRM_LOCKED                             120.256226640000000
                                                                                              SXP-PERP                                                                       0.000000000005456                                                                   SXP-PERP                                 0.000000000005456
                                                                                              TRX                                                                            0.000116000000000                                                                   TRX                                      0.000116000000000
                                                                                              USD                                                                       80,038.218057955050000                                                                   USD                                 80,038.218057955050000
                                                                                              USDT                                                                      59,823.391408825880000                                                                   USDT                                59,823.391408825880000
                                                                                              USTC                                                                       3,173.472040000000000                                                                   USTC                                 3,173.472040000000000
                                                                                              USTC-PERP                                                                      0.000000000000000                                                                   USTC-PERP                                0.000000000000000
                                                                                              WAVES-PERP                                                                     0.000000000000000                                                                   WAVES-PERP                               0.000000000000000
                                                                                              XPLA                                                                           0.106050000000000                                                                   XPLA                                     0.106050000000000
20155    Name on file                                    Quoine Pte Ltd                       CHI                                                                           25.000000000000000 95459*      Name on file          Quoine Pte Ltd                  CHI                                     25.000000000000000
                                                                                              FTT                                                                            0.942862800000000                                                                   FTT                                      0.942862800000000
                                                                                              SGD                                                                            2.448690000000000                                                                   SGD                                      2.448690000000000
                                                                                              USD                                                                        6,740.800660000000000                                                                   USD                                  6,740.800660000000000
92095    Name on file                                    FTX Trading Ltd.                     POC Other Crypto Assertion: -                                                  0.000000000000000 92343       Name on file          FTX Trading Ltd.                AURY                                     0.999400000000000
                                                                                              AURY                                                                           0.999400000000000                                                                   BAO                                      0.800000000000000
                                                                                              BAO                                                                            0.800000000000000                                                                   BTC                                      0.172830003044080
                                                                                              BTC                                                                            0.172830003044080                                                                   DODO                                     0.057480000000000
                                                                                              DODO                                                                           0.057480000000000                                                                   LRC                                      0.900000000000000
                                                                                              LRC                                                                            0.900000000000000                                                                   LTC                                      0.013881735535155
                                                                                              LTC                                                                            0.013881735535155                                                                   REEF                                     8.836000000000000
                                                                                              REEF                                                                           8.836000000000000                                                                   SHIB                                   180.000000000000000
                                                                                              SHIB                                                                         180.000000000000000                                                                   USD                                     14.554074386081421
                                                                                              USD                                                                           14.554074386081421
29252    Name on file                                    FTX Trading Ltd.                     BICO                                                                         512.002775000000000 41848       Name on file          FTX Trading Ltd.                BICO                                   512.002775000000000
                                                                                              FTT                                                                          161.910430000000000                                                                   ETH                                      0.000000005000000
                                                                                              IMX                                                                        6,500.046645000000000                                                                   FTT                                    161.910430001774900
                                                                                              USD                                                                          302.310000000000000                                                                   HKD                                      0.232338440000000
                                                                                              USDT                                                                         192.330000000000000                                                                   IMX                                  6,500.046645000000000
                                                                                                                                                                                                                                                                 SLND                                     0.041377000000000
                                                                                                                                                                                                                                                                 SRM                                      2.052537230000000
                                                                                                                                                                                                                                                                 SRM_LOCKED                               0.035145910000000
                                                                                                                                                                                                                                                                 TRX                                      0.000043000000000
                                                                                                                                                                                                                                                                 USD                                    302.305748264773570
                                                                                                                                                                                                                                                                 USDT                                   192.334832874500420
54146    Name on file                                    FTX Trading Ltd.                     BNB                                                                           33.300994180000000 55300*      Name on file          FTX Trading Ltd.                BNB                                     33.300994180000000
                                                                                              LTC                                                                            7.054962870000000                                                                   LTC                                      7.054962870000000
                                                                                              XRP                                                                        1,363.696229560000000                                                                   XRP                                  1,363.696229560000000
7147     Name on file                                    FTX Trading Ltd.                     BCH                                                                            0.013156400000000 34685       Name on file          FTX Trading Ltd.                BCH                                      0.013156470000000
                                                                                              BNT                                                                           28.835599475344400                                                                   BNT                                     28.835599470000000
                                                                                              BTC                                                                            0.154944840000000                                                                   BTC                                      0.154944840000000
                                                                                              FTT                                                                            3.524696940000000                                                                   DOT                                      0.045020030000000
                                                                                              USD                                                                        1,025.200967056148000                                                                   FTT                                      3.524696940000000
                                                                                                                                                                                                                                                                 IMX                                      0.038211670000000
                                                                                                                                                                                                                                                                 USD                                  1,025.200000000000000
40535    Name on file                                    FTX Trading Ltd.                     BNB                                                                            1.760079390000000 93364*      Name on file          FTX Trading Ltd.                BNB                                      3.520158780000000
                                                                                              BTC                                                                            0.032577929072338                                                                   BTC                                      0.065155858144677
                                                                                              CHZ                                                                        4,100.000000000000000                                                                   CHZ                                  8,200.000000000000000
                                                                                              ETH                                                                            1.413926832900000                                                                   ETH                                      2.827853665800000
                                                                                              ETHW                                                                           1.413926832900000                                                                   ETHW                                     2.827853665800000
                                                                                              EUR                                                                            1.668441160066058                                                                   EUR                                      3.336882320132108
                                                                                              FTM                                                                           53.000000000000000                                                                   FTM                                    106.000000000000000
                                                                                              FTT                                                                            9.498376070000000                                                                   FTT                                     18.996752140000000
                                                                                              GRT                                                                        1,453.000000000000000                                                                   GRT                                  2,906.000000000000000
                                                                                              LINK                                                                                                                                                               LINK                                   106.322242090000000
                                                                                              SNX                                                                                                                                                                SNX                                     86.263198400000000
                                                                                              UBXT                                                                       3,211.000000000000000                                                                   UBXT                                 6,422.000000000000000
                                                                                              USD                                                                            1.944700361567099                                                                   USD                                      3.889400723134189
91884    Name on file                                    FTX Trading Ltd.                     USDC                                                                       5,402.216172740000000 92036*      Name on file          FTX Trading Ltd.                USDC                                 5,402.216172740000000
40430    Name on file                                    FTX Trading Ltd.                     EUR                                                                        3,663.800000000000000 54039*      Name on file          FTX Trading Ltd.                EUR                                  3,663.800000000000000
                                                                                                                                                                                                                                                                 SUN                                     12.530233090000000
48491    Name on file                                    Quoine Pte Ltd                       BTC                                                                            0.098535430000000 95273*      Name on file          Quoine Pte Ltd                  BTC                                      0.098535430000000
                                                                                              ETHW                                                                          78.992290900000000                                                                   ETHW                                    78.992290900000000
                                                                                              HKD                                                                            1.329500000000000                                                                   HKD                                      2.659000000000000
                                                                                              JPY                                                                           12.030140000000000                                                                   JPY                                     12.030140000000000
                                                                                              LINK                                                                           0.000073310000000                                                                   LINK                                     0.000073310000000
                                                                                              QASH                                                                         591.317336530000000                                                                   QASH                                   591.317336530000000
                                                                                              SGD                                                                            0.136000000000000                                                                   SGD                                      0.136000000000000
                                                                                              USD                                                                       14,376.460000000000000                                                                   USD                                 14,376.460000000000000
                                                                                              USDC                                                                           0.000000410000000                                                                   USDC                                     0.000000410000000
87300    Name on file                                    FTX Trading Ltd.                     ALICE-PERP                                                                    -0.000000000000113 94312       Name on file          FTX Trading Ltd.                ALICE-PERP                              -0.000000000000113
                                                                                              APE-PERP                                                                      -0.000000000000227                                                                   APE-PERP                                -0.000000000000227
                                                                                              AVAX-PERP                                                                      0.000000000000000                                                                   AVAX-PERP                                0.000000000000000
                                                                                              BAT-PERP                                                                       0.000000000000000                                                                   BAT-PERP                                 0.000000000000000
                                                                                              BCH-PERP                                                                       0.000000000000000                                                                   BCH-PERP                                 0.000000000000000
                                                                                              BNB-PERP                                                                       0.000000000000000                                                                   BNB-PERP                                 0.000000000000000
                                                                                              BOBA-PERP                                                                      0.000000000000000                                                                   BOBA-PERP                                0.000000000000000
                                                                                              CHZ-PERP                                                                       0.000000000000000                                                                   CHZ-PERP                                 0.000000000000000
                                                                                              CONV-PERP                                                                      0.000000000000000                                                                   CONV-PERP                                0.000000000000000
                                                                                              EOS-PERP                                                                       0.000000000000000                                                                   EOS-PERP                                 0.000000000000000
                                                                                              FTM-PERP                                                                       0.000000000000000                                                                   FTM-PERP                                 0.000000000000000
                                                                                              FTT-PERP                                                                       0.000000000000000                                                                   FTT-PERP                                 0.000000000000000
                                                                                              GMT-PERP                                                                       0.000000000000000                                                                   GMT-PERP                                 0.000000000000000
                                                                                              ICX-PERP                                                                       0.000000000000000                                                                   ICX-PERP                                 0.000000000000000
                                                                                              KAVA-PERP                                                                      0.000000000000000                                                                   KAVA-PERP                                0.000000000000000
                                                                                              LINA-PERP                                                                      0.000000000000000                                                                   LINA-PERP                                0.000000000000000
                                                                                              LOOKS-PERP                                                                     0.000000000000000                                                                   LOOKS-PERP                               0.000000000000000
                                                                                              LUNC-PERP                                                                     -0.000000000000014                                                                   LUNC-PERP                               -0.000000000000014
                                                                                              MATIC-PERP                                                                     0.000000000000000                                                                   MATIC-PERP                               0.000000000000000
                                                                                              PEOPLE-PERP                                                                    0.000000000000000                                                                   PEOPLE-PERP                              0.000000000000000
                                                                                              REEF-PERP                                                                      0.000000000000000                                                                   REEF-PERP                                0.000000000000000
                                                                                              SNX-PERP                                                                       0.000000000000000                                                                   SNX-PERP                                 0.000000000000000
                                                                                              SRM-PERP                                                                       0.000000000000000                                                                   SRM-PERP                                 0.000000000000000
                                                                                              USD                                                                            0.109057227505567                                                                   USD                                      0.109057227505567
                                                                                              USDT                                                                       3,878.803959370000000                                                                   USDT                                 1,939.403959370000000
                                                                                              VET-PERP                                                                       0.000000000000000                                                                   VET-PERP                                 0.000000000000000
                                                                                              WAVES-PERP                                                                     0.000000000000000                                                                   WAVES-PERP                               0.000000000000000
                                                                                              YFII-PERP                                                                      0.000000000000001                                                                   YFII-PERP                                0.000000000000001
                                                                                              YFI-PERP                                                                       0.000000000000000                                                                   YFI-PERP                                 0.000000000000000
                                                                                              ZIL-PERP                                                                       0.000000000000000                                                                   ZIL-PERP                                 0.000000000000000
91768    Name on file                                    FTX Trading Ltd.                     BTC                                                                            0.221154020000000 91769       Name on file          FTX Trading Ltd.                BTC                                      0.221154025186026
                                                                                              ETH                                                                            0.250098040000000                                                                   ETH                                      0.250098050000000
                                                                                              ETHW                                                                           0.434548490000000                                                                   ETHW                                     0.434548490000000
                                                                                              STETH                                                                          0.750313190000000                                                                   EUR                                      0.000000000000000
                                                                                              USDT                                                                           0.000000710000000                                                                   STETH                                    0.750313199934412
                                                                                                                                                                                                                                                                 USD                                      0.000000000000000
39342    Name on file                                    FTX EU Ltd.                          FTM                                                                            0.948320000000000 68374*      Name on file          FTX EU Ltd.                     FTM                                      0.948320000000000
                                                                                              FTT                                                                            9.600000000000000                                                                   FTT                                      9.600000000000000
                                                                                              RAY                                                                            0.988695000000000                                                                   RAY                                      0.988695000000000
                                                                                              TRX                                                                          170.000000000000000                                                                   TRX                                    170.000000000000000
                                                                                              USD                                                                            0.257905614670612                                                                   USD                                      0.257905614670612
                                                                                              USDT                                                                      13,097.000000000000000                                                                   USDT                                     0.000000000000000
33216    Name on file                                    FTX Trading Ltd.                     USDT                                                                           1.070450160000000 35972*      Name on file          FTX Trading Ltd.                USDT                                     1.070450160000000
                                                                                              WRX                                                                       41,621.341927480000000                                                                   WRX                                 41,621.341927480000000
                                                                                              XRP                                                                            2.000000000000000                                                                   XRP                                      2.000000000000000
56643    Name on file                                    FTX Trading Ltd.                     AAVE                                                                           2.000000000000000 75286       Name on file          FTX Trading Ltd.                1INCH-PERP                               0.000000000000000
                                                                                              BADGER                                                                        20.000000000000000                                                                   AAVE                                     2.000000000000000
                                                                                              DOGE                                                                       1,250.209680750000000                                                                   AAVE-PERP                                0.000000000000000
                                                                                              ETH                                                                            0.103900000000000                                                                   ADA-PERP                                 0.000000000000000
                                                                                              FTM                                                                        1,416.535603500000000                                                                   ALGO-PERP                                0.000000000000000
                                                                                              GRT                                                                          199.963900000000000                                                                   ALICE-PERP                               0.000000000000000
                                                                                              KIN                                                                    6,000,000.000000000000000                                                                   ALPHA-PERP                               0.000000000000000
                                                                                              LTC                                                                            8.989104080000000                                                                   AR-PERP                                  0.000000000000000
                                                                                              MATIC                                                                      1,449.034325000000000                                                                   ASD-PERP                                 0.000000000000000
                                                                                              RAY                                                                          277.886285000000000                                                                   ATLAS-PERP                               0.000000000000000
                                                                                              SOL                                                                           60.362095000000000                                                                   ATOM-PERP                                0.000000000000000
                                                                                              STMX                                                                       9,493.998375000000000                                                                   AVAX-PERP                                0.000000000000000
                                                                                              UNI                                                                           31.180289400000000                                                                   AXS-PERP                                 0.000000000000000
                                                                                              USD                                                                         -642.080000000000000                                                                   BADGER                                  20.000000000000000
                                                                                                                                                                                                                                                                 BADGER-PERP                              0.000000000000000
                                                                                                                                                                                                                                                                 BAL-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 BAND-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                 BAO-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 BCH-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 BNB-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 BTC-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 C98-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 CAKE-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                 CHR-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 CHZ-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 CLV-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 COMP-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                 CONV-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                 CRV-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 DODO-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                 DOGE                                 1,250.209680750000000
                                                                                                                                                                                                                                                                 DOGE-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                 DOT-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 DYDX-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                 EGLD-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                 ENJ-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 ENS-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 EOS-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 ETC-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                 ETH                                      0.103900000000000

95459*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Thirteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
55300*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Sixteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
93364*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Fourteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
92036*: Surviving Claim included as a claim to be modified subject to the Debtors· One Hundredth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
54039*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Sixteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
95273*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Fourteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
68374*: Surviving Claim is pending modification on the Debtors· Forty-Ninth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
35972*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Second (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
                                                                 Case 22-11068-JTD                                                                        Doc 25686-2                                                 Filed 09/25/24                         Page 14 of 19
                                                                                     Claims to be Disallowed                                                                                                                                                 Surviving Claims

 Claim                                                                                                                                                                                               Claim
                              Name                                         Debtor                                Tickers                                      Ticker Quantity                                               Name                    Debtor                           Tickers   Ticker Quantity
Number                                                                                                                                                                                              Number
                                                                                                                                                                                                                                                                   ETH-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   ETHW                                        0.103900000000000
                                                                                                                                                                                                                                                                   FLM-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   FTM                                     1,416.535603500000000
                                                                                                                                                                                                                                                                   FTM-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   FTT                                        45.888045675000000
                                                                                                                                                                                                                                                                   FTT-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   GRT                                       199.963900000000000
                                                                                                                                                                                                                                                                   GRT-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   HOT-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   ICP-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   IOTA-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   KIN                                 6,000,000.000000000000000
                                                                                                                                                                                                                                                                   KIN-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   KNC-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   KSM-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   LINA-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   LINK-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   LRC-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   LTC                                         8.989104080000000
                                                                                                                                                                                                                                                                   LTC-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   LUNC-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   MAPS-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   MATIC                                   1,449.034325000000000
                                                                                                                                                                                                                                                                   MATIC-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   MEDIA-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   MNGO-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   NEAR-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   OMG-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   OXY-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   POLIS-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   PROM-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   PUNDIX-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                   QTUM-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   RAMP-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   RAY                                       277.886285000000000
                                                                                                                                                                                                                                                                   RAY-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   REEF-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   REN-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   RSR-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   RUNE-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   SAND-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   SHIB-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   SKL-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   SLP-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   SNX-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   SOL                                        60.362095000000000
                                                                                                                                                                                                                                                                   SOL-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   SPELL-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   SRM-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   STEP-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   STMX                                    9,493.998375000000000
                                                                                                                                                                                                                                                                   SUSHI-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   SXP-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   THETA-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   TOMO-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   TRX-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   UNI                                        31.180289400000000
                                                                                                                                                                                                                                                                   USD                                      -642.075858210932600
                                                                                                                                                                                                                                                                   USDT                                        0.000000005326420
                                                                                                                                                                                                                                                                   WAVES-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   XEM-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   XLM-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   XRP-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   XTZ-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   ZEC-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   ZIL-PERP                                    0.000000000000000
                                                                                                                                                                                                                                                                   ZRX-PERP                                    0.000000000000000
48092    Name on file                                     FTX Trading Ltd.                     BTC                                                                               0.064578930993817 84515     Name on file          FTX Trading Ltd.                BTC                                         0.064578930993817
                                                                                               CRV                                                                              32.000000000000000                                                                 CRV                                        32.000000000000000
                                                                                               DAI                                                                               0.000000003562880                                                                 DAI                                         0.000000003562880
                                                                                               DOT                                                                                                                                                                 DOT                                         0.000000000000000
                                                                                               ETH                                                                                                                                                                 ETH                                         0.000000000000000
                                                                                               ETHW                                                                           1.866936958092776                                                                    ETHW                                        1.866936958092776
                                                                                               FTT                                                                            4.378748185847497                                                                    FTT                                         4.378748185847497
                                                                                               LTC                                                                            0.000000006086988                                                                    LTC                                         0.000000006086988
                                                                                               LUNA2                                                                          6.852870779000000                                                                    LUNA2                                       6.852870779000000
                                                                                               LUNA2_LOCKED                                                                  15.990031820000000                                                                    LUNA2_LOCKED                               15.990031820000000
                                                                                               LUNC                                                                   1,492,227.040000000000000                                                                    LUNC                                1,492,227.040000000000000
                                                                                               MATIC                                                                         15.023816946385900                                                                    MATIC                                      15.023816946385900
                                                                                               SOL                                                                                                                                                                 SOL                                         0.000000000000000
                                                                                               TRX                                                                            0.000000000594700                                                                    TRX                                         0.000000000594700
                                                                                               USD                                                                        1,806.472797335459000                                                                    USD                                     1,806.472797335459000
                                                                                               USDT                                                                         573.710000000000000                                                                    USDT                                      573.710000000000000
95174    Name on file                                     FTX EU Ltd.                          BNB                                                                            0.000000006473377     95292    Name on file          FTX EU Ltd.                     BNB                                         0.000000006473377
                                                                                               EUR                                                                        7,684.760270920000000                                                                    EUR                                     7,684.760270920000000
                                                                                               USDT                                                                           0.420737413939135                                                                    USDT                                        0.420737413939135
58492    Name on file                                     FTX EU Ltd.                          BNB                                                                            0.000000009356702     58514    Name on file          FTX Trading Ltd.                BNB                                         0.000000009356702
                                                                                               BTC                                                                            0.000206608340000                                                                    BTC                                         0.000206608340000
                                                                                               CONV                                                                      62,982.753502260000000                                                                    CONV                                   62,982.753502260000000
                                                                                               ETH                                                                            0.002914108757574                                                                    ETH                                         0.002914108757574
                                                                                               FTT                                                                            0.068015587492365                                                                    FTT                                         0.068015587492365
                                                                                               FTT-PERP                                                                       0.000000000000909                                                                    FTT-PERP                                    0.000000000000909
                                                                                               GRTBULL                                                                   11,247.569447200000000                                                                    GRTBULL                                 5,623.784723600000000
                                                                                               KAVA-PERP                                                                      0.000000000000000                                                                    KAVA-PERP                                   0.000000000000000
                                                                                               LINK                                                                           0.000000005063031                                                                    LINK                                        0.000000005063031
                                                                                               SNX-PERP                                                                       0.000000000000000                                                                    SNX-PERP                                    0.000000000000000
                                                                                               THETABULL                                                                    471.734591881000000                                                                    THETABULL                                 235.867295941000000
                                                                                               TRX                                                                            0.000017000953346                                                                    TRX                                         0.000017000953346
                                                                                               TRX-PERP                                                                       0.000000000000000                                                                    TRX-PERP                                    0.000000000000000
                                                                                               USD                                                                            1.979737522337218                                                                    USD                                         1.979737522337218
                                                                                               USDT                                                                       4,943.758610616303500                                                                    USDT                                    4,943.758610616303500
                                                                                               VET-PERP                                                                       0.000000000000000                                                                    VET-PERP                                    0.000000000000000
                                                                                               WAVES-PERP                                                                     0.000000000000000                                                                    WAVES-PERP                                  0.000000000000000
                                                                                               YFI                                                                            0.000000009762873                                                                    YFI                                         0.000000009762873
                                                                                               ZRX-PERP                                                                       0.000000000000000                                                                    ZRX-PERP                                    0.000000000000000
89167    Name on file                                     Quoine Pte Ltd                       BTC                                                                            0.548915060000000     94555    Name on file          Quoine Pte Ltd                  BTC                                         0.548915060000000
                                                                                               CEL                                                                        3,057.000000000000000                                                                    CEL                                     3,057.000000000000000
48519    Name on file                                     Quoine Pte Ltd                       BTC                                                                            0.548915060000000     94555    Name on file          Quoine Pte Ltd                  BTC                                         0.548915060000000
                                                                                               CEL                                                                        3,057.000000000000000                                                                    CEL                                     3,057.000000000000000
46221    Name on file                                     FTX EU Ltd.                          1INCH-PERP                                                                     0.000000000000000     92801*   Name on file          FTX EU Ltd.                     1INCH-PERP                                  0.000000000000000
                                                                                               AAVE-PERP                                                                      0.000000000000000                                                                    AAVE-PERP                                   0.000000000000000
                                                                                               ADA-PERP                                                                       0.000000000000000                                                                    ADA-PERP                                    0.000000000000000
                                                                                               ALGO-PERP                                                                      0.000000000000000                                                                    ALGO-PERP                                   0.000000000000000
                                                                                               ALICE-PERP                                                                     0.000000000000000                                                                    ALICE-PERP                                  0.000000000000000
                                                                                               APE-PERP                                                                       0.000000000000000                                                                    APE-PERP                                    0.000000000000000
                                                                                               AR-PERP                                                                        0.000000000000000                                                                    AR-PERP                                     0.000000000000000
                                                                                               ATOM-PERP                                                                     -0.000000000000056                                                                    ATOM-PERP                                  -0.000000000000056
                                                                                               AVAX-PERP                                                                      0.000000000000000                                                                    AVAX-PERP                                   0.000000000000000
                                                                                               AXS-PERP                                                                      -0.000000000000071                                                                    AXS-PERP                                   -0.000000000000071
                                                                                               BNB-PERP                                                                       0.000000000000000                                                                    BNB-PERP                                    0.000000000000000
                                                                                               BTC                                                                            0.430000000000000                                                                    BTC                                         0.430000000000000
                                                                                               BTC-MOVE-0407                                                                  0.000000000000000                                                                    BTC-MOVE-0407                               0.000000000000000
                                                                                               BTC-MOVE-0425                                                                  0.000000000000000                                                                    BTC-MOVE-0425                               0.000000000000000
                                                                                               BTC-MOVE-0523                                                                  0.000000000000000                                                                    BTC-MOVE-0523                               0.000000000000000
                                                                                               BTC-PERP                                                                       0.000000000000000                                                                    BTC-PERP                                    0.000000000000000
                                                                                               CHR-PERP                                                                       0.000000000000000                                                                    CHR-PERP                                    0.000000000000000
                                                                                               CHZ-PERP                                                                       0.000000000000000                                                                    CHZ-PERP                                    0.000000000000000
                                                                                               COMP-PERP                                                                      0.000000000000000                                                                    COMP-PERP                                   0.000000000000000
                                                                                               CRV-PERP                                                                       0.000000000000000                                                                    CRV-PERP                                    0.000000000000000
                                                                                               DASH-PERP                                                                      0.000000000000000                                                                    DASH-PERP                                   0.000000000000000
                                                                                               DENT-PERP                                                                      0.000000000000000                                                                    DENT-PERP                                   0.000000000000000
                                                                                               DOGE-PERP                                                                      0.000000000000000                                                                    DOGE-PERP                                   0.000000000000000
                                                                                               DOT-PERP                                                                       0.000000000000000                                                                    DOT-PERP                                    0.000000000000000
                                                                                               ENS-PERP                                                                       0.000000000000000                                                                    ENS-PERP                                    0.000000000000000
                                                                                               ETC-PERP                                                                       0.000000000000000                                                                    ETC-PERP                                    0.000000000000000
                                                                                               ETH-PERP                                                                      -0.000000000000002                                                                    ETH-PERP                                   -0.000000000000002
                                                                                               EUR                                                                       14,000.000000000000000                                                                    EUR                                     2,188.090499940000000
                                                                                               FTM-PERP                                                                       0.000000000000000                                                                    FTM-PERP                                    0.000000000000000
                                                                                               FTT                                                                            0.000000008901595                                                                    FTT                                         0.000000008901595
                                                                                               FTT-PERP                                                                       0.000000000000000                                                                    FTT-PERP                                    0.000000000000000
                                                                                               GALA-PERP                                                                      0.000000000000000                                                                    GALA-PERP                                   0.000000000000000
                                                                                               GMT-PERP                                                                       0.000000000000000                                                                    GMT-PERP                                    0.000000000000000
                                                                                               GRT-PERP                                                                       0.000000000000000                                                                    GRT-PERP                                    0.000000000000000
                                                                                               HBAR-PERP                                                                      0.000000000000000                                                                    HBAR-PERP                                   0.000000000000000
                                                                                               KAVA-PERP                                                                      0.000000000000000                                                                    KAVA-PERP                                   0.000000000000000
                                                                                               KSM-PERP                                                                       0.000000000000000                                                                    KSM-PERP                                    0.000000000000000
                                                                                               LINK-PERP                                                                      0.000000000000000                                                                    LINK-PERP                                   0.000000000000000
                                                                                               LRC-PERP                                                                       0.000000000000000                                                                    LRC-PERP                                    0.000000000000000
                                                                                               LTC                                                                            0.000000008014333                                                                    LTC                                         0.000000008014333
                                                                                               LTC-PERP                                                                       0.000000000000000                                                                    LTC-PERP                                    0.000000000000000
                                                                                               LUNA2                                                                          0.166814598400000                                                                    LUNA2                                       0.166814598400000
                                                                                               LUNA2_LOCKED                                                                   0.389234062800000                                                                    LUNA2_LOCKED                                0.389234062800000
                                                                                               LUNC-PERP                                                                      0.000000000000000                                                                    LUNC-PERP                                   0.000000000000000
                                                                                               MANA-PERP                                                                      0.000000000000000                                                                    MANA-PERP                                   0.000000000000000
                                                                                               MATIC-PERP                                                                     0.000000000000000                                                                    MATIC-PERP                                  0.000000000000000
                                                                                               MKR-PERP                                                                       0.000000000000000                                                                    MKR-PERP                                    0.000000000000000
                                                                                               NEAR-PERP                                                                     -0.000000000000056                                                                    NEAR-PERP                                  -0.000000000000056
                                                                                               OMG-PERP                                                                       0.000000000000000                                                                    OMG-PERP                                    0.000000000000000
                                                                                               ONE-PERP                                                                       0.000000000000000                                                                    ONE-PERP                                    0.000000000000000
                                                                                               RAY                                                                            0.000000008600000                                                                    RAY                                         0.000000008600000
                                                                                               REN-PERP                                                                       0.000000000000000                                                                    REN-PERP                                    0.000000000000000
                                                                                               ROSE-PERP                                                                      0.000000000000000                                                                    ROSE-PERP                                   0.000000000000000
                                                                                               RSR-PERP                                                                       0.000000000000000                                                                    RSR-PERP                                    0.000000000000000
                                                                                               RUNE                                                                           0.000000001462400                                                                    RUNE                                        0.000000001462400
                                                                                               SAND-PERP                                                                      0.000000000000000                                                                    SAND-PERP                                   0.000000000000000
                                                                                               SOL-PERP                                                                       0.000000000000000                                                                    SOL-PERP                                    0.000000000000000
                                                                                               THETA-PERP                                                                     0.000000000000000                                                                    THETA-PERP                                  0.000000000000000
                                                                                               TLM-PERP                                                                       0.000000000000000                                                                    TLM-PERP                                    0.000000000000000
                                                                                               TULIP-PERP                                                                     0.000000000000000                                                                    TULIP-PERP                                  0.000000000000000
                                                                                               USD                                                                        2,875.000000000000000                                                                    USD                                         0.000000033783575
                                                                                               US DOLLAR (USD)                                                                                                                                                     US DOLLAR (USD)                             0.000000000000000
                                                                                               USDT                                                                             5.697356164600017                                                                  USDT                                        5.697356164600017
                                                                                               USDT-PERP                                                                        0.000000000000000                                                                  USDT-PERP                                   0.000000000000000
                                                                                               VET-PERP                                                                         0.000000000000000                                                                  VET-PERP                                    0.000000000000000
                                                                                               WAVES-PERP                                                                       0.000000000000000                                                                  WAVES-PERP                                  0.000000000000000
                                                                                               XLM-PERP                                                                         0.000000000000000                                                                  XLM-PERP                                    0.000000000000000

92801*: Surviving Claim is pending modification on the Debtors· Forty-Ninth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
                                                                 Case 22-11068-JTD                                                                        Doc 25686-2                                                Filed 09/25/24                       Page 15 of 19
                                                                                     Claims to be Disallowed                                                                                                                                              Surviving Claims

 Claim                                                                                                                                                                                              Claim
                              Name                                       Debtor                                 Tickers                                       Ticker Quantity                                              Name                  Debtor                        Tickers   Ticker Quantity
Number                                                                                                                                                                                             Number
                                                                                               XRP-PERP                                                                       0.000000000000000                                                                 XRP-PERP                                0.000000000000000
70839    Name on file                                     FTX Trading Ltd.                     AVAX-PERP                                                                      0.000000000000000 95165       Name on file          FTX EU Ltd.                   AVAX-PERP                               0.000000000000000
                                                                                               BTC                                                                            0.000000003000000                                                                 BTC                                     0.000000003000000
                                                                                               BTC-PERP                                                                       0.000000000000000                                                                 BTC-PERP                                0.000000000000000
                                                                                               ETH                                                                            0.000270040000000                                                                 ETH                                     0.000270040000000
                                                                                               ETH-PERP                                                                      -0.000000000000003                                                                 ETH-PERP                               -0.000000000000003
                                                                                               ETHW                                                                           0.000270040000000                                                                 ETHW                                    0.000270040000000
                                                                                               FTT                                                                           25.160397430000000                                                                 FTT                                    25.160397430000000
                                                                                               FTT-PERP                                                                       0.000000000000000                                                                 FTT-PERP                                0.000000000000000
                                                                                               SAND-PERP                                                                      0.000000000000000                                                                 SAND-PERP                               0.000000000000000
                                                                                               SOL-PERP                                                                       0.000000000000000                                                                 SOL-PERP                                0.000000000000000
                                                                                               SRM                                                                           23.406475700000000                                                                 SRM                                    23.406475700000000
                                                                                               SRM_LOCKED                                                                    16.719149300000000                                                                 SRM_LOCKED                              0.000000000000000
                                                                                               USD                                                                        9,349.207767590837000                                                                 USD                                 9,349.207767590837000
19082    Name on file                                     FTX Trading Ltd.                     BIT-PERP                                                                       0.000000000000000 95054       Name on file          FTX Trading Ltd.              BIT-PERP                                0.000000000000000
                                                                                               BSV-PERP                                                                       0.000000000000000                                                                 BSV-PERP                                0.000000000000000
                                                                                               BTC-PERP                                                                       0.000000000000000                                                                 BTC-PERP                                0.000000000000000
                                                                                               DYDX-PERP                                                                      0.000000000000000                                                                 DYDX-PERP                               0.000000000000000
                                                                                               ENS-PERP                                                                       0.000000000000000                                                                 ENS-PERP                                0.000000000000000
                                                                                               FTT                                                                            0.006233500000000                                                                 FTT                                     0.006233500000000
                                                                                               FTT-PERP                                                                       0.000000000000000                                                                 FTT-PERP                                0.000000000000000
                                                                                               LUNC-PERP                                                                      0.000000000000000                                                                 LUNC-PERP                               0.000000000000000
                                                                                               PEOPLE-PERP                                                                    0.000000000000000                                                                 PEOPLE-PERP                             0.000000000000000
                                                                                               SOL                                                                            0.009423280000000                                                                 SOL                                     0.009423280000000
                                                                                               SOL-PERP                                                                       0.000000000000000                                                                 SOL-PERP                                0.000000000000000
                                                                                               USD                                                                        2,395.167354417020300                                                                 USD                                 2,395.167354417020300
                                                                                               USDT                                                                           0.009357392525000                                                                 USDT                                    0.009357392525000
                                                                                               USDT-PERP                                                                      0.000000000000000                                                                 USDT-PERP                               0.000000000000000
                                                                                               USTC-PERP                                                                      0.000000000000000                                                                 USTC-PERP                               0.000000000000000
                                                                                               XRP                                                                        3,001.029193000000000                                                                 XRP                                 1,500.529193000000000
17329    Name on file                                     FTX Trading Ltd.                     EUR                                                                        2,960.300000000000000 43207       Name on file          FTX EU Ltd.                   AKRO                                    1.000000000000000
                                                                                                                                                                                                                                                                BAO                                    13.000000000000000
                                                                                                                                                                                                                                                                BTC                                     0.002067780000000
                                                                                                                                                                                                                                                                DENT                                    4.000000000000000
                                                                                                                                                                                                                                                                ETHW                                    1.188723740000000
                                                                                                                                                                                                                                                                EUR                                 2,922.531691296450000
                                                                                                                                                                                                                                                                FIDA                                    1.000000000000000
                                                                                                                                                                                                                                                                HXRO                                    1.000000000000000
                                                                                                                                                                                                                                                                KIN                                    11.000000000000000
                                                                                                                                                                                                                                                                MATIC                                   0.000018690000000
                                                                                                                                                                                                                                                                RSR                                     1.000000000000000
                                                                                                                                                                                                                                                                SOL                                     0.000018860000000
                                                                                                                                                                                                                                                                TRX                                     3.000000000000000
                                                                                                                                                                                                                                                                UBXT                                    2.000000000000000
45642    Name on file                                     FTX Trading Ltd.                     1INCH                                                                      1,154.769337880043800 45655*      Name on file          FTX Trading Ltd.              1INCH                               1,154.769337880043800
                                                                                               AAVE                                                                          15.070072816621380                                                                 AAVE                                   15.070072816621380
                                                                                               ALCX                                                                          30.000000000000000                                                                 ALCX                                   30.000000000000000
                                                                                               AVAX-PERP                                                                      0.000000000000007                                                                 AVAX-PERP                               0.000000000000007
                                                                                               AXS                                                                           60.779356677637950                                                                 AXS                                    60.779356677637950
                                                                                               BAND                                                                                                                                                             BAND                                    0.000000000000000
                                                                                               BCH                                                                                                                                                              BCH                                     0.000000000000000
                                                                                               BNT                                                                                                                                                              BNT                                     0.000000000000000
                                                                                               BTC                                                                                                                                                              BTC                                     0.616520380000000
                                                                                               BTC-PERP                                                                       0.000000000000000                                                                 BTC-PERP                                0.000000000000000
                                                                                               CHZ-PERP                                                                       0.000000000000000                                                                 CHZ-PERP                                0.000000000000000
                                                                                               CREAM                                                                         13.870000000000000                                                                 CREAM                                  13.870000000000000
                                                                                               DENT                                                                     141,200.000000000000000                                                                 DENT                              141,200.000000000000000
                                                                                               DFL                                                                        3,490.000000000000000                                                                 DFL                                 3,490.000000000000000
                                                                                               DMG                                                                        5,172.400000000000000                                                                 DMG                                 5,172.400000000000000
                                                                                               DOT                                                                                                                                                              DOT                                     0.000000000000000
                                                                                               ETH-PERP                                                                       0.000000000000000                                                                 ETH-PERP                                0.000000000000000
                                                                                               FIDA                                                                         217.000000000000000                                                                 FIDA                                  217.000000000000000
                                                                                               FRONT                                                                        826.000000000000000                                                                 FRONT                                 826.000000000000000
                                                                                               FTT                                                                           25.803580220000000                                                                 FTT                                    25.803580220000000
                                                                                               FTT-PERP                                                                       0.000000000000000                                                                 FTT-PERP                                0.000000000000000
                                                                                               GRT                                                                                                                                                              GRT                                     0.000000000000000
                                                                                               HGET                                                                         568.400000000000000                                                                 HGET                                  568.400000000000000
                                                                                               IMX                                                                          250.000000000000000                                                                 IMX                                   250.000000000000000
                                                                                               LINK                                                                                                                                                             LINK                                    0.000000000000000
                                                                                               MOB                                                                           29.002330440000000                                                                 MOB                                    29.002330440000000
                                                                                               MTL                                                                          100.000000000000000                                                                 MTL                                   100.000000000000000
                                                                                               OMG                                                                                                                                                              OMG                                     0.000000000000000
                                                                                               RAY                                                                        2,063.592713503538000                                                                 RAY                                 2,063.592713503538000
                                                                                               SLP                                                                       11,160.000000000000000                                                                 SLP                                11,160.000000000000000
                                                                                               SLP-PERP                                                                       0.000000000000000                                                                 SLP-PERP                                0.000000000000000
                                                                                               SOL                                                                                                                                                              SOL                                     0.000000000000000
                                                                                               SOL-PERP                                                                      -0.000000000000014                                                                 SOL-PERP                               -0.000000000000014
                                                                                               SRM                                                                          202.079201650000000                                                                 SRM                                   202.079201650000000
                                                                                               SRM_LOCKED                                                                     1.847400370000000                                                                 SRM_LOCKED                              1.847400370000000
                                                                                               STMX                                                                      34,520.000000000000000                                                                 STMX                               34,520.000000000000000
                                                                                               TRYB                                                                                                                                                             TRYB                                    0.000000000000000
                                                                                               UBXT                                                                      16,820.000000000000000                                                                 UBXT                               16,820.000000000000000
                                                                                               USD                                                                         -182.974144345065180                                                                 USD                                  -182.974144345065180
                                                                                               USDT                                                                                                                                                             USDT                                    0.000000000000000
                                                                                               XRP                                                                                                                                                              XRP                                     0.000000000000000
                                                                                               ZEC-PERP                                                                       0.000000000000000                                                                 ZEC-PERP                                0.000000000000000
   29398 Name on file                                     FTX Trading Ltd.                     AAVE                                                                           0.466186950000000 79869       Name on file          FTX Trading Ltd.              AAVE                                    0.466186950000000
                                                                                               AKRO                                                                           2.000000000000000                                                                 AKRO                                    2.000000000000000
                                                                                               ATOM                                                                           8.554377680000000                                                                 ALPHA                                   1.001654320000000
                                                                                               BAO                                                                           42.000000000000000                                                                 ATOM                                    8.554377680000000
                                                                                               BTC                                                                            0.131411990000000                                                                 BAO                                    42.000000000000000
                                                                                               DENT                                                                           8.000000000000000                                                                 BTC                                     0.131411990000000
                                                                                               DOGE                                                                         186.663992740000000                                                                 DENT                                    8.000000000000000
                                                                                               ENJ                                                                           12.931796950000000                                                                 DOGE                                  186.663992740000000
                                                                                               ETH                                                                            0.714035180000000                                                                 ENJ                                    12.931796950000000
                                                                                               ETHW                                                                           0.623122330000000                                                                 ETH                                     0.714035180000000
                                                                                               FTM                                                                           23.438258150000000                                                                 ETHW                                    0.623122330000000
                                                                                               FTT                                                                            1.302086530000000                                                                 EUR                                     0.000000003546275
                                                                                               IMX                                                                            4.562321990000000                                                                 FTM                                    23.438258150000000
                                                                                               KIN                                                                           23.000000000000000                                                                 FTT                                     1.302086530000000
                                                                                               LRC                                                                           17.486992630000000                                                                 IMX                                     4.562321990000000
                                                                                               MATIC                                                                         65.426477820000000                                                                 KIN                                    23.000000000000000
                                                                                               NEAR                                                                          16.170972530000000                                                                 LRC                                    17.486992630000000
                                                                                               RAMP                                                                         164.592999400000000                                                                 LUNA2                                   0.001864951792000
                                                                                               RSR                                                                            3.000000000000000                                                                 LUNA2_LOCKED                            0.004351554181000
                                                                                               SAND                                                                          10.867052040000000                                                                 MATIC                                  65.426477820000000
                                                                                               SOL                                                                            1.380874270000000                                                                 MOB                                     1.698303210000000
                                                                                               SRM                                                                            9.068591740000000                                                                 NEAR                                   16.170972530000000
                                                                                               TRX                                                                            4.000000000000000                                                                 RAMP                                  164.592999400000000
                                                                                               UBXT                                                                           8.000000000000000                                                                 RSR                                     3.000000000000000
                                                                                               USDT                                                                         101.600000000000000                                                                 RUNE                                    0.000117400000000
                                                                                               XRP                                                                          149.716807100000000                                                                 SAND                                   10.867052040000000
                                                                                                                                                                                                                                                                SOL                                     1.380874270000000
                                                                                                                                                                                                                                                                SRM                                     9.068591740000000
                                                                                                                                                                                                                                                                TRX                                     4.000000000000000
                                                                                                                                                                                                                                                                UBXT                                    8.000000000000000
                                                                                                                                                                                                                                                                USDT                                  101.600965677147270
                                                                                                                                                                                                                                                                USTC                                    0.263992940000000
                                                                                                                                                                                                                                                                XRP                                   149.716807100000000
7522     Name on file                                     FTX EU Ltd.                          1INCH-PERP                                                                        0.000000000000000 7575*    Name on file          FTX EU Ltd.                   1INCH-PERP                              0.000000000000000
                                                                                               AAVE-PERP                                                                         0.000000000000000                                                              AAVE-PERP                               0.000000000000000
                                                                                               ADA-PERP                                                                          0.000000000000000                                                              ADA-PERP                                0.000000000000000
                                                                                               ALGO-PERP                                                                         0.000000000000000                                                              ALGO-PERP                               0.000000000000000
                                                                                               ALICE-PERP                                                                        0.000000000000000                                                              ALICE-PERP                              0.000000000000000
                                                                                               ALPHA-PERP                                                                        0.000000000000000                                                              ALPHA-PERP                              0.000000000000000
                                                                                               APE-PERP                                                                          0.000000000000000                                                              APE-PERP                                0.000000000000000
                                                                                               APT-PERP                                                                          0.000000000000000                                                              APT-PERP                                0.000000000000000
                                                                                               ATLAS-PERP                                                                        0.000000000000000                                                              ATLAS-PERP                              0.000000000000000
                                                                                               ATOM-PERP                                                                         0.000000000000227                                                              ATOM-PERP                               0.000000000000227
                                                                                               AUDIO-PERP                                                                        0.000000000000000                                                              AUDIO-PERP                              0.000000000000000
                                                                                               AVAX                                                                              0.000000006173402                                                              AVAX                                    0.000000006173402
                                                                                               AVAX-PERP                                                                         0.000000000000056                                                              AVAX-PERP                               0.000000000000056
                                                                                               BAL-PERP                                                                          0.000000000000000                                                              BAL-PERP                                0.000000000000000
                                                                                               BAT-PERP                                                                          0.000000000000000                                                              BAT-PERP                                0.000000000000000
                                                                                               BNB-PERP                                                                          0.000000000000007                                                              BNB-PERP                                0.000000000000007
                                                                                               BOBA-PERP                                                                         0.000000000000000                                                              BOBA-PERP                               0.000000000000000
                                                                                               BTC                                                                               0.000000003500000                                                              BTC                                     0.000000003500000
                                                                                               BTC-PERP                                                                          0.000000000000000                                                              BTC-PERP                                0.000000000000000
                                                                                               CAKE-PERP                                                                         0.000000000000000                                                              CAKE-PERP                               0.000000000000000
                                                                                               CHZ                                                                               5.120400000000000                                                              CHZ                                     5.120400000000000
                                                                                               CHZ-PERP                                                                          0.000000000000000                                                              CHZ-PERP                                0.000000000000000
                                                                                               CREAM-PERP                                                                        0.000000000000000                                                              CREAM-PERP                              0.000000000000000
                                                                                               CRV-PERP                                                                          0.000000000000000                                                              CRV-PERP                                0.000000000000000
                                                                                               DOGE-PERP                                                                         0.000000000000000                                                              DOGE-PERP                               0.000000000000000
                                                                                               DOT-PERP                                                                          0.000000000000000                                                              DOT-PERP                                0.000000000000000
                                                                                               ENJ-PERP                                                                          0.000000000000000                                                              ENJ-PERP                                0.000000000000000
                                                                                               ENS-PERP                                                                          0.000000000000000                                                              ENS-PERP                                0.000000000000000
                                                                                               ETC-PERP                                                                          0.000000000000000                                                              ETC-PERP                                0.000000000000000
                                                                                               ETH                                                                               0.000000003500000                                                              ETH                                     0.000000003500000
                                                                                               ETH-PERP                                                                          0.000000000000000                                                              ETH-PERP                                0.000000000000000
                                                                                               EUR                                                                               0.000000002319005                                                              EUR                                     0.000000002319005
                                                                                               FLM-PERP                                                                          0.000000000000000                                                              FLM-PERP                                0.000000000000000
                                                                                               FTM-PERP                                                                          0.000000000000000                                                              FTM-PERP                                0.000000000000000
                                                                                               FTT                                                                               0.000000000282780                                                              FTT                                     0.000000000282780
                                                                                               FTT-PERP                                                                          0.000000000000113                                                              FTT-PERP                                0.000000000000113
                                                                                               GALA-PERP                                                                         0.000000000000000                                                              GALA-PERP                               0.000000000000000
                                                                                               HBAR-PERP                                                                         0.000000000000000                                                              HBAR-PERP                               0.000000000000000
                                                                                               IMX-PERP                                                                          0.000000000000000                                                              IMX-PERP                                0.000000000000000
                                                                                               KSHIB-PERP                                                                        0.000000000000000                                                              KSHIB-PERP                              0.000000000000000
                                                                                               KSM-PERP                                                                          0.000000000000000                                                              KSM-PERP                                0.000000000000000
                                                                                               LDO-PERP                                                                          0.000000000000000                                                              LDO-PERP                                0.000000000000000
                                                                                               LINA-PERP                                                                         0.000000000000000                                                              LINA-PERP                               0.000000000000000
                                                                                               LINK-PERP                                                                         0.000000000000454                                                              LINK-PERP                               0.000000000000454
                                                                                               LRC-PERP                                                                          0.000000000000000                                                              LRC-PERP                                0.000000000000000
                                                                                               LTC-PERP                                                                         -0.000000000000198                                                              LTC-PERP                               -0.000000000000198
                                                                                               LUNC-PERP                                                                         0.000000000000000                                                              LUNC-PERP                               0.000000000000000
                                                                                               MANA-PERP                                                                         0.000000000000000                                                              MANA-PERP                               0.000000000000000
                                                                                               MATIC                                                                             0.000000010000000                                                              MATIC                                   0.000000010000000
                                                                                               MATIC-PERP                                                                        0.000000000000000                                                              MATIC-PERP                              0.000000000000000
                                                                                               MINA-PERP                                                                         0.000000000000000                                                              MINA-PERP                               0.000000000000000
                                                                                               MNGO-PERP                                                                         0.000000000000000                                                              MNGO-PERP                               0.000000000000000
                                                                                               NEAR-PERP                                                                         0.000000000000000                                                              NEAR-PERP                               0.000000000000000
                                                                                               OMG-PERP                                                                         -0.000000000000454                                                              OMG-PERP                               -0.000000000000454
                                                                                               ONE-PERP                                                                          0.000000000000000                                                              ONE-PERP                                0.000000000000000
                                                                                               OP-PERP                                                                           0.000000000000000                                                              OP-PERP                                 0.000000000000000
                                                                                               POLIS-PERP                                                                        0.000000000000000                                                              POLIS-PERP                              0.000000000000000
                                                                                               RAY                                                                               0.995575000000000                                                              RAY                                     0.995575000000000

45655*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred First (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
7575*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
                                                                Case 22-11068-JTD                                                                        Doc 25686-2                                                   Filed 09/25/24                           Page 16 of 19
                                                                                     Claims to be Disallowed                                                                                                                                                          Surviving Claims

 Claim                                                                                                                                                                                                Claim
                              Name                                      Debtor                                  Tickers                                      Ticker Quantity                                                 Name                  Debtor                                  Tickers               Ticker Quantity
Number                                                                                                                                                                                               Number
                                                                                               RAY-PERP                                                                      0.000000000000000                                                                              RAY-PERP                                             0.000000000000000
                                                                                               ROSE-PERP                                                                     0.000000000000000                                                                              ROSE-PERP                                            0.000000000000000
                                                                                               SAND-PERP                                                                     0.000000000000000                                                                              SAND-PERP                                            0.000000000000000
                                                                                               SCRT-PERP                                                                     0.000000000000000                                                                              SCRT-PERP                                            0.000000000000000
                                                                                               SHIB-PERP                                                                     0.000000000000000                                                                              SHIB-PERP                                            0.000000000000000
                                                                                               SNX-PERP                                                                      0.000000000000000                                                                              SNX-PERP                                             0.000000000000000
                                                                                               SOL                                                                           0.000000005107328                                                                              SOL                                                  0.000000005107328
                                                                                               SOL-PERP                                                                      0.000000000000113                                                                              SOL-PERP                                             0.000000000000113
                                                                                               SPELL-PERP                                                                    0.000000000000000                                                                              SPELL-PERP                                           0.000000000000000
                                                                                               SRM-PERP                                                                      0.000000000000000                                                                              SRM-PERP                                             0.000000000000000
                                                                                               SUSHI-PERP                                                                    0.000000000000000                                                                              SUSHI-PERP                                           0.000000000000000
                                                                                               TOMO-PERP                                                                     0.000000000000000                                                                              TOMO-PERP                                            0.000000000000000
                                                                                               TRX-PERP                                                                      0.000000000000000                                                                              TRX-PERP                                             0.000000000000000
                                                                                               USD                                                                       9,221.220753068466000                                                                              USD                                              9,221.220753068466000
                                                                                               USDT                                                                        198.982000011938780                                                                              USDT                                               198.982000011938780
                                                                                               VET-PERP                                                                      0.000000000000000                                                                              VET-PERP                                             0.000000000000000
                                                                                               XLM-PERP                                                                      0.000000000000000                                                                              XLM-PERP                                             0.000000000000000
                                                                                               YFI-PERP                                                                      0.000000000000000                                                                              YFI-PERP                                             0.000000000000000
91813    Name on file                                    FTX EU Ltd.                           ATOM                                                                         16.262352120000000 91815*         Name on file          FTX EU Ltd.                             ATOM                                                16.262352120000000
                                                                                               BTC                                                                           0.208547410000000                                                                              BTC                                                  0.208547410000000
                                                                                               CRO                                                                         954.551473180000000                                                                              CRO                                                954.551473180000000
                                                                                               DOT                                                                          19.906054890000000                                                                              DOT                                                 19.906054890000000
                                                                                               ETH                                                                           0.018512620000000                                                                              ETH                                                  0.018512620000000
                                                                                               EUR                                                                       6,520.028340460000000                                                                              EUR                                              6,520.028340460000000
                                                                                               FTM                                                                         395.949235570000000                                                                              FTM                                                395.949235570000000
                                                                                               FTT                                                                           6.621573250000000                                                                              FTT                                                  6.621573250000000
                                                                                               GALA                                                                      4,043.975342600000000                                                                              GALA                                             4,043.975342600000000
                                                                                               LINK                                                                         50.721665600000000                                                                              LINK                                                50.721665600000000
                                                                                               MATIC                                                                       610.682097210000000                                                                              MATIC                                              610.682097210000000
                                                                                               SHIB                                                                 15,644,658.044609700000000                                                                              SHIB                                        15,644,658.044609700000000
                                                                                               SOL                                                                          35.868033660000000                                                                              SOL                                                 35.868033660000000
                                                                                               UNI                                                                          72.503739900000000                                                                              UNI                                                 72.503739900000000
24065    Name on file                                    FTX Trading Ltd.                      USD                                                                     110,000.000000000000000 81563          Name on file          FTX Trading Ltd.                        ALT-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            ATOM-PERP                                            0.000000000000000
                                                                                                                                                                                                                                                                            BCH-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            BNB-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            BSV-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            BTC-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            CEL-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            CRO-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            DEFI-PERP                                            0.000000000000000
                                                                                                                                                                                                                                                                            ETC-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            ETH-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            EUR                                             75,287.926862591500000
                                                                                                                                                                                                                                                                            MATIC-PERP                                           0.000000000000000
                                                                                                                                                                                                                                                                            SHIB-PERP                                            0.000000000000000
                                                                                                                                                                                                                                                                            THETA-PERP                                           0.000000000000000
                                                                                                                                                                                                                                                                            UNI-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            USD                                                  0.042031721032229
                                                                                                                                                                                                                                                                            USDT                                                 0.123815755000000
                                                                                                                                                                                                                                                                            XLM-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            XRP-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            YFI-PERP                                             0.000000000000000
14075    Name on file                                    FTX Trading Ltd.                      BNB                                                                           0.010000010000000 94536          Name on file          FTX Trading Ltd.                        BNB                                                  0.010000010000000
                                                                                               ENS                                                                         900.000000000000000                                                                              ENS                                                900.000000000000000
                                                                                               ETHW                                                                          0.012768260000000                                                                              ETHW                                                 0.012768260000000
                                                                                               FTT-PERP                                                                      0.000000000000000                                                                              FTT-PERP                                             0.000000000000000
                                                                                               GAL-PERP                                                                      0.000000000000000                                                                              GAL-PERP                                             0.000000000000000
                                                                                               HT                                                                            0.100000000000000                                                                              HT                                                   0.100000000000000
                                                                                               LUNA2                                                                         0.002296189050000                                                                              LUNA2                                                0.002296189050000
                                                                                               LUNA2_LOCKED                                                                  0.005357774450000                                                                              LUNA2_LOCKED                                         0.005357774450000
                                                                                               LUNC-PERP                                                                     0.000000000000000                                                                              LUNC-PERP                                            0.000000000000000
                                                                                               TRX                                                                           0.000807000000000                                                                              TRX                                                  0.000807000000000
                                                                                               USD                                                                         908.715067728726800                                                                              USD                                                908.715067728726800
                                                                                               USDT                                                                          1.192285670495691                                                                              USDT                                                 1.192285670495691
94308    Name on file                                    FTX Trading Ltd.                      BNB                                                                           0.010000010000000 94536          Name on file          FTX Trading Ltd.                        BNB                                                  0.010000010000000
                                                                                               ENS                                                                         900.000000000000000                                                                              ENS                                                900.000000000000000
                                                                                               ETHW                                                                          0.012768260000000                                                                              ETHW                                                 0.012768260000000
                                                                                               FTT-PERP                                                                      0.000000000000000                                                                              FTT-PERP                                             0.000000000000000
                                                                                               GAL-PERP                                                                      0.000000000000000                                                                              GAL-PERP                                             0.000000000000000
                                                                                               HT                                                                            0.100000000000000                                                                              HT                                                   0.100000000000000
                                                                                               LUNA2                                                                         0.002296189050000                                                                              LUNA2                                                0.002296189050000
                                                                                               LUNA2_LOCKED                                                                  0.005357774450000                                                                              LUNA2_LOCKED                                         0.005357774450000
                                                                                               LUNC-PERP                                                                     0.000000000000000                                                                              LUNC-PERP                                            0.000000000000000
                                                                                               TRX                                                                           0.000807000000000                                                                              TRX                                                  0.000807000000000
                                                                                               USD                                                                         908.715067728726800                                                                              USD                                                908.715067728726800
                                                                                               USDT                                                                          1.192285670495691                                                                              USDT                                                 1.192285670495691
45465    Name on file                                    FTX EU Ltd.                           BNB                                                                           1.250000000000000 55217*         Name on file          FTX EU Ltd.                             AVAX                                                 0.000000009134137
                                                                                               BTC                                                                           0.352786720000000                                                                              AVAX-PERP                                            0.000000000000000
                                                                                               ETH                                                                           2.200000000000000                                                                              BNB                                                  1.250000006811012
                                                                                               USD                                                                      -1,874.974406100000000                                                                              BTC                                                  0.352786736709666
                                                                                                                                                                                                                                                                            BTC-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            CHF                                                  0.000027109202575
                                                                                                                                                                                                                                                                            ETH                                                  2.200000002848000
                                                                                                                                                                                                                                                                            ETH-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            ETHW                                                 0.000000002848000
                                                                                                                                                                                                                                                                            EUR                                                  0.000000004499807
                                                                                                                                                                                                                                                                            FTT                                                  0.000000007619425
                                                                                                                                                                                                                                                                            FTT-PERP                                             0.000000000000000
                                                                                                                                                                                                                                                                            NFT (329092477218296867/NASTYNERD-
                                                                                                                                                                                                                                                                            6557)                                                  1.000000000000000
                                                                                                                                                                                                                                                                            NFT (563094393434168881/NASTYNERD-
                                                                                                                                                                                                                                                                            906)                                                 1.000000000000000
                                                                                                                                                                                                                                                                            RAY                                                  0.000000002740000
                                                                                                                                                                                                                                                                            SOL-PERP                                            -0.000000000000003
                                                                                                                                                                                                                                                                            USD                                             -1,880.054913321186000
                                                                                                                                                                                                                                                                            USDT                                                 0.000000009272135
42069    Name on file                                    FTX Trading Ltd.                      AGLD-PERP                                                                     0.000000000000000 95530          Name on file          FTX Trading Ltd.                        AGLD-PERP                                            0.000000000000000
                                                                                               ALICE-PERP                                                                    0.000000000000000                                                                              ALICE-PERP                                           0.000000000000000
                                                                                               ANC-PERP                                                                      0.000000000000000                                                                              ANC-PERP                                             0.000000000000000
                                                                                               ATLAS-PERP                                                                    0.000000000000000                                                                              ATLAS-PERP                                           0.000000000000000
                                                                                               AXS-PERP                                                                      0.000000000000000                                                                              AXS-PERP                                             0.000000000000000
                                                                                               BNB-PERP                                                                      0.000000000000000                                                                              BNB-PERP                                             0.000000000000000
                                                                                               BTC-0930                                                                      0.000000000000000                                                                              BTC-0930                                             0.000000000000000
                                                                                               BTC-PERP                                                                      0.000000000000000                                                                              BTC-PERP                                             0.000000000000000
                                                                                               CEL-PERP                                                                      0.000000000000000                                                                              CEL-PERP                                             0.000000000000000
                                                                                               CREAM-PERP                                                                    0.000000000000000                                                                              CREAM-PERP                                           0.000000000000000
                                                                                               CRV-PERP                                                                      0.000000000000000                                                                              CRV-PERP                                             0.000000000000000
                                                                                               DASH-PERP                                                                     0.000000000000000                                                                              DASH-PERP                                            0.000000000000000
                                                                                               DAWN-PERP                                                                     0.000000000000909                                                                              DAWN-PERP                                            0.000000000000909
                                                                                               DENT-PERP                                                                     0.000000000000000                                                                              DENT-PERP                                            0.000000000000000
                                                                                               DODO-PERP                                                                     0.000000000000000                                                                              DODO-PERP                                            0.000000000000000
                                                                                               DOGE-PERP                                                                     0.000000000000000                                                                              DOGE-PERP                                            0.000000000000000
                                                                                               DOT-PERP                                                                      0.000000000000000                                                                              DOT-PERP                                             0.000000000000000
                                                                                               EGLD-PERP                                                                     0.000000000000000                                                                              EGLD-PERP                                            0.000000000000000
                                                                                               ENJ-PERP                                                                      0.000000000000000                                                                              ENJ-PERP                                             0.000000000000000
                                                                                               ETH-0930                                                                      0.000000000000000                                                                              ETH-0930                                             0.000000000000000
                                                                                               ETH-1230                                                                      0.000000000000000                                                                              ETH-1230                                             0.000000000000000
                                                                                               ETH-PERP                                                                      0.000000000000000                                                                              ETH-PERP                                             0.000000000000000
                                                                                               ETHW-PERP                                                                    -0.000000000000056                                                                              ETHW-PERP                                           -0.000000000000056
                                                                                               FIL-PERP                                                                      0.000000000000000                                                                              FIL-PERP                                             0.000000000000000
                                                                                               FLOW-PERP                                                                     0.000000000000682                                                                              FLOW-PERP                                            0.000000000000682
                                                                                               FTM-PERP                                                                      0.000000000000000                                                                              FTM-PERP                                             0.000000000000000
                                                                                               FTT                                                                         420.000000000000000                                                                              FTT                                                420.000000000000000
                                                                                               FTT-PERP                                                                      0.000000000000000                                                                              FTT-PERP                                             0.000000000000000
                                                                                               FXS-PERP                                                                      0.000000000000000                                                                              FXS-PERP                                             0.000000000000000
                                                                                               GRT-PERP                                                                      0.000000000000000                                                                              GRT-PERP                                             0.000000000000000
                                                                                               HT-PERP                                                                      -0.000000000000341                                                                              HT-PERP                                             -0.000000000000341
                                                                                               KSM-PERP                                                                      0.000000000000000                                                                              KSM-PERP                                             0.000000000000000
                                                                                               MANA-PERP                                                                     0.000000000000000                                                                              MANA-PERP                                            0.000000000000000
                                                                                               MAPS-PERP                                                                     0.000000000000000                                                                              MAPS-PERP                                            0.000000000000000
                                                                                               MATIC-PERP                                                                    0.000000000000000                                                                              MATIC-PERP                                           0.000000000000000
                                                                                               MTA-PERP                                                                      0.000000000000000                                                                              MTA-PERP                                             0.000000000000000
                                                                                               OP-PERP                                                                       0.000000000000000                                                                              OP-PERP                                              0.000000000000000
                                                                                               PAXG-PERP                                                                     0.000000000000001                                                                              PAXG-PERP                                            0.000000000000001
                                                                                               REN-PERP                                                                      0.000000000000000                                                                              REN-PERP                                             0.000000000000000
                                                                                               RNDR-PERP                                                                    -0.000000000000135                                                                              RNDR-PERP                                           -0.000000000000135
                                                                                               RSR-PERP                                                                      0.000000000000000                                                                              RSR-PERP                                             0.000000000000000
                                                                                               SAND-PERP                                                                     0.000000000000000                                                                              SAND-PERP                                            0.000000000000000
                                                                                               SLP-PERP                                                                      0.000000000000000                                                                              SLP-PERP                                             0.000000000000000
                                                                                               SOL-PERP                                                                      0.000000000000000                                                                              SOL-PERP                                             0.000000000000000
                                                                                               STEP-PERP                                                                     0.000000000000000                                                                              STEP-PERP                                            0.000000000000000
                                                                                               TLM-PERP                                                                      0.000000000000000                                                                              TLM-PERP                                             0.000000000000000
                                                                                               TOMO-PERP                                                                     0.000000000000014                                                                              TOMO-PERP                                            0.000000000000014
                                                                                               TONCOIN-PERP                                                                  0.000000000000000                                                                              TONCOIN-PERP                                         0.000000000000000
                                                                                               TRU-PERP                                                                      0.000000000000000                                                                              TRU-PERP                                             0.000000000000000
                                                                                               TRX                                                                           1.000006000000000                                                                              TRX                                                  1.000006000000000
                                                                                               TRX-PERP                                                                      0.000000000000000                                                                              TRX-PERP                                             0.000000000000000
                                                                                               USD                                                                      68,382.384588854680000                                                                              USD                                             68,382.384588854680000
                                                                                               USDT                                                                        250.888575900000000                                                                              USDT                                               250.888575900000000
                                                                                               VET-PERP                                                                      0.000000000000000                                                                              VET-PERP                                             0.000000000000000
                                                                                               XRP-PERP                                                                      0.000000000000000                                                                              XRP-PERP                                             0.000000000000000
                                                                                               YFII-PERP                                                                     0.000000000000000                                                                              YFII-PERP                                            0.000000000000000
24637    Name on file                                    West Realm Shires Services Inc.       BTC                                                                           0.299215475000000 94871          Name on file          West Realm Shires Services Inc.         BTC                                                 11.070046325000000
                                                                                               USD                                                                          20.920000000000000                                                                              LINK                                             2,000.000000000000000
                                                                                                                                                                                                                                                                            USD                                                 20.920000000000000
78245    Name on file                                    FTX Trading Ltd.                      BTC                                                                           0.325702080000000       82419*   Name on file          FTX Trading Ltd.                        BTC                                                  0.325702080000000
95151    Name on file                                    FTX Trading Ltd.                      USDT                                                                     13,583.479954334017580       95152    Name on file          FTX Trading Ltd.                        USDT                                            13,583.479954334017580
46313    Name on file                                    FTX Trading Ltd.                      BNB-PERP                                                                      0.000000000000000       95309    Name on file          FTX Trading Ltd.                        BNB-PERP                                             0.000000000000000
                                                                                               DOGE                                                                          0.000000004184842                                                                              DOGE                                                 0.000000004184842
                                                                                               DOGE-PERP                                                                     0.000000000000000                                                                              DOGE-PERP                                            0.000000000000000
                                                                                               ETH-PERP                                                                      1.961000000000020                                                                              ETH-PERP                                             1.961000000000020
                                                                                               FTT                                                                          40.084841520000000                                                                              FTT                                                 40.084841520000000
                                                                                               TRX                                                                           0.000009000000000                                                                              TRX                                                  0.000009000000000
                                                                                               USD                                                                         144.250938084115177                                                                              USD                                                526.580000000000000
                                                                                               USDT                                                                        384.137596992869250                                                                              USDT                                               384.137596992869250
51629    Name on file                                    FTX Trading Ltd.                      BNB                                                                           0.010000000000000       51646*   Name on file          FTX EU Ltd.                             BNB                                                  0.010000000000000
                                                                                               ETH                                                                           0.013622250000000                                                                              BTC                                                  0.000000122515250
                                                                                               EUR                                                                       9,000.670760490000000                                                                              ETH                                                  0.013622250000000
                                                                                               MATIC                                                                     7,863.863400000000000                                                                              EUR                                              9,000.670760490000000
                                                                                               USDC                                                                     14,205.251448760000000                                                                              MATIC                                            7,863.863400000000000
                                                                                               WBTC                                                                          2.821204330000000                                                                              USDC                                            14,205.251448760000000
                                                                                                                                                                                                                                                                            WBTC                                                 2.821204330000000
51635    Name on file                                    FTX EU Ltd.                           BNB                                                                           0.010000000000000 51646*         Name on file          FTX EU Ltd.                             BNB                                                  0.010000000000000
                                                                                               ETH                                                                           0.013622250000000                                                                              BTC                                                  0.000000122515250
                                                                                               EUR                                                                       9,000.670760490000000                                                                              ETH                                                  0.013622250000000
                                                                                               MATIC                                                                     7,863.863400000000000                                                                              EUR                                              9,000.670760490000000

91815*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Sixteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
55217*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
82419*: Surviving Claim is pending modification on the Debtors· Seventy-Third (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
51646*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Sixteenth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
                                                                 Case 22-11068-JTD                                                                         Doc 25686-2                                                  Filed 09/25/24                       Page 17 of 19
                                                                                      Claims to be Disallowed                                                                                                                                                Surviving Claims

 Claim                                                                                                                                                                                                 Claim
                              Name                                       Debtor                                  Tickers                                       Ticker Quantity                                                Name                  Debtor                          Tickers   Ticker Quantity
Number                                                                                                                                                                                                Number
                                                                                                USDC                                                                         14,205.251448760000000                                                                MATIC                                  7,863.863400000000000
                                                                                                WBTC                                                                              2.821204330000000                                                                USDC                                  14,205.251448760000000
                                                                                                                                                                                                                                                                   WBTC                                       2.821204330000000
31556    Name on file                                     FTX Trading Ltd.                      BTC                                                                               0.152957320000000 92643      Name on file          FTX Trading Ltd.              BTC                                        0.152957326882778
                                                                                                FTM                                                                             495.823525050000000                                                                FTM                                      495.823525051867100
                                                                                                LUNA2                                                                             2.373714840000000                                                                LUNA2                                      2.373714843000000
                                                                                                LUNA2_LOCKED                                                                      5.538667960000000                                                                LUNA2_LOCKED                               5.538667968000000
                                                                                                LUNC                                                                              7.646658520000000                                                                LUNC                                       7.646658528242008
                                                                                                SOL                                                                              69.316827300000000                                                                SOL                                       69.316827300036890
                                                                                                USD                                                                               1.560000000000000                                                                USD                                        1.561622884730396
31990    Name on file                                     FTX Trading Ltd.                      ATLAS                                                                             6.600000000000000 92787      Name on file          FTX Trading Ltd.              ATLAS                                      6.625500000000000
                                                                                                POLIS                                                                         5,758.000000000000000                                                                POLIS                                  5,758.420902000000000
                                                                                                USD                                                                           1,890.000000000000000                                                                TRX                                        0.000008000000000
                                                                                                                                                                                                                                                                   USD                                    1,890.696907524350000
                                                                                                                                                                                                                                                                   USDT                                       0.007167000000000
53380    Name on file                                     FTX Trading Ltd.                      BNB                                                                              2.030221900000000 53381       Name on file          FTX EU Ltd.                   AAVE                                       0.000075780000000
                                                                                                BTC                                                                              0.192459040000000                                                                 BAT                                        0.056124320000000
                                                                                                ETH                                                                              0.638610860000000                                                                 BNB                                        2.030221900000000
                                                                                                                                                                                                                                                                   BTC                                        0.192459040000000
                                                                                                                                                                                                                                                                   BUSD                                       0.000000000000000
                                                                                                                                                                                                                                                                   CHF                                        0.002771410523211
                                                                                                                                                                                                                                                                   CRO                                    1,802.237924380000000
                                                                                                                                                                                                                                                                   DOT                                        0.090955060000000
                                                                                                                                                                                                                                                                   ENJ                                        0.362953910000000
                                                                                                                                                                                                                                                                   ETH                                        0.638610860000000
                                                                                                                                                                                                                                                                   ETHW                                       0.050585870000000
                                                                                                                                                                                                                                                                   EUR                                        0.300367435000000
                                                                                                                                                                                                                                                                   FTT                                        0.017552180000000
                                                                                                                                                                                                                                                                   PAXG                                       0.000005890000000
                                                                                                                                                                                                                                                                   USDT                                     223.139351403050000
14027    Name on file                                     FTX Trading Ltd.                      CLV                                                                               0.023780000000000 58584      Name on file          FTX Trading Ltd.              CLV                                        0.023780000000000
                                                                                                FTT                                                                              87.950000000000000                                                                FTT                                       87.955824670000000
                                                                                                HMT                                                                               0.701666660000000                                                                HMT                                        0.701666660000000
                                                                                                ICP-PERP                                                                          0.000000000000000                                                                ICP-PERP                                   0.000000000000000
                                                                                                IMX                                                                               0.013333330000000                                                                IMX                                        0.013333330000000
                                                                                                LUNA2                                                                             0.000640034662800                                                                LUNA2                                      0.000640034662800
                                                                                                LUNA2_LOCKED                                                                      0.001493414213000                                                                LUNA2_LOCKED                               0.001493414213000
                                                                                                REAL                                                                            234.958000000000000                                                                REAL                                     234.958000000000000
                                                                                                SOL                                                                               0.007900000000000                                                                SOL                                        0.007900000000000
                                                                                                TRX                                                                          13,480.386433000000000                                                                TRX                                   13,480.386433000000000
                                                                                                USD                                                                           2,557.586696999694600                                                                USD                                    2,557.586696999694600
                                                                                                USDT                                                                              3.813843686952920                                                                USDT                                       3.813843686952920
                                                                                                USTC                                                                              0.090600000000000                                                                USTC                                       0.090600000000000
47854    Name on file                                     FTX Trading Ltd.                      ATOM                                                                              2.365908011770180 47870      Name on file          FTX Trading Ltd.              ATOM                                       2.365908011770180
                                                                                                AVAX                                                                              2.071309939297710                                                                AVAX                                       2.071309939297710
                                                                                                BAL                                                                               0.327294600000000                                                                BAL                                        0.327294600000000
                                                                                                BAND                                                                              2.072890570000000                                                                BAND                                       2.072890570000000
                                                                                                BNB                                                                               0.117844322207439                                                                BNB                                        0.117844322207439
                                                                                                BTC                                                                               0.157682381470910                                                                BTC                                        0.157682381470910
                                                                                                BTC-20210625                                                                      0.000000000000000                                                                BTC-20210625                               0.000000000000000
                                                                                                BTC-20211231                                                                      0.000000000000000                                                                BTC-20211231                               0.000000000000000
                                                                                                CRV                                                                               9.816101770000000                                                                CRV                                        9.816101770000000
                                                                                                DAI                                                                               0.066931999529347                                                                DAI                                        0.066931999529347
                                                                                                DOGE                                                                             10.708731320498500                                                                DOGE                                      10.708731320498500
                                                                                                ETH                                                                               0.000413513640400                                                                ETH                                        0.000413513640400
                                                                                                ETHW                                                                              0.000413510000000                                                                ETHW                                       0.000413510000000
                                                                                                FTM                                                                              80.212897168247200                                                                FTM                                       80.212897168247200
                                                                                                FTT                                                                              25.057350810000000                                                                FTT                                       25.057350810000000
                                                                                                GRT                                                                              46.551633197101700                                                                GRT                                       46.551633197101700
                                                                                                LINK                                                                              3.082297012733120                                                                LINK                                       3.082297012733120
                                                                                                LRC                                                                              36.000536440000000                                                                LRC                                       36.000536440000000
                                                                                                LUNA2                                                                             7.069676575000000                                                                LUNA2                                      7.069676575000000
                                                                                                LUNA2_LOCKED                                                                     16.495912010000000                                                                LUNA2_LOCKED                              16.495912010000000
                                                                                                LUNC                                                                             82.343558146422300                                                                LUNC                                      82.343558146422300
                                                                                                MATIC                                                                           119.960259200780000                                                                MATIC                                    119.960259200780000
                                                                                                MER                                                                              10.673314570000000                                                                MER                                       10.673314570000000
                                                                                                MSOL                                                                             20.435019610000000                                                                MSOL                                      20.435019610000000
                                                                                                NEAR                                                                             10.341756840000000                                                                NEAR                                      10.341756840000000
                                                                                                PAXG                                                                              0.000000010000000                                                                PAXG                                       0.000000010000000
                                                                                                REN                                                                              20.728719410000000                                                                REN                                       20.728719410000000
                                                                                                RUNE                                                                              0.000024745857230                                                                RUNE                                       0.000024745857230
                                                                                                SGD                                                                               0.007292660000000                                                                SGD                                        0.007292660000000
                                                                                                SRM                                                                               0.054932560000000                                                                SRM                                        0.054932560000000
                                                                                                SRM_LOCKED                                                                        0.195941120000000                                                                SRM_LOCKED                                 0.195941120000000
                                                                                                STETH                                                                             0.256124818403460                                                                STETH                                      0.256124818403460
                                                                                                TRX                                                                               0.000002000000000                                                                TRX                                        0.000002000000000
                                                                                                USD                                                                               1.295872465642840                                                                USD                                        1.295872465642840
                                                                                                USDT                                                                              0.013317074452735                                                                USDT                                       0.013317074452735
                                                                                                USTC                                                                              0.000000009227490                                                                USTC                                       0.000000009227490
                                                                                                WBTC                                                                                                                                                               WBTC                                       0.000000000000000
                                                                                                XAUT                                                                           0.000000007557826                                                                   XAUT                                       0.000000007557826
8874     Name on file                                     FTX Trading Ltd.                      ETH                                                                            2.251260000000000 8900          Name on file          FTX Trading Ltd.              ETH                                        2.251263970000000
                                                                                                USD                                                                            3.268257263164090                                                                   USD                                        3.268257263164090
30540    Name on file                                     FTX EU Ltd.                           ADABULL                                                                    1,500.015000000000000 66666*        Name on file          FTX EU Ltd.                   AAVE-PERP                                  0.000000000000000
                                                                                                BTC                                                                            0.308113880000000                                                                   ADABULL                                1,500.015000000000000
                                                                                                CRO                                                                       15,000.150000000000000                                                                   ADA-PERP                                   0.000000000000000
                                                                                                FTT                                                                            0.027111200000000                                                                   ALGO-PERP                                  0.000000000000000
                                                                                                LUNA2                                                                         54.496421360000000                                                                   ATOM-PERP                                  0.000000000000000
                                                                                                SRM                                                                        1,049.846398340000000                                                                   AVAX-PERP                                  0.000000000000000
                                                                                                USD                                                                        4,714.440000000000000                                                                   BCH-PERP                                   0.000000000000000
                                                                                                VETBULL                                                                    1,000.010000000000000                                                                   BNB-PERP                                   0.000000000000000
                                                                                                XLMBULL                                                                  150,001.500000000000000                                                                   BSV-PERP                                   0.000000000000000
                                                                                                XTZBULL                                                                2,000,017.706000000000000                                                                   BTC                                        0.308113884870000
                                                                                                ZECBULL                                                                      600.006000000000000                                                                   BTC-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   BTTPRE-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                   COMP-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   CRO                                   15,000.150000000000000
                                                                                                                                                                                                                                                                   DASH-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   DOGE-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   DOT-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   EGLD-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   ENJ-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   EOS-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   ETC-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   ETH-PERP                                   0.000000000000009
                                                                                                                                                                                                                                                                   EUR                                        0.000000010000000
                                                                                                                                                                                                                                                                   FIL-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   FLOW-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   FTT                                        0.027111203408820
                                                                                                                                                                                                                                                                   FTT-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   GRT-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   IOTA-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   LINK-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   LRC-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   LTC-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   LUNA2                                     20.666068840000000
                                                                                                                                                                                                                                                                   LUNA2_LOCKED                              48.220827290000000
                                                                                                                                                                                                                                                                   LUNC                                       0.000000010000000
                                                                                                                                                                                                                                                                   LUNC-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   MATIC-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                   MKR-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   MTA-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   NEAR-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   NEO-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   OMG-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   PUNDIX                                 1,500.024399800000000
                                                                                                                                                                                                                                                                   PUNDIX-PERP                                0.000000000000000
                                                                                                                                                                                                                                                                   RUNE-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   SAND-PERP                                  0.000000000000000
                                                                                                                                                                                                                                                                   SNX-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   SOL-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   SRM                                        6.275594070000000
                                                                                                                                                                                                                                                                   SRM_LOCKED                             1,043.570804270000000
                                                                                                                                                                                                                                                                   SXP-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   THETA-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                                   TRX-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   UNI-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   USD                                    4,714.439640331569500
                                                                                                                                                                                                                                                                   VETBULL                            1,000,010.000000000000000
                                                                                                                                                                                                                                                                   VET-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   XEM-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   XLMBULL                              150,001.500000000000000
                                                                                                                                                                                                                                                                   XLM-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   XMR-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   XRP-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   XTZBULL                            2,000,017.706000000000000
                                                                                                                                                                                                                                                                   XTZ-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   YFI-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   ZECBULL                              600,006.000000000000000
                                                                                                                                                                                                                                                                   ZEC-PERP                                   0.000000000000000
33296    Name on file                                     FTX Trading Ltd.                      AURY                                                                             12.999612000000000 66996      Name on file          FTX Trading Ltd.              ADAHEDGE                                   0.006120000000000
                                                                                                AVAX                                                                              0.002207600000000                                                                ATOMBULL                                   8.060000000000000
                                                                                                BEARSHIT                                                                     90,600.000000000000000                                                                AURY                                      12.999612000000000
                                                                                                DOGEBEAR                                                                         43.992240000000000                                                                AVAX                                       0.002207604776922
                                                                                                FTT                                                                               0.099806000000000                                                                AVAX-PERP                                  0.000000000000000
                                                                                                LUNC                                                                         49,998.400000000000000                                                                BEAR                                     154.000000000000000
                                                                                                RNDR                                                                          1,261.988418200000000                                                                BEARSHIT                              90,600.000000000000000
                                                                                                SOL                                                                               0.003442810000000                                                                DOGEBEAR2021                              43.992240000000000
                                                                                                USDC                                                                          2,521.940000000000000                                                                FB                                         0.009030000000000
                                                                                                USDT                                                                           -317.060000000000000                                                                FTT                                        0.099806000000000
                                                                                                                                                                                                                                                                   LUNA2                                      0.229611557200000
                                                                                                                                                                                                                                                                   LUNA2_LOCKED                               0.535760300100000
                                                                                                                                                                                                                                                                   LUNC                                  49,998.400000000000000
                                                                                                                                                                                                                                                                   NVDA                                       0.000821729659474
                                                                                                                                                                                                                                                                   PFE                                        0.003310000000000
                                                                                                                                                                                                                                                                   RNDR                                   1,261.988418200000000
                                                                                                                                                                                                                                                                   SOL                                        0.003442810000000
                                                                                                                                                                                                                                                                   USD                                    2,521.936813216476400
                                                                                                                                                                                                                                                                   USDT                                    -317.058348436512230
7479     Name on file                                     FTX Trading Ltd.                      1INCH                                                                         1,289.479252710000000 57057      Name on file          FTX Trading Ltd.              1INCH                                  1,289.479252716373100
                                                                                                ETHBEAR                                                                       2,979.500000000000000                                                                1INCH-20210625                             0.000000000000000
                                                                                                MATICBULL                                                                    10,691.284338500000000                                                                BTC-PERP                                   0.000000000000000
                                                                                                MER                                                                          10,290.391622000000000                                                                ENJ                                      344.739652500000000
                                                                                                SOL                                                                             130.136444424259820                                                                ETH                                        0.000000006074000
                                                                                                USD                                                                               0.003815595597454                                                                ETHBEAR                                2,979.500000000000000
                                                                                                                                                                                                                                                                   ETH-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                                   FTT                                       43.517039503169240

66666*: Surviving Claim is pending modification on the Debtors· Fiftieth (Non-Substantive) Omnibus Objection to Certain Incorrect Debtor Proofs of Claim (Customer Claims)
                                      Case 22-11068-JTD                                               Doc 25686-2                                             Filed 09/25/24                       Page 18 of 19
                                                       Claims to be Disallowed                                                                                                                     Surviving Claims

 Claim                                                                                                                                       Claim
                        Name                  Debtor                              Tickers             Ticker Quantity                                               Name                  Debtor                         Tickers              Ticker Quantity
Number                                                                                                                                      Number
                                                                                                                                                                                                         LINA-PERP                                            0.000000000000000
                                                                                                                                                                                                         MATICBULL                                       10,691.284338500000000
                                                                                                                                                                                                         MER                                             10,290.391622000000000
                                                                                                                                                                                                         MOB                                                  0.246084662352520
                                                                                                                                                                                                         SOL                                                  0.000000000000000
                                                                                                                                                                                                         TRX                                                  0.000057000000000
                                                                                                                                                                                                         USD                                                  0.003815595597454
                                                                                                                                                                                                         USDT                                                 0.044070991641769
19075    Name on file          FTX Trading Ltd.                                                                                             92073    Name on file          FTX Trading Ltd.              370723160157297675/THE HILL BY FTX
                                                                 AAVE-PERP                                              0.000000000000000                                                                #44139                                                 1.000000000000000
                                                                                                                                                                                                         482573487044997332/FTX AU - WE ARE
                                                                 ADA-PERP                                             0.000000000000000                                                                  HERE! #20801                                         1.000000000000000
                                                                 ALGO-PERP                                            0.000000000000000                                                                  AAVE-PERP                                            0.000000000000000
                                                                 APE-PERP                                             0.000000000000000                                                                  ADA-PERP                                             0.000000000000000
                                                                 APT-PERP                                             0.000000000000000                                                                  ALGO-PERP                                            0.000000000000000
                                                                 AR-PERP                                              0.000000000000000                                                                  APE-PERP                                             0.000000000000000
                                                                 ATLAS-PERP                                           0.000000000000000                                                                  APT-PERP                                             0.000000000000000
                                                                 ATOM                                                 0.000000009675320                                                                  AR-PERP                                              0.000000000000000
                                                                 ATOM-PERP                                            0.000000000000000                                                                  ATLAS-PERP                                           0.000000000000000
                                                                 AUDIO-PERP                                           0.000000000000000                                                                  ATOM                                                 0.000000009675320
                                                                 AVAX                                                 0.000000009237180                                                                  ATOM-PERP                                            0.000000000000000
                                                                 AVAX-0325                                            0.000000000000000                                                                  AUDIO-PERP                                           0.000000000000000
                                                                 AVAX-PERP                                            0.000000000000000                                                                  AVAX                                                 0.000000009237180
                                                                 AXS-PERP                                             0.000000000000000                                                                  AVAX-0325                                            0.000000000000000
                                                                 BAL-PERP                                             0.000000000000000                                                                  AVAX-PERP                                            0.000000000000000
                                                                 BAND-PERP                                            0.000000000000000                                                                  AXS-PERP                                             0.000000000000000
                                                                 BNB                                                  0.000000015773795                                                                  BAL-PERP                                             0.000000000000000
                                                                 BNB-20210326                                         0.000000000000000                                                                  BAND-PERP                                            0.000000000000000
                                                                 BNB-PERP                                             0.000000000000000                                                                  BNB                                                  0.000000015773795
                                                                 BTC                                                  4.548046178970940                                                                  BNB-20210326                                         0.000000000000000
                                                                 BTC-20201225                                         0.000000000000000                                                                  BNB-PERP                                             0.000000000000000
                                                                 BTC-20210326                                         0.000000000000000                                                                  BTC                                                  4.548046178970940
                                                                 BTC-20210625                                         0.000000000000000                                                                  BTC-20201225                                         0.000000000000000
                                                                 BTC-PERP                                             0.000000000000000                                                                  BTC-20210326                                         0.000000000000000
                                                                 BTTPRE-PERP                                          0.000000000000000                                                                  BTC-20210625                                         0.000000000000000
                                                                 CAKE-PERP                                            0.000000000000000                                                                  BTC-PERP                                             0.000000000000000
                                                                 CEL-PERP                                             0.000000000000000                                                                  BTTPRE-PERP                                          0.000000000000000
                                                                 CRO-PERP                                             0.000000000000000                                                                  CAKE-PERP                                            0.000000000000000
                                                                 DOGE                                                 0.000000008309640                                                                  CEL-PERP                                             0.000000000000000
                                                                 DOGE-PERP                                            0.000000000000000                                                                  CRO-PERP                                             0.000000000000000
                                                                 DOT-20210625                                         0.000000000000000                                                                  DOGE                                                 0.000000008309640
                                                                 DOT-PERP                                             0.000000000000000                                                                  DOGE-PERP                                            0.000000000000000
                                                                 DYDX-PERP                                            0.000000000000014                                                                  DOT-20210625                                         0.000000000000000
                                                                 EOS-PERP                                             0.000000000000000                                                                  DOT-PERP                                             0.000000000000000
                                                                 ETC-PERP                                             0.000000000000000                                                                  DYDX-PERP                                            0.000000000000014
                                                                 ETH                                                  2.731443360000000                                                                  EOS-PERP                                             0.000000000000000
                                                                 ETH-0930                                             0.000000000000000                                                                  ETC-PERP                                             0.000000000000000
                                                                 ETH-20210326                                         0.000000000000000                                                                  ETH                                                  2.731443361352170
                                                                 ETH-20210625                                         0.000000000000000                                                                  ETH-0930                                             0.000000000000000
                                                                 ETH-PERP                                            -0.000000000000003                                                                  ETH-20210326                                         0.000000000000000
                                                                 ETHW                                                 0.000474247340137                                                                  ETH-20210625                                         0.000000000000000
                                                                 FIL-PERP                                             0.000000000000000                                                                  ETH-PERP                                            -0.000000000000003
                                                                 FLOW-PERP                                            0.000000000000000                                                                  ETHW                                                 0.000474247340137
                                                                 FTM-PERP                                             0.000000000000000                                                                  FIL-PERP                                             0.000000000000000
                                                                 FTT                                                150.000000012895000                                                                  FLOW-PERP                                            0.000000000000000
                                                                 FTT-PERP                                             0.000000000000113                                                                  FTM-PERP                                             0.000000000000000
                                                                 GME-20210326                                         0.000000000000000                                                                  FTT                                                150.000000012895000
                                                                 GMT-PERP                                             0.000000000000000                                                                  FTT-PERP                                             0.000000000000113
                                                                 HBAR-PERP                                            0.000000000000000                                                                  GME-20210326                                         0.000000000000000
                                                                 HT-PERP                                              0.000000000000000                                                                  GMT-PERP                                             0.000000000000000
                                                                 ICP-PERP                                             0.000000000000000                                                                  HBAR-PERP                                            0.000000000000000
                                                                 KSM-PERP                                             0.000000000000000                                                                  HT-PERP                                              0.000000000000000
                                                                 LINA-PERP                                            0.000000000000000                                                                  ICP-PERP                                             0.000000000000000
                                                                 LINK-PERP                                            0.000000000000000                                                                  KSM-PERP                                             0.000000000000000
                                                                 LOOKS-PERP                                           0.000000000000000                                                                  LINA-PERP                                            0.000000000000000
                                                                 LTC-PERP                                             0.000000000000000                                                                  LINK-PERP                                            0.000000000000000
                                                                 LUNA2-PERP                                           0.000000000000000                                                                  LOOKS-PERP                                           0.000000000000000
                                                                 LUNC                                                 0.000000009009010                                                                  LTC-PERP                                             0.000000000000000
                                                                 LUNC-PERP                                            0.000000000000000                                                                  LUNA2-PERP                                           0.000000000000000
                                                                 MATIC                                                0.000000005500000                                                                  LUNC                                                 0.000000009009010
                                                                 MATIC-PERP                                           0.000000000000000                                                                  LUNC-PERP                                            0.000000000000000
                                                                 NEAR-PERP                                            0.000000000000000                                                                  MATIC                                                0.000000005500000
                                                                 OKB-PERP                                             0.000000000000000                                                                  MATIC-PERP                                           0.000000000000000
                                                                 OP-PERP                                              0.000000000000000                                                                  NEAR-PERP                                            0.000000000000000
                                                                 OXY-PERP                                             0.000000000000000                                                                  OKB-PERP                                             0.000000000000000
                                                                 PROM-PERP                                            0.000000000000000                                                                  OP-PERP                                              0.000000000000000
                                                                 QTUM-PERP                                            0.000000000000000                                                                  OXY-PERP                                             0.000000000000000
                                                                 RAY-PERP                                             0.000000000000000                                                                  PROM-PERP                                            0.000000000000000
                                                                 ROOK-PERP                                            0.000000000000000                                                                  QTUM-PERP                                            0.000000000000000
                                                                 RVN-PERP                                             0.000000000000000                                                                  RAY-PERP                                             0.000000000000000
                                                                 SAND-PERP                                            0.000000000000000                                                                  ROOK-PERP                                            0.000000000000000
                                                                 SHIB-PERP                                            0.000000000000000                                                                  RVN-PERP                                             0.000000000000000
                                                                 SLV-20210326                                         0.000000000000000                                                                  SAND-PERP                                            0.000000000000000
                                                                 SOL                                                  0.000000011159640                                                                  SHIB-PERP                                            0.000000000000000
                                                                 SOL-PERP                                             0.000000000000000                                                                  SLV-20210326                                         0.000000000000000
                                                                 SRM                                                  4.117994330000000                                                                  SOL                                                  0.000000011159640
                                                                 SRM_LOCKED                                         153.350070920000000                                                                  SOL-PERP                                             0.000000000000000
                                                                 SRM-PERP                                             0.000000000000000                                                                  SRM                                                  4.117994330000000
                                                                 STEP-PERP                                            0.000000000001364                                                                  SRM_LOCKED                                         153.350070920000000
                                                                 SUN                                                  0.000955295000000                                                                  SRM-PERP                                             0.000000000000000
                                                                 SUSHI-20210326                                       0.000000000000000                                                                  STEP-PERP                                            0.000000000001364
                                                                 SUSHI-20210625                                       0.000000000000000                                                                  SUN                                                  0.000955295000000
                                                                 SUSHI-PERP                                           0.000000000000000                                                                  SUSHI-20210326                                       0.000000000000000
                                                                 THETA-PERP                                           0.000000000000000                                                                  SUSHI-20210625                                       0.000000000000000
                                                                 TOMO-PERP                                            0.000000000000000                                                                  SUSHI-PERP                                           0.000000000000000
                                                                 TRX-PERP                                             0.000000000000000                                                                  THETA-PERP                                           0.000000000000000
                                                                 UNI-PERP                                             0.000000000000000                                                                  TOMO-PERP                                            0.000000000000000
                                                                 USD                                                102.096272003653700                                                                  TRX-PERP                                             0.000000000000000
                                                                 USDT                                                 0.000000009900703                                                                  UNI-PERP                                             0.000000000000000
                                                                 USDT-PERP                                            0.000000000000000                                                                  USD                                                102.102836000411792
                                                                 USTC-PERP                                            0.000000000000000                                                                  USDT                                                 0.000000009900703
                                                                 VET-PERP                                             0.000000000000000                                                                  USDT-PERP                                            0.000000000000000
                                                                 WAVES-PERP                                           0.000000000000000                                                                  USTC-PERP                                            0.000000000000000
                                                                 XRP                                                  0.000000006818350                                                                  VET-PERP                                             0.000000000000000
                                                                 XRP-PERP                                             0.000000000000000                                                                  WAVES-PERP                                           0.000000000000000
                                                                 YFI                                                  0.000000010000000                                                                  XRP                                                  0.000000006818350
                                                                 YFI-20210326                                         0.000000000000000                                                                  XRP-PERP                                             0.000000000000000
                                                                 YFI-PERP                                             0.000000000000000                                                                  YFI                                                  0.000000010000000
                                                                 ZIL-PERP                                             0.000000000000000                                                                  YFI-20210326                                         0.000000000000000
                                                                                                                                                                                                         YFI-PERP                                             0.000000000000000
                                                                                                                                                                                                         ZIL-PERP                                             0.000000000000000
92057    Name on file          FTX Trading Ltd.                  370723160157297675/THE HILL BY FTX                                         92073    Name on file          FTX Trading Ltd.              370723160157297675/THE HILL BY FTX
                                                                 #44139                                                 1.000000000000000                                                                #44139                                                 1.000000000000000
                                                                 482573487044997332/FTX AU - WE ARE                                                                                                      482573487044997332/FTX AU - WE ARE
                                                                 HERE! #20801                                         1.000000000000000                                                                  HERE! #20801                                         1.000000000000000
                                                                 AAVE-PERP                                            0.000000000000000                                                                  AAVE-PERP                                            0.000000000000000
                                                                 ADA-PERP                                             0.000000000000000                                                                  ADA-PERP                                             0.000000000000000
                                                                 ALGO-PERP                                            0.000000000000000                                                                  ALGO-PERP                                            0.000000000000000
                                                                 APE-PERP                                             0.000000000000000                                                                  APE-PERP                                             0.000000000000000
                                                                 APT-PERP                                             0.000000000000000                                                                  APT-PERP                                             0.000000000000000
                                                                 AR-PERP                                              0.000000000000000                                                                  AR-PERP                                              0.000000000000000
                                                                 ATLAS-PERP                                           0.000000000000000                                                                  ATLAS-PERP                                           0.000000000000000
                                                                 ATOM                                                 0.000000009675320                                                                  ATOM                                                 0.000000009675320
                                                                 ATOM-PERP                                            0.000000000000000                                                                  ATOM-PERP                                            0.000000000000000
                                                                 AUDIO-PERP                                           0.000000000000000                                                                  AUDIO-PERP                                           0.000000000000000
                                                                 AVAX                                                 0.000000009237180                                                                  AVAX                                                 0.000000009237180
                                                                 AVAX-0325                                            0.000000000000000                                                                  AVAX-0325                                            0.000000000000000
                                                                 AVAX-PERP                                            0.000000000000000                                                                  AVAX-PERP                                            0.000000000000000
                                                                 AXS-PERP                                             0.000000000000000                                                                  AXS-PERP                                             0.000000000000000
                                                                 BAL-PERP                                             0.000000000000000                                                                  BAL-PERP                                             0.000000000000000
                                                                 BAND-PERP                                            0.000000000000000                                                                  BAND-PERP                                            0.000000000000000
                                                                 BNB                                                  0.000000015773795                                                                  BNB                                                  0.000000015773795
                                                                 BNB-20210326                                         0.000000000000000                                                                  BNB-20210326                                         0.000000000000000
                                                                 BNB-PERP                                             0.000000000000000                                                                  BNB-PERP                                             0.000000000000000
                                                                 BTC                                                  4.548046178970940                                                                  BTC                                                  4.548046178970940
                                                                 BTC-20201225                                         0.000000000000000                                                                  BTC-20201225                                         0.000000000000000
                                                                 BTC-20210326                                         0.000000000000000                                                                  BTC-20210326                                         0.000000000000000
                                                                 BTC-20210625                                         0.000000000000000                                                                  BTC-20210625                                         0.000000000000000
                                                                 BTC-PERP                                             0.000000000000000                                                                  BTC-PERP                                             0.000000000000000
                                                                 BTTPRE-PERP                                          0.000000000000000                                                                  BTTPRE-PERP                                          0.000000000000000
                                                                 CAKE-PERP                                            0.000000000000000                                                                  CAKE-PERP                                            0.000000000000000
                                                                 CEL-PERP                                             0.000000000000000                                                                  CEL-PERP                                             0.000000000000000
                                                                 CRO-PERP                                             0.000000000000000                                                                  CRO-PERP                                             0.000000000000000
                                                                 DOGE                                                 0.000000008309640                                                                  DOGE                                                 0.000000008309640
                                                                 DOGE-PERP                                            0.000000000000000                                                                  DOGE-PERP                                            0.000000000000000
                                                                 DOT-20210625                                         0.000000000000000                                                                  DOT-20210625                                         0.000000000000000
                                                                 DOT-PERP                                             0.000000000000000                                                                  DOT-PERP                                             0.000000000000000
                                                                 DYDX-PERP                                            0.000000000000014                                                                  DYDX-PERP                                            0.000000000000014
                                                                 EOS-PERP                                             0.000000000000000                                                                  EOS-PERP                                             0.000000000000000
                                                                 ETC-PERP                                             0.000000000000000                                                                  ETC-PERP                                             0.000000000000000
                                                                 ETH                                                  2.731443361352170                                                                  ETH                                                  2.731443361352170
                                                                 ETH-0930                                             0.000000000000000                                                                  ETH-0930                                             0.000000000000000
                                                                 ETH-20210326                                         0.000000000000000                                                                  ETH-20210326                                         0.000000000000000
                                                                 ETH-20210625                                         0.000000000000000                                                                  ETH-20210625                                         0.000000000000000
                                                                 ETH-PERP                                            -0.000000000000003                                                                  ETH-PERP                                            -0.000000000000003
                                                                 ETHW                                                 0.000474247340137                                                                  ETHW                                                 0.000474247340137
                                                                 FIL-PERP                                             0.000000000000000                                                                  FIL-PERP                                             0.000000000000000
                                                                 FLOW-PERP                                            0.000000000000000                                                                  FLOW-PERP                                            0.000000000000000
                                                                 FTM-PERP                                             0.000000000000000                                                                  FTM-PERP                                             0.000000000000000
                                                                 FTT                                                150.000000012895000                                                                  FTT                                                150.000000012895000
                                                                 FTT-PERP                                             0.000000000000113                                                                  FTT-PERP                                             0.000000000000113
                                                                 GME-20210326                                         0.000000000000000                                                                  GME-20210326                                         0.000000000000000
                                                                 GMT-PERP                                             0.000000000000000                                                                  GMT-PERP                                             0.000000000000000
                                                                 HBAR-PERP                                            0.000000000000000                                                                  HBAR-PERP                                            0.000000000000000
                                                                 HT-PERP                                              0.000000000000000                                                                  HT-PERP                                              0.000000000000000
                                                                 ICP-PERP                                             0.000000000000000                                                                  ICP-PERP                                             0.000000000000000
                                                                 KSM-PERP                                             0.000000000000000                                                                  KSM-PERP                                             0.000000000000000
                                                                 LINA-PERP                                            0.000000000000000                                                                  LINA-PERP                                            0.000000000000000
                                                                 LINK-PERP                                            0.000000000000000                                                                  LINK-PERP                                            0.000000000000000
                                                                 LOOKS-PERP                                           0.000000000000000                                                                  LOOKS-PERP                                           0.000000000000000
                                                                 LTC-PERP                                             0.000000000000000                                                                  LTC-PERP                                             0.000000000000000
                                                                 LUNA2-PERP                                           0.000000000000000                                                                  LUNA2-PERP                                           0.000000000000000
                                                                 LUNC                                                 0.000000009009010                                                                  LUNC                                                 0.000000009009010
                                                                 LUNC-PERP                                            0.000000000000000                                                                  LUNC-PERP                                            0.000000000000000
                                                                 MATIC                                                0.000000005500000                                                                  MATIC                                                0.000000005500000
                                                                 MATIC-PERP                                           0.000000000000000                                                                  MATIC-PERP                                           0.000000000000000
                                                                 NEAR-PERP                                            0.000000000000000                                                                  NEAR-PERP                                            0.000000000000000
                                                                 Case 22-11068-JTD                                                                       Doc 25686-2                                               Filed 09/25/24                       Page 19 of 19
                                                                                     Claims to be Disallowed                                                                                                                                            Surviving Claims

 Claim                                                                                                                                                                                            Claim
                              Name                                       Debtor                                 Tickers                                      Ticker Quantity                                             Name                  Debtor                          Tickers   Ticker Quantity
Number                                                                                                                                                                                           Number
                                                                                               OKB-PERP                                                                      0.000000000000000                                                                OKB-PERP                                   0.000000000000000
                                                                                               OP-PERP                                                                       0.000000000000000                                                                OP-PERP                                    0.000000000000000
                                                                                               OXY-PERP                                                                      0.000000000000000                                                                OXY-PERP                                   0.000000000000000
                                                                                               PROM-PERP                                                                     0.000000000000000                                                                PROM-PERP                                  0.000000000000000
                                                                                               QTUM-PERP                                                                     0.000000000000000                                                                QTUM-PERP                                  0.000000000000000
                                                                                               RAY-PERP                                                                      0.000000000000000                                                                RAY-PERP                                   0.000000000000000
                                                                                               ROOK-PERP                                                                     0.000000000000000                                                                ROOK-PERP                                  0.000000000000000
                                                                                               RVN-PERP                                                                      0.000000000000000                                                                RVN-PERP                                   0.000000000000000
                                                                                               SAND-PERP                                                                     0.000000000000000                                                                SAND-PERP                                  0.000000000000000
                                                                                               SHIB-PERP                                                                     0.000000000000000                                                                SHIB-PERP                                  0.000000000000000
                                                                                               SLV-20210326                                                                  0.000000000000000                                                                SLV-20210326                               0.000000000000000
                                                                                               SOL                                                                           0.000000011159640                                                                SOL                                        0.000000011159640
                                                                                               SOL-PERP                                                                      0.000000000000000                                                                SOL-PERP                                   0.000000000000000
                                                                                               SRM                                                                           4.117994330000000                                                                SRM                                        4.117994330000000
                                                                                               SRM_LOCKED                                                                  153.350070920000000                                                                SRM_LOCKED                               153.350070920000000
                                                                                               SRM-PERP                                                                      0.000000000000000                                                                SRM-PERP                                   0.000000000000000
                                                                                               STEP-PERP                                                                     0.000000000001364                                                                STEP-PERP                                  0.000000000001364
                                                                                               SUN                                                                           0.000955295000000                                                                SUN                                        0.000955295000000
                                                                                               SUSHI-20210326                                                                0.000000000000000                                                                SUSHI-20210326                             0.000000000000000
                                                                                               SUSHI-20210625                                                                0.000000000000000                                                                SUSHI-20210625                             0.000000000000000
                                                                                               SUSHI-PERP                                                                    0.000000000000000                                                                SUSHI-PERP                                 0.000000000000000
                                                                                               THETA-PERP                                                                    0.000000000000000                                                                THETA-PERP                                 0.000000000000000
                                                                                               TOMO-PERP                                                                     0.000000000000000                                                                TOMO-PERP                                  0.000000000000000
                                                                                               TRX-PERP                                                                      0.000000000000000                                                                TRX-PERP                                   0.000000000000000
                                                                                               UNI-PERP                                                                      0.000000000000000                                                                UNI-PERP                                   0.000000000000000
                                                                                               USD                                                                         102.102836000411792                                                                USD                                      102.102836000411792
                                                                                               USDT                                                                          0.000000009900703                                                                USDT                                       0.000000009900703
                                                                                               USDT-PERP                                                                     0.000000000000000                                                                USDT-PERP                                  0.000000000000000
                                                                                               USTC-PERP                                                                     0.000000000000000                                                                USTC-PERP                                  0.000000000000000
                                                                                               VET-PERP                                                                      0.000000000000000                                                                VET-PERP                                   0.000000000000000
                                                                                               WAVES-PERP                                                                    0.000000000000000                                                                WAVES-PERP                                 0.000000000000000
                                                                                               XRP                                                                           0.000000006818350                                                                XRP                                        0.000000006818350
                                                                                               XRP-PERP                                                                      0.000000000000000                                                                XRP-PERP                                   0.000000000000000
                                                                                               YFI                                                                           0.000000010000000                                                                YFI                                        0.000000010000000
                                                                                               YFI-20210326                                                                  0.000000000000000                                                                YFI-20210326                               0.000000000000000
                                                                                               YFI-PERP                                                                      0.000000000000000                                                                YFI-PERP                                   0.000000000000000
                                                                                               ZIL-PERP                                                                      0.000000000000000                                                                ZIL-PERP                                   0.000000000000000
7720     Name on file                                     FTX Trading Ltd.                     USD                                                                         778.985427022659000 33493      Name on file          FTX Trading Ltd.              FTT                                      125.460000000000000
                                                                                               USDT                                                                      2,325.350000000000000                                                                USD                                      778.990000000000000
                                                                                                                                                                                                                                                              USDT                                   2,325.350000000000000
68944    Name on file                                     FTX Trading Ltd.                     AVAX                                                                          0.000255000000000 95214      Name on file          FTX Trading Ltd.              AVAX                                       0.000255000000000
                                                                                               BIT                                                                           0.002460000000000                                                                BIT                                        0.002460000000000
                                                                                               BLT                                                                           0.003570000000000                                                                BLT                                        0.003570000000000
                                                                                               BTC                                                                           0.000000003708042                                                                BTC                                        0.000000003708042
                                                                                               ETH                                                                           0.000000005000000                                                                ETH                                        0.000000005000000
                                                                                               FTT                                                                       1,000.670877000000000                                                                FTT                                    2,805.939400000000000
                                                                                               IP3                                                                       1,500.000000000000000                                                                IP3                                    1,500.000000000000000
                                                                                               LUNA2                                                                        13.777134300000000                                                                LUNA2                                     13.777134300000000
                                                                                               LUNA2_LOCKED                                                                 32.146646700000000                                                                LUNA2_LOCKED                              32.146646700000000
                                                                                               LUNC                                                                  3,000,000.000000000000000                                                                LUNC                               3,000,000.000000000000000
                                                                                               PSY                                                                       5,000.000000000000000                                                                PSY                                    5,000.000000000000000
                                                                                               SOL                                                                           0.004274610000000                                                                SOL                                        0.004274610000000
                                                                                               SRM                                                                          10.270049870000000                                                                SRM                                       10.270049870000000
                                                                                               SRM_LOCKED                                                                   58.678289190000000                                                                SRM_LOCKED                                58.678289190000000
                                                                                               TRX                                                                           0.000127000000000                                                                TRX                                        0.000127000000000
                                                                                               USD                                                                         310.476613175800800                                                                USD                                      310.476613175800800
                                                                                               USDT                                                                      2,617.236614276025000                                                                USDT                                   2,617.236614276025000
                                                                                               XPLA                                                                      1,000.003700000000000                                                                XPLA                                   1,000.003700000000000
16478    Name on file                                     FTX Trading Ltd.                     ADA-20210326                                                                  0.000000000000000 94394*     Name on file          FTX Trading Ltd.              ADA-20210326                               0.000000000000000
                                                                                               BNB-PERP                                                                      0.000000000000000                                                                BNB-PERP                                   0.000000000000000
                                                                                               BTC                                                                           0.208967785126290                                                                BTC                                        0.208967785126290
                                                                                               BTC-PERP                                                                      0.020200000000000                                                                BTC-PERP                                   0.020200000000000
                                                                                               DOGE-PERP                                                                     0.000000000000000                                                                DOGE-PERP                                  0.000000000000000
                                                                                               EOS-PERP                                                                      0.000000000000000                                                                EOS-PERP                                   0.000000000000000
                                                                                               ETH                                                                           0.021235750000000                                                                ETH                                        0.021235750000000
                                                                                               ETH-PERP                                                                      0.044000000000000                                                                ETH-PERP                                   0.044000000000000
                                                                                               ETHW                                                                          0.021235750000000                                                                ETHW                                       0.021235750000000
                                                                                               FTM                                                                          11.998157000000000                                                                FTM                                       11.998157000000000
                                                                                               FTM-PERP                                                                      6.000000000000000                                                                FTM-PERP                                   6.000000000000000
                                                                                               FTT                                                                           7.599040120000000                                                                FTT                                        7.599040120000000
                                                                                               FTT-PERP                                                                     34.200000000000000                                                                FTT-PERP                                  34.200000000000000
                                                                                               USD                                                                      -1,075.300345768986500                                                                USD                                        0.000000000000000
                                                                                               XRP-PERP                                                                      0.000000000000000                                                                XRP-PERP                                   0.000000000000000
21456    Name on file                                     FTX EU Ltd.                          NEAR                                                                      1,608.000000000000000 69533      Name on file          FTX Trading Ltd.              FTT                                        0.797649017781872
                                                                                               RSR                                                                         500.000000000000000                                                                HNT                                        0.061810000000000
                                                                                                                                                                                                                                                              LUNA2                                      0.002737501523000
                                                                                                                                                                                                                                                              LUNA2_LOCKED                               0.006387503553000
                                                                                                                                                                                                                                                              MATIC-PERP                                 0.000000000000000
                                                                                                                                                                                                                                                              NEAR                                   1,608.794841000000000
                                                                                                                                                                                                                                                              RAY                                      500.990880000000000
                                                                                                                                                                                                                                                              SOL-PERP                                   0.000000000000000
                                                                                                                                                                                                                                                              USD                                        0.259820673461216
                                                                                                                                                                                                                                                              USDT                                       0.000000010340756




94394*: Surviving Claim included as the claim to be modified subject to the Debtors· One Hundred Sixth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim (Customer Claims)
